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                Exhibit B
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                          POLICYHOLDER NOTICE

Thank you for purchasing insurance from a member company of American
International Group, Inc. (AIG). The AIG member companies generally pay
compensation to brokers and independent agents, and may have paid
compensation in connection with your policy. You can review and obtain
information about the nature and range of compensation paid by AIG member
companies to brokers and independent agents in the United States by visiting our
website at vvww.aig.com/producercompensation or by calling 1-800-706-3102.




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                                                                                                        January 23, 2015

Congratulations on purchasing your employment practices liability insurance policy from AIG, one of the premier writers of
commercial insurance. Your policy offers many outstanding features, including coverage for claims arising from violations of
Title VII of the Civil Rights Act of 1 964; the Americans with Disabilities Act (ADA); the Age Discrimination in Employment Act
(ADEA); the Equal Pay Act of 1963 (EPA); and the Rehabilitation Act of 1973 (REHAB ACT).
As a AIG policyholder, you have the confidence of knowing that your claims will be handled by experienced claims
professionals. In addition, our panel counsel is comprised of leaders in employment practices law throughout the country. The
services of these law firms are available to you at preferred AIG rates.

Additionally, our package includes loss-control services included automatically for all eligible insureds through EPL Pak® Premier.
This insurance offering features access to our online EPL Risk Manager located at www.EPLriskmanaqer.com designed        ,


exclusively for AIG EPL insureds by the attorneys at Littler Mendelson, the nation’s largest labor and employment law firm. This
web link is exclusive to AIG EPL insurance policyholders and is available at no additional cost. To register, you can log into the
site with your policy number. The site offers tools and resources including:
  •   Human Resources Form Library                         •    Employment Law Reference Manuals (5000 + pages)
  •   Sample Employee Handbooks                            •    50 State Analysis of Key Employment Laws
  •   Employment Law Email Alerts                          •    Preventing Unlawful Harassment Guide
  •    Employment Law Policies                             •    Preventing Employment Class Actions Manual
  •    Hire & Fire Manual                                  •    Discounts on Employment Law Training
All forms and materials may be downloaded and customized. To view a short video tour of the risk management products and
services available, please visit: http://eplriskmanager.com/taketour.php. As a AIG policyholder, you also receive ten free seats
to Littler Mendelson’s monthly webinar series on preventing harassment in the workplace and discounts on over 40
employment law training courses. For additional information on these services you may contact Brian McMillan at Littler
Mendelson at bmcmillan@littler.com or visit www.littler.com.
To complement these offerings, we continue to offer our risk management solutions provided by Jackson Lewis, LLP, a premier
employment law firm with offices throughout the United States, including:
             •    Unlimited Access to the Jackson Lewis Toll Free Risk Management Hotline: (866) 614-0744
             •    One hour legal consultation with a Jackson Lewis attorney on any topic
             •    Seminars on topical issues of employment law, recent litigation development, and training
             •    Email subscription to The Jackson Lewis Newsletter, which highlights employment practices developments
                  and trends
             •    Email updates regarding significant legislative actions, judicial decisions, and other changes which may impact
                  your business
             •    Access to a self-audit checklist and a pre-termination checklist, which will assist companies in identifying
                  potential vulnerability to employment claims
             •    Attendance at CAAB 1 825 sexual harassment training in California
To learn more, please contact Paul Siegel at siegelp@jacksonlewis.com, Wendy MelIk at mellkw@jacksonlewis.com or view a
free demonstration of training at          www.jacksonlewis.com      or under the online training section or at
                                                                       ,


www
Your decision to purchase coverage through AIG has provided your organization with powerful advantages in managing your
business. We thank you for choosing AIG and look forward to a continuing successful relationship. If you have any questions
or would like additional information, please contact your broker, a AIG representative or email us atexecutiveliability@AlG.com.


AIG is the marketing name for the worldwide property-casualty and general insurance operations of AIG Property Casualty Inc.
For additional information, please visit our website at http://wvvw.aig.com All products are written by insurance company
                                                                               .



subsidiaries or affiliates of AIG Property Casualty Inc. Coverage may not be available in all jurisdictions and is subject to actual
policy language. Non-insurance products and services may be provided by independent third parties. Certain coverage may be
provided by a surplus lines insurer. Surplus lines insurers do not generally participate in state guaranty funds and insureds are
therefore not protected by such funds.
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I iI                                                                         Financial Lines




                  EPL Pak’ Premier
                  Employment Practices Training, Loss Prevention and
                  Risk Management
                  Controlling employment practices liability exposures while
                  keeping pace with employment litigation trends and regulatory
                  changes is a major challenge for all employers. AIG gives its
                  employment practices liability CEPL) policyholders a unique
                  advantage with EPL Pak Premier, industry-leading loss
                  prevention offerings. The suite is a combination of training, loss
                  control and risk management tools designed to help our clients
                  manage employment practices risks. EPL Pak Premier’s
                  resources are exclusive to AIG, and provide our EPL
                  policyholders with access to expertise and materials from two
                  of the nation’s foremost employment and labor law firms, Littler
                  Mendelson, P.C. and Jackson Lewis LLP.

                        Putting Experts By Your Side
                        EPL     Pak       Premier    now    includes    instant      access   to
                        vvww.eplriskmanager.com,        which    provides    first-in-class risk
                        management tools and resources from Littler Mendelson, a leading
                        employment and labor law firm. Materials available include essentials
                        to manage your workforce and reduce exposure to employment
                        related liability including:

                        •   Handbooks and Policies: Sample employee handbook and policies
                            to help implement best employment practices, including
                            supplemental information for all 50 states
                        •   Forms Library: A library of commonly used human resource
                            forms, which can be customized, to ease your administrative
                            burden
                        •   Workforce Guides: A hiring and firing guide to help employers
                            mitigate the risks of these critical phases of the employment
                            relationship and step-by-step guides to prevent harassment,
                            including information to help address and resolve incidents and
                            lessen potential liability
                        •   Legal Reference Materials: Over 3,000 pages of employment law
                            reference manuals providing insights on timely topics ranging
                            from layoffs, downsizing, and furloughs, to workplace violence,
                            discrimination, and employment class actions. Includes a
                            state-by-state assessment of employment laws and regulations

                        EPL Pak Premier gives you access to expertise and resources from
                        two of the nation’s foremost employment and labor law firms, Littler
                        Mendelson, P.C. and Jackson Levs LLP.
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[AI                                                                                                    Financial Lines




                              EPL Pak® Premier
                                       State of the Art Enhancements

                                       These state-of-the-art enhancements complement EPL Pak Premier’s
                                       original package of risk management solutions from Jackson Lewis,
                                       LLP, which include:

                                       •    Legal Consultation: A one-hour legal consultation on human
                                            resources and employment law issues, such as how specific laws
                                            impact personnel decisions and potential exposure to liability
                                       •    Liability Updates: Access to the Jackson Lewis e-Newsletter and
                                            e-updates spotlighting important workplace law news and trends.
                                            Alerts on significant legislative actions, judicial decisions and
                                            other changes with potential impact on our insured’s business
                                       •    Checklists: Self-audit and pre-termination checklists to help
                                            insureds identify vulnerabilities and safely navigate risky terrain
                                       •    Special California State Training: CA AB 1 825 training, enabling
                                            companies with 50 or more employees in California to fulfill their
                                            mandate of providing sexual harassment training for supervisors
                                            every two years

                                       EPL Pak Premier also includes Alternative Employment Dispute
                                       Resolution Programs from EDR Systems at preferred rates. EDR
                                       Systems will assist to resolve employee disputes internally and
                                       prevent time and money in litigation. The professionals at EDR
                                       Systems have more than 50 years of combined experience in human
                                       resource management, strategic planning, change management, and
                                       employee relations. They support a wide variety of businesses of all
                                       sizes, from national, multi-unit retail operations, to single-facility
                                       manufacturers, to professional firms.


 To learn more about EPL Pak Premier services:

 -rnail:                                   Visit:                                   Contact:
 FinancialLines@aig.com                    www.aig.com                              Your insurance broker


                Bring on tomorrow
 American International Group, Inc. (AIGI is a leading international insurance organization serving customers in mote than 130
 countries. AIG companies setve commercial, institutional, and individual customers through one of the most extensive
 worldide property- casualty netvorks of any insurer. In addition, AIG companies are leading providers of life insurance and
 retirement services in the United States. AIG common stock is listed on the New York Stock Exchange and the Tokyo Stock
 Exchange.
 Additional information about AIG can be found at www.aig.com    I YouTube: www.youtube.com/aig I Titter:
 @AlG_LatestNe Linkedln: www.linkedin.com/company/aig
 AIG is the marketing name for the vrldvde property-casualty, life and retirement, and general insurance operations of
 American International Group, Inc. For additional information, please visit our bsite at www.aig.com. All products and
 services are ritten or provided by subsidiaries or affiliates of American International Group, Inc. Products or services may
 not be available in all countries, and coverage is subject to actual policy language. Non-insurance products and services may
 be provided by independent third parties. Certain property-casualty coverages may be provided by a surplus lines insurer.
 Surplus lines insurers do not generally participate in state guaranty funds, and insureds are therefore not protected by such
 funds.
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             National Union Fire Insurance Company of Pittsburgh, Pa.
                                                                           A capital stock company


POLICY NUMBER: 01-817-25-28                     REPLACEMENT OF POLICY NUMBER: 01-569-87-28




                      EDUCATIONAL INSTITUTION RISK PROTECTOR


         [These notices are not applicable to the commercial Crime Coverage Parti


NOTICES: This policy provides claims-made coverage. Such coverage is generally limited
to liability for fi) Claims first made against Insureds and (ii) Crises first occurring, in each
case, during the Policy Period or, if applicable, the Discovery Period. Coverage under this
policy is conditioned upon notice being timely provided to the Insurer as required (see the
Notice clause for details). Covered Defense Costs shall reduce the Limits of Liability
available to pay judgments or settlements, and shall be applied against the retention
amount. The Insurer does not assume any duty to defend. Please read this policy carefully
and review its coverage with your insurance agent or broker.

                                         DECLARATIONS


 1.   NAMED ENTITY:           PRESIDENT AND FELLOWS OF HARVARD COLLEGE

      Named Entity            1033 MASSACHUSETTS AVE., SUITE 360
      Address:                CAMBRIDGE, MA 021 38-3846

      State of Formation:    MASSACHUSETTS

 2.   POLICY PERIOD:            From:      11/01/2014           To:   11/01/2015

      The Policy Period incepts and expires as of 12:01 A.M. at the Named Entity Address.

 3.   PREMIUM:                                                          $1,667,866




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4.   (a) LIMIT OF LIABILITY (For all Coverages Other Than Crime) :          $25,000,000
DECLARATIONS ( Continued)

     (b) CRIME LIMIT OF LIABILITY                                           $25,000,000



5.   RETENTION/DEDUCTIBLE: (For all Coverages):                              $2,500,000
6.   INSURER

      (a)   INSURER          175 Water Street, 18th Floor
            ADDRESS:         New York, NY 10038

      (b)   CLAIMS           By E-Mail:    c-cia im@AiG.com
            ADDRESS:
                             By Mail:    AIG
                                        Financial Lines Claims
                                        P.O. Box 25947
                                        Shawnee Mission, KS 66225

                             In either case, reference the Policy Number.


7.   TRIA PREMIUM, TAXES AND SURCHARGES

      (a) TRIA Premium:                                                          $8,298

      (b)                                                                              $

      (c)                                                                              $

      (d)                                                                              $



      “ TRIA Premium” means the premium for Certified Acts of Terrorism Coverage under
      Terrorism Risk Insurance Act 2002. The TRIA Premium amount indicated above is
      included in Premium. A copy of the TRIA disclosure sent with the original quote is
      attached hereto.




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IN WITNESS WHEREOF, the Insurer has caused this Policy to be signed by its President,
Secretary and Authorized Representative. This Policy shall not be valid unless signed below
at the time of issuance by an authorized representative of the insurer.




             PRESIDENT                                             SECRETARY
National Union Fire Insurance                         National Union Fire Insurance
Company of Pittsburgh, Pa.                            Company of Pittsburgh, Pa.




                              AUTHORIZED REPRESENTATIVE



        COUNTERSIGNED AT                    DATE              COUNTERSIGNATURE




MARSH USA INC.
99 HIGH STREET
BOSTON, MA 02110




  1323680




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   IN WITNESS WHEREOF, the Insurer has caused this Policy to be signed by its President,
   Secretary and Authorized Representative. This Policy shall not be valid unless signed below at the
   time of issuance by an authorized representative of the insurer.




                LJL
            PRESIDENT                                                           SECRETARY




                                   AUTHORIZED REPRESENTATIVE




            COUNTERSIGNATURE             DATE                 COUNTERSIGNED AT




  1323680


94106 (2/07)
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                        POLICYHOLDER DISCLOSURE
              NOTICE OF TERRORISM INSURANCE COVERAGE
          (APPLICABLE TO CERTIFIED AND NON- CERTIFIED ACTS)

You are hereby notified that under the Terrorism Risk Insurance Act, as
amended, that you have a right to purchase insurance coverage for losses
resulting from acts of terrorism, as defined in Section 102(1) of the Act: The
term “act of terrorism” means any act that is certified by the Secretary of the
Treasury- in concurrence with the Secretary of State, and the Attorney
General of the United States-to be an act of terrorism; to be a violent act or
an act that is dangerous to human life, property, or infrastructure; to have
resulted in damage within the United States, or outside the United States in
the case of certain air carriers or vessels or the premises of a United States
mission; and to have been committed by an individual or individuals as part
of an effort to coerce the civilian population of the United States or to
influence the policy or affect the conduct of the United States Government
by coercion.

YOU SHOULD KNOW THAT WHERE COVERAGE IS PROVIDED BY THIS
POLICY FOR LOSSES RESULTING FROM CERTIFIED ACTS OF TERRORISM,
SUCH LOSSES MAY BE PARTIALLY REIMBURSED BY THE UNITED STATES
GOVERNMENT UNDER A FORMULA ESTABLISHED BY FEDERAL LAW.
HOWEVER, YOUR POLICY MAY CONTAIN OTHER EXCLUSIONS WHICH MIGHT
AFFECT YOUR COVERAGE, SUCH AS AN EXCLUSION FOR NUCLEAR EVENTS.
UNDER THE FORMULA, THE UNITED STATES GOVERNMENT GENERALLY
REIMBURSES 85% OF COVERED TERRORISM LOSSES EXCEEDING THE
STATUTORILY ESTABLISHED DEDUCTIBLE PAID BY THE INSURANCE
COMPANY PROVIDING THE COVERAGE. THE PREMIUM CHARGED FOR THIS
COVERAGE IS PROVIDED BELOW AND DOES NOT INCLUDE ANY CHARGES
FOR THE PORTION OF LOSS THAT MAY BE COVERED BY THE FEDERAL
GOVERNMENT UNDER THE ACT.

YOU SHOULD ALSO KNOW THAT THE TERRORISM RISK INSURANCE ACT,
AS AMENDED, CONTAINS A $100 BILLION CAP THAT LIMITS U.S.
GOVERNMENT REIMBURSEMENT AS WELL AS INSURERS’ LIABILITY FOR
LOSSES RESULTING FROM CERTIFIED ACTS OF TERRORISM WHEN THE
AMOUNT OF SUCH LOSSES IN ANY ONE CALENDAR YEAR EXCEEDS $100
BILLION. IF THE AGGREGATE INSURED LOSSES FOR ALL INSURERS EXCEED
$100 BILLION, YOUR COVERAGE MAY BE REDUCED.



           COPY OF DISCLOSURE SENT WITH ORIGINAL QUOTE

Insured Name:   PRESIDENT AND FELLOWS OF HARVARD COLLEGE


Policy Number: 01-817-25-28
Policy Period Effective Date From:NOVembet   1, 2014   io:November 1, 2015
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                   EDUCATIONAL INSTITUTION RISK PROTECTOR
           PRESIDENT AND FELLOWS OF HARVARD COLLEGE MANUSCRIPT
                   Liability and Occurrence-Related Insurance Policy
In consideration of the payment of the premium, and in reliance upon the statements made
to the Insurer by Application, which forms a part of this policy, the Insurer agrees as
follows:

General Terms and Conditions

Unless otherwise explicitly stated to the contrary herein or in any Coverage Part, these
General Terms and Conditions shall be applicable to and deemed incorporated into and
made a part of all coverages in Coverage Part A. These General Terms and Conditions are
not applicable to the Crime Coverage Part. The terms and conditions set forth in each
Coverage Part shall only apply to that particular Coverage Part and shall in no way be
construed to apply to any other Coverage Part of this policy.

1.    DEFINITIONS

      a)        “ Advisory Board Member” means: (i) an individual serving on an advisory
                board, advisory committee,       investment committee,     limited partner
                committee or similar board or committee of any Investment Entity.

                “ Application” means all current: (i) signed application, any attachments to
                such applications, other materials submitted therewith or incorporated
                therein and any other documents submitted in connection with the
                underwriting of this policy; (ii) documents filed by the Named Entity with any
                federal, state, local or foreign regulatory agency for the twelve (1 2) month
                period preceding the beginning of the Policy Period; (iii) written warranties
                submitted with or made in the application submitted for this policy or any
                other policy of which this policy is in whole or part a renewal or replacement
                or which it succeeds in time; and (iv) financial statements for all Plans with
                investment portfolios.

      b)    “    Benefits” means any obligation under a Plan to a participant or beneficiary
                under a Plan which is a payment of money or property, or the grant of a
                privilege, right, option or perquisite.

      c)        “     Claim” means:

                (i)       a written demand for monetary, non-monetary or injunctive relief,
                          commenced by an Insured’s receipt of such written demand;

                (ii)      a civil, criminal, administrative, regulatory, arbitration, mediation, or
                          other proceeding for monetary, non-monetary or injunctive relief
                          which is initiated by (i) the filing or service of a complaint, summons,
                          writ, motion, order or similar document, (ii) the return of an
                          indictment, or the filing of an information, complaint or similar
                          document (in the case of a criminal proceeding), (iii) the receipt or
                          filing of a notice of charges;




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          (iii)   a 1) written demand seeking extradition or rendition of an Insured
                  commenced by an Insured’s receipt of such written demand; or 2)
                  execution of a warrant for the arrest of an Insured Person where such
                  execution is an element of extradition.

         (v)      a written demand to toll or waive the applicable statute of limitations
                  regarding a potential Claim as described in paragraphs (i) through (iii)
                  above;

         (vi)     an Investigation Claim;
         (vii)    as respects Employment Practices Claims, an administrative or
                   regulatory investigation by the EEOC, which is commenced by the
                  filing of a notice of charges, service of a complaint or similar
                  document of which notice has been given to an Insured; or


         Provided, however, in no event, shall the term Claim” include any labor or
                                                            “

         grievance proceeding which is subject to a collective bargaining agreement.

         The term     Claim” shall also include any Professional Services Claim,
                      “


         Fiduciary Liability Claim, Employment Practices Claim, Crisis Management
         Event, Pension Crisis Management Event, Financial Claim, Security/Privacy
         Claim and Media Claim.

    d)   “ Cleanup Costs” means expenses (including but not limited to legal and
         professional fees) incurred in testing for, monitoring, cleaning up, removing,
         containing, treating, neutralizing, detoxifying or assessing the effects of
         Pollutants.
    e)   “ Computer System’ means any computer hardware, software or any
         components thereof that are linked together through a network of two or
         more devices accessible through the Internet, internal network or connected
         with data storage or other peripheral devices (including, without limitation,
         wireless and mobile devices), and are under ownership, operation or control
         of, or leased by, a Organization.

         For this Coverage Section,        Computer System” also means “cloud
                                                “


         computing” and other hosted resources operated by a third party service
         provider for the purpose of providing hosted computer resources to an
         Organization as provided in a written contract between such third party and
         a Organization.




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    1)    “Confidential Information” means any of the following information in the
          care, custody and control of an Organization or a third party to which an
          Organization has provided such information, or for which an Organization or
          such third party is legally responsible:

          (i) Information from which an individual may be uniquely and reliably
              identified or contacted, including, without limitation, an individual’s
              name, address, telephone number, social security number, driver’s
              license number, or state-issued identification card number;


          (ii) Personal financial information, including without limitation any account
               relationship(s), financial account number(s), debit or credit card
               number(s), account balance(s), account history/ies, access codes,
               personal identification numbers, passwords, salary or income information
               or tax information;

          (iii) Information concerning an individual that would be considered “nonpublic
                personal information”    within the      meaning of Title V of the
                Gramm-Leach-Bliley Act of 1999 (Public Law 106-102, 113 Stat. 1338)
                (as amended) and its implementing regulations or protected personal
                information under any similar federal, state, local or foreign law;

          (iv) Information concerning an individual that would be considered “protected
               health information” within Health Insurance Portability and Accountability
               Act of 1 996 (as amended) and its implementing regulations or “electronic
               protected health information (ePHI) within the Health Information
               Technology for Economic and Clinical Health Act (HITECH ACT) and its
               implementing regulations;

          Cv) Information used for authenticating any individual’s personal or financial
              information or for conducting any transaction with any student or faculty
              member or Employee, including without limitation any security code(s),
              access code(s), personal identification number(s) or password(s), or any
              other information that can be used to obtain any other Confidential
               Information (including without limitation any user id(s), password(s) or
              security questions); or

          (vi) Any third party’s trade secrets, data, designs, interpretations, forecasts,
               formulas, methods, practices, processes, records, reports or other item
               of information that is not available to the general public.




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    g)   “Continuity Date” means:

         (vii)    with respect to any Claim that would have been covered under
                  Not-For-Profit Protector #612-19-39 issued to the Named Entity for
                  the initial policy period from July 1, 2008 through July 1, 2009, if
                  such Claim had been made during the policy period of such policy,
                  February 22, 1 989; and

         (viii)   With respect to any Claim relating to performance of legal services;
                  June 2, 2008 for the $1 0,000,000 excess of $1 0,000,000; and May
                  31, 2010 for the $5,000,000 excess of $20,000,000; and

         (ix)     with respect to all other Claims, May 31, 2010.

    h)   “Consulting Fees” means lees charged by a third patty actuary, benefits
         consultant or accountant resulting solely from the correction of an actual or
         potentiat ERISA Breach of Duty, but excluding any fees, costs or expenses
         associated with: (i) a Plan audit; or (ii) identifying, finding or assessing such
         ERISA Breach of Duty.

    i)   “Corporate Counsel” means any attorney at law admitted to the bar in or
         otherwise licensed to the practice of law in the United States of America or
         any of its territories, Canada or any other foreign jurisdiction, but solely while
         an Employee of an Organization.        “Corporate Counsel” includes any past,
         present or future General Counsel, deputy general counsel, assistant general
         counsel, senior counsel, or university attorney or associate attorney of an
         Organization.   “  Corporate Counsel” shall not mean a “secondment attorney”
         (i.e., an attorney employed by an outside law firm and temporarily assigned
         by agreement between such law firm and an Organization to perform
         professional legal services at the direction of such Organization).

    j)     Corporate Trustee Company” means any company formed and operating
         outside the United States that is established by the sponsor organization and
         duly appointed to act as trustee of a Plan.

    k)   Covered Penalties, solely in connection with a Plan, shall mean:




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           (i) Sec 502(i)        the 5% or less civil penalty imposed upon an Insured
                                 under Section 502(i) of ERISA;


           (ii) Section 502(l)   the 20% or less civil penalty imposed upon an Insured
                                  under Section 502(l) of ERISA, with respect to a
                                  covered settlement or judgment;


           (iii) United          the civil fines and penalties assessed against an
           Kingdom               Insured by either the United Kingdom’s Pensions
                                 Ombudsman or the        Pensions Regulator or any
                                 successor body thereto;


           (iv) Voluntary        Voluntary Compliance Loss subject to the aggregate
           Compliance Loss       sublimit of liability set forth in Clause 3 LIMIT OF
                                 LIABILITY (FOR ALL LOSS, INCLUDING DEFENSE
                                 COSTS) of this coverage section;

           (v) Section 502(c)    the civil penalties under Section 502(c) of ERISA, other
                                 than penalties under the Pension Protection Act,
                                  subject to the aggregate sublimit of liability set forth in
                                  (“ Section 502(c) Penalties”);


           (vi) Pension          the civil penalties under the Pension Protection Act of
           Protection Act        2006, subject to the aggregate sublimit of liability set
                                 forth in Clause 3 LIMIT OF LIABILITY (FOR ALL LOSS,
                                 INCLUDING DEFENSE COSTS)
                                 of this coverage section (“ Pension Protection Act
                                 Penalties”);

           (vii) H/PAA           the civil penalties for violations of the privacy
                                 provisions of the Health Insurance Portability and
                                 Accountability Act of 1996 (“HIPAA”), subject to the
                                 aggregate sublimit of liability set forth in Clause 3
                                 LIMIT OF LIABILITY (FOR ALL LOSS, INCLUDING
                                 DEFENSE COSTS) of this coverage section (“ HIPAA
                                 Penalties”);




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                                      2. the civil penalties imposed under rules and
             (viii) Health Care       regulations (including interim      final rules   and
             Reform                   regulations) provided by governmental agencies
                                      (including the U.S. Department of Health and Human
                                      Services, the U.S. Department of the Treasury, the
                                      U.S. Internal Revenue Service (“IRS”), and the DOL,
                                      the Office of Consumer Information and Insurance
                                      Oversight, and the Employee Benefits Security
                                      Administration), for inadvertent violations by an
                                      Insured of Heatth Care Reform Law, subject to the
                                      aggregate sublimit of liability set forth in Clause 3
                                      LIMIT OF LIABILITY (FOR ALL LOSS, INCLUDING
                                      DEFENSE COSTS)
                                      of this coverage section (“ Health Care Reform
                                      Penalties”); and
                                      3. the 1 5% or less tax penalty imposed upon an
             (ix) Section 4975        Insured under Section 4975 of the Internal Revenue
                                      Code of 1986, with respect to covered judgments,
                                      subject to the aggregate sublimit of liability set forth in
                                      Clause 3 o LIMIT OF LIABILITY (FOR ALL LOSS,
                                      INCLUDING DEFENSE COSTS)
                                      I this coverage section   (“   Section 4975 Penalties”).



    d)   “Crisis Management Event,”          Crisis Management Fund” and
                                                       “                  Crisis           “

         Management Services” shall have the meaning ascribed to such terms in
         Appendix D attached to this policy.
    k)   “ Cyberterrorism” means the premeditated use of disruptive activities against
         any computer system or network by an individual or group of individuals, or
         the explicit threat by an individual or group of individuals to use such
         activities, with the intention to cause harm, further social, ideological,
         religious, political or similar objectives, or to intimidate any person(s) in
         furtherance of such objectives.     Cyberterrorism” does not include any such
                                                   “


         activities which are part of or in support of any military action, war or
         warlike operation.
    I)   “   Cyber Extortion Loss” means:

                                  i) Monies paid by an Organization with the Insurer’s
                                     prior written consent to terminate or end a Security
                                     Threat that would otherwise result in harm to an
                                     Organization; and

                                  ii) The costs to conduct an investigation to determine
                                      the cause of a Security Threat.




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    I)      Defense Costs” means the reasonable fees, costs and expenses consented
              “


         to by the Insurer (including premiums for any appeal bond, attachment bond
         or similar bond arising out of a covered judgment, but without any obligation
         to apply for or furnish any such bond), which consent shall not be
         unreasonably withheld or delayed, resulting solely from the investigation,
         adjustment, defense and appeal of a Claim against an Insured, including
         reasonable attorneys’ fees, costs or expenses resulting from the correction,
         under the DOL Voluntary Fiduciary Correction Program, of an actual or
         potential ERISA Breach of Duty, but excluding any fees, costs and expenses
         associated with finding or assessing such ERISA Breach of Duty and any
         compensation of Insured Persons or employees of an Insured. Defense
         Costs shall not include any fees, costs or expenses incurred prior to the time
         that a Claim is first made against an Insured.

         Defense Costs shall also include reasonable and necessary fees, costs and
         expenses consented to by the Insurer consented to by the Insurer and
         resulting solely from an Insured Person lawfully: (a) opposing, challenging,
         resisting or defending against any request for any effort to obtain the
         Extradition of that Insured Person; or (b) appealing any order or other grant
         of Extradition of that Insured Person.

    m)    “E-Consultant Firm” means any firm on the Insurer’s list of approved firms.
         The list of approved       E-Consultant   Firms is    accessible at http:
         //wvvvv.aig.com!us/panelcounseldirectory by clicking     on the    link for
         “e-Consultant Panel Members.”

    n)    “ E-Discovery” means the development, collection, storage, organization,
          cataloging, preservation and/or production of electronically stored
          information.

    o)    “ E-Discovery Loss” means the reasonable consulting fees for the E-Discovery
          Consultant Services provided solely to an Organization by an E-Consultant
          Firm. Provided however E-Discovery Loss shall not include any costs of
          discovery other than the E-Discovery Loss.

    p)    “ E-Discovery Consultant Services” means the following services performed
          by an E-Consultant firm:

              (i) Assisting the Insured with managing and minimizing the internal and
                  external costs associated with E-Discovery;

              (ii) Assisting the Insured in developing an E-Discovery strategy which may
                   include interviewing qualified and cost effective E-Discovery vendors;
                   and

              (iii)Serving as a project manager, advisor and/or consultant to the Insured,
                   defense counsel and the Insurer in executing and monitoring the
                   E-Discovery strategy.




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         E-Discovery Consultant Services also include any other services provided by
         the E-Consultant firm that the Insured, Insurer and the E-Consultant firm
         agree are reasonable given the circumstances of the Claim.

    q)   “Education Services” means any advice, service, activity or oversight
         relating to (i) peer review, credentialing or the tenure process; (ii) teaching,
         instructing, tutoring or mentoring; or (iii) educational services, counseling,
         academic placement, instruction or oversight of university operations.

    r)   “ Employee” means any past,          present or future     employee on an
         Organization’s payroll, other than an Executive of an Organization, whether
         such employee is in a supervisory, co-worker, temporary, subordinate or
         volunteer position or otherwise, including: (i) any part-time, volunteer,
         seasonal and temporary employee or staff or faculty member (salaried or
         unsalaried); (ii) any student while acting or serving as a seasonal teaching
         assistant, section group leader, resident assistant, dormitory assistant,
         laboratory technician or other seasonal or temporary employee, Independent
         Contractor or staff member of or to an Organization, but only if the
         Organization provides indemnification to such student or independent
         contractor; or (iii) any attorney, not an Executive, employed by an
         Organization and on an Organization’s payroll.

    e)   “  Employee Benefit Law” means ERISA or any similar federal, state, local or
         foreign common or statutory law (including, but not limited to the United
         Kingdom’s Pensions Act 2004, Pensions Act 1995, and Pension Schemes
         Act 1 993; and the Pension Benefit Standards Act, 1 985 of Canada), as
         amended, and any rules and regulations promulgated thereunder to which a
         Plan is subject. Solely with respect to the acts described in subparagraph
         (iii)(D) of the definition of Wrongful Act, Employee Benefit Law shall also
         include the Health Insurance Portability and Accountability Act of 1 996
         (“HIPAA”) and any laws concerning, unemployment insurance, Social
         Security, government-mandated disability benefits or similar law.

    s)   “Employment Practices Claim” means              a Claim alleging an   Employment
         Practices Violation.




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    t)    “  Employment Practices Violation” means any actual or alleged: (I) wrongful
          dismissal, discharge or termination, either actual or constructive, of
          employment, including breach of implied contract; (ii) harassment (including,
          but not limited to,sexual harassment whether ‘quid pro quo’, hostile work
          environment, or otherwise); (iii) discrimination (including, but not limited to,
          discrimination based upon age, gender, race, color, national origin, religion,
          sexual orientation or preference, pregnancy, or disability); (iv) Retaliation; (v)
          employment-related misrepresentation to an Employee of the Organization or
          applicant for employment with the Organization or an Outside Entity; (vi)
          employment-related libel, slander, humiliation, defamation or invasion of
          privacy; (vii) wrongful failure to employ, retain or promote; (viii) wrongful
          deprivation of career opportunity with the Organization or wrongful demotion
          or negligent Employee evaluation, including the giving of negative or
          defamatory statements in connection with an Employee review or reference;
          (ix) wrongful discipline; (x) failure to grant tenure, or any other withholding of
          or delay in granting tenure; and (xi) false imprisonment; (xii) Wrongful
          Internet Activity; and (xiii) with respect to any of the foregoing items (i)
          through (xi) of this definition: negligent hiring, retention, training or
          supervision, infliction of emotional distress, failure to provide or enforce
          adequate or consistent corporate policies and procedures, or violation of an
          individual’s civil rights; but only if the Employment Practices Violation relates
          to an Employee or Executive            of an Organization or an Outside Entity
          Executive, or applicants for employment with an Organization or an Outside
          Entity, whether committed directly, indirectly, intentionally or unintentionally.

          With respect to a Claim brought by anyone other than an Insured Person or
          applicant for employment with the Organization or an Outside Entity,
          including, but not limited to, students, patients, members, customers,
          vendors and suppliers of an Organization, the term Employment Practice
          Violation shall also mean only any actual or alleged harassment (including
          sexual harassment, whether “quid pro quo”, hostile work environment or
          otherwise) or unlawlul discrimination (including, but not limited to,
          discrimination based upon age, gender, race, color, national origin, religion,
          sexual orientation or preference, political views or other opinions, pregnancy,
          or disability), or the violation of the civil rights of a person relating to such
          harassment or discrimination.

    u)    “  ERISA” means the Employee Retirement Income Security Act of 1 974,
          including any amendment or revision thereto (including, but not limited to,
          amendments relating to the Consolidated Omnibus Budget Reconciliation Act
          of 1 985, the Health Insurance Portability and Accountability Act of 1 996 as
          it relates to Sections 102(b) and 104(b)(J) of ERISA, the Newborns’ and
          Mothers’ Health Protection Act of 1996, the Mental Health Parity Act of
          1 996, and the Women’s Health and Cancer Rights Act of 1 998)including
          any amdndment or revision thereto.




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    v)   “ ERISA Breach of Duty” means any actual or alleged violation of the
         responsibilities, obligations or duties imposed upon Insureds by ERISA or
         equivalent laws of any foreign jurisdiction to which a Plan is subject.
    w)   “  Event-Related Loss” means the following reasonable expenses and costs
         incurred by an Insured within one year of discovery of a Security Failure or
         Privacy Event:
         (i) to conduct an investigation (including a forensic investigation) to
               determine the cause of the Security Failure or Privacy Event;
         (ii) for a public relations firm, crisis management firm or law firm agreed to
               by the Insurer to advise an Insured on minimizing the harm to such
               Insured, including, without limitation, maintaining and restoring public
               confidence in such Insured;
         (iii)to notify those whose Confidential Information is the subject of the
               Security Failure or Privacy Event and advise of any available remedy in
               connection with the Security Failure or Privacy Event, including, without
               limitation, those expenses and costs for printing, advertising and mailing
               of materials;
         (iv)for identity theft education and assistance, identity theft call center
               services, credit file or identity monitoring and victim reimbursement
               insurance made available to those persons notified about a Security
               Failure or Privacy Event pursuant to subparagraph (3) above;
         (v) for any other services approved by the Insurer at the Insurer’s sole and
               absolute discretion, such consent not to be unreasonably withheld;
         (vi)to restore, recreate or recollect Electronic Data; or
         (vii) to determine whether Electronic          Data can or cannot be   restored,
              recollected or recreated

    x)   “ Excess Benefits Penalties” means any Excess Benefits” penalty assessed
                                                    “

         in the amount of 10% by the Internal Revenue Service (“IRS”) against any
         Insured(s) for management’s involvement in the award of an           Excess
                                                                                “

         Benefit” and the Defense Costs attributable thereto; provided, however,
         Excess Benefits Penalties shall specifically exclude: (1) any 25% penalty
         assessed by the IRS against an Insured deemed to have received an Excess
         Benefit; (2) Defense Costs incurred to defend any Insured if it has been in
         fact determined that such individual received an Excess Benefit; and (3) any
         200% penalty assessed by the IRS for failure to correct the award of an
         Excess Benefit. The term Excess Benefits” means an excess benefit as
                                       “

         defined in the Taxpayer Bill of Rights Act, 2, 26 U.S.C. 4958.




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    y)    “     Executive” means:

          (i)       any past, present or future duly elected or appointed director
                    (including any member of any board or committee), officer, president,
                    regent, trustee, trustee emeritus, governor, dean, senior associate
                    dean, associate dean, assistant dean, acting dean, academic dean,
                    administrative dean, personnel director, chief of staff, deputy chief of
                    staff, chancellor, provost, senior vice provost, vice provost, senior
                    associate provost, associate provost, assistant provost, ombudsman,
                    fellow, executive director, department head, treasurer, corporate
                    secretary, assistant secretary, managing director, chief executive
                    officer, chief financial officer, chief operating officer, chief trusts and
                    gifts officer, management committee member, member of the board
                    of managers, managing member, executive vice president, senior vice
                    president, vice president or natural person general partner of any
                    Organization (including vAthout limitation any member of the Board of
                    Overseers, the President and Fellows of Harvard College or the
                    Council of Deans);

          (ii)      any past, present or future General Counsel, deputy general counsel,
                    assistant general counsel, associate general counsel, senior counsel,
                    university counsel, university attorney, associate attorney, tax
                    director; Chief Compliance Officer or Risk Manager (or equivalent
                    position) of an Organization;

          (iii)     any trustee, administrator or fiduciary of a Plan: (a) who is a natural
                    person and employed by the Plan; (b) for whose actions the Plan is
                    legally responsible; (c) to whom the Plan owes a contractual or legal
                    duty to indemnify; or

          (iv)      any functional or foreign equivalent of any position listed in (i) through
                    (iii) above.

    z)    “ Fiduciary Liability Claim” means any Claim alleging a Wrongful Act
          described in subparagraphs (iii)tC), (iii)tD) and (iii)(E) of the definition of
          Wrongful Act.

    aa)   “Financial Claim” means:

              (i) a Claim made against any Insured based upon, arising out of or relating,
                  directly or indirectly, to any:

                    (A) actual or alleged violation of any law, regulation or rule, whether
                        statutory, regulatory, civil or common law and which is:




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                     a. alleging, arising out of, based upon or attributable to the
                        purchase or sale or offer or solicitation of an offer to purchase
                        or sell any interests constituting or representing a security,
                        debt or other investment or financial            interest in an
                        Organization, Investment Entity or Outside Entity; or

                     b. brought by, or on behalf of, any creditor, security holder or
                        other holder, purchaser or seller of any interests constituting or
                        representing a security, debt or other investment or financial
                        interest in an Organization, Investment Entity or Outside Entity,
                        with respect to such security holder’s, creditor’s, investor’s,
                        purchaser’s or seller’s interest in such Organization,
                        Investment Entity or Outside Entity; or

                    c. brought by, or on behalf of, any person or entity pursuant to
                       any guaranty, fidelity bond, performance        bond, asset
                       securitization, bond issuance or other form of risk sharing
                       arrangement; or

          (ii) Claim brought derivatively on the behalf of an Organization, Investment
               Entity or Outside Entity by a shareholder, member, partner, creditor or
               holder of any other investment or financial interest in such Organization,
               Investment Entity or Outside Entity;

    bb)   “ Financial Insolvency” means the: (i) appointment by any government
          official, agency, commission, court or other governmental authority of a
          receiver, conservator, liquidator, trustee, rehabilitator or similar official to
          take control of, supervise, manage or liquidate an insolvent Organization; (ii)
          the filing of a petition under the bankruptcy laws of the United States of
          America; or (iii) as to (i)or (ii), any functional or foreign equivalent

    cc)   “ Foreign Jurisdiction” means any jurisdiction, other than the United States or
          any of its territories or possessions.

    dU)   “ Foreign Policy” means the standard director and officer, managerial,
          professional, non-profit, employment practices, investment management,
          fiduciary, data privacy and/or media liability insurance policy (including all
          mandatory endorsements, if any) approved by AIG to be sold within a
          Foreign Jurisdiction that provides coverage substantially similar to the
          coverage afforded under this policy.

          If more than one such policy exists, then        “Foreign Policy” means the
          standard basic policy form typically offered for sale in that Foreign
          Jurisdiction for comparable risks by the Insurer or any other company AIG.
          The term   “  Foreign Policy” shall not include any partnership managerial,
          pension trust or professional liability coverage.




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    ee)   “Health Care Reform Law” means the Patient Protection and Affordable Care
          Act (“PPACA”) and the Health Care and Education Reconciliation Act of
          2010.

    ff)   “HMC” means Harvard Management Company and any direct or indirect
          Subsidiary(ies) thereof.

    gg)   “ HIPAA Penalties” means civil monetary penalties imposed upon an Insured
          for violation of HIPAA Privacy Regulations.

    hh)   “HIPAA Privacy Regulations” means the privacy provisions of HIPAA and any
          amendments thereto.

    ii)   “ Indemnifiable Loss” means Loss for which an Organization has indemnified
          or is permitted or required to indemnify an Insured Person pursuant to law,
          contract or the charter, by-laws, statutes, partnership agreement, operating
          agreement, declaration of trust or other similar document of such
          Organization.

          For the purposes of retermining whether Loss constitutes Indemnifiable Loss
          each Organization shall be conclusivly deemed to have indemnified the
          Insured Persons to the maximium extent that an Organization is permitted or
          required to provide such indemnification persuant to law, contract or the
          charter, by laws, statutes, partnership agreement, operating agreement,
          declaration of trust or other similar document of such Organization

    jj)     Independent Contractor” means any person who is not an Employee and
          who is leased or contracted to an Organization or who acts as an
          independent contractor to an Organization or who otherwise provides
          services to or on behalf of an Organization but only if, and to the extent,
          such Organization is legally liable for or provides indemnification to such
          person pursuant to a written contract or agreement.

    kk)   Independent Director means any individual who is a director or trustee of an
          Investment Entity and who is not an “Interested Person” within the meaning
          of Section 2(a)(19) of the Investment Company Act of 1940 (as amended).

    II)   “ Insured” means any past, present or future: (I) Insured Person; (ii)
          Organization; (iii) Plan (but only with respect to any Fiduciary Liability Claim);
          or (iv) Plan Committee of an Organization, in its capacity as a fiduciary,
          trustee or settlor of a Plan, or in its administration of a Plan.

          With respect to any Media Claim, Professional Services                 Claim or
          Security/Privacy Claim only, “Insured” also means any person or        entity (not
          otherwise an Insured) that an Organization has expressly agreed        in writing,
          prior to the commission of a Wrongful Act, to add as an Insured        under this
          policy, but only for the Wrongful Acts of the Organization.




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    nn)   “  Insured Person” means any past, present or future: (i)         Executive of an
          Organization; (ii) Employee of an Organization; (iii) Outside     Entity Executive;
          (iv) any member of a Plan Committee; or (v) any individual        described in the
          preceding subsections (i), (ii), (iii) or (iv) to the extent of   his, her or their
          capacity as a fiduciary, administrator or trustee of a Plan.

    oo)   “ Insurer” means the insurance company indicated in the Declarations and
          any, assignee of or successor thereto.

    pp)   “ Investigation Claim” means a civil, criminal, administrative, regulatory
          investigation of an Insured    by a federal, state, local, foreign or offshore
          government, regulatory authority or agency, including but not limited to an
          investigation brought by the Equal Employment Opportunity Commission,
          Department of Labor, Pension Benefit Guaranty Corporation, the Securities
          and Exchange Commission, Department of Justice, Department of Treasury,
          state attorney general’s office or grand jury (or any other federal, state, local
          or foreign governmental authority), but only after the service of a subpoena,
          Wells Notice, “target” letter (within the meaning of Title 9, Section 11 .1 51
          of the United States Attorneys’ Manual), order of investigation, civil
          investigative demand, notice of charges, search warrant, or other similar
          request or document upon an Insured.

          “Investigation Claim” shall not mean any routine regulatory supervision,
          examination, inspection or compliance review.

    qq)   “Investment Advisory Services” means any of the following services by
          HMC, an Organization at the request or with the consent of HMC, or any
          Insured Person of the foregoing:

              (i)   the rendering of, or failure to render, financial, economic, investment
                    or investment management services or advice;

          (ii)      the organization or formation of, offer, purchase or sale, or solicitation
                    for the purchase or sale, or disposition or divestiture of, or of any
                    interest(s) in, an Investment Entity or Outside Entity;

          (iii)     the rendering of, or failure to render, advisory, consulting,
                    management, monitoring, administrative, investment, governance,
                    consent or financial advice to, or with respect to, an Investment
                    Entity or an Outside Entity;

          (iv)      the rendering of, or failure to render, advisory, consulting,
                    management, monitoring, administrative, investment or financial
                    advice to, for or on behalf of any third-patty at the request or with the
                    consent of HMC;

          (v)       any act, omission, statement, advice or services by an Insured Person
                    in such Insured Person’s capacity as an Insured Person or Outside
                    Entity Executive or Outside Entity; or




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          (vi)       the selection, due diligence, oversight or management of another
                     investment manager selected by any Insured to: (a) manage assets of
                     any Organization, or (b) serve on any investment committee of an
                     Organization or to manage an Investment Entity,

          but only if any of the foregoing services are performed (1) in the ordinary
          course of an Insured’s business; (2) in the Insured’s capacity as such or as a
          result of the Insured’s status as such; and (3) on behalf of or relating to the
          Harvard University endowment, any gift annuity, any charitable remainder
          trust or any other planned giving program, including without limitation, any
          offer, solicitation, advice, service, activity, structuring or administration with
          respect to a planned giving program.

    rr)   “Investment Advisory Services Claim” means a Claim made against any
          Insured alleging any actual or alleged Wrongful Act in the performance of, or
          failure to perform, Investment Advisory Services.

    ss)   “ Investment Entity” means any entity that is a partnership, corporation,
          trust, limited liability company, investment fund, investment vehicle (or the
          functional or foreign equivalent of the foregoing): (i) in which an
          Organization, at any time, maintains or maintained or proposes to maintain
          any debt, equity, convertible, limited partnership, limited liability company or
          other investment, financial or ownership interest; (ii) at which an Insured
          Person serves on any board or committee that was created pursuant to the
          limited partnership agreement, limited liability company agreement, operating
          agreement or other organizational document of such fund, entity or vehicle;
          or (iii) listed as an Investment Entity in an endorsement to this policy.

    tt)   “     Legal Services” means any professional legal services that are rendered by:

          ti)        a Corporate Counsel in his or her capacity as such;

          (ii)       a Corporate     Counsel while a full time, permanent Executive or
                     Employee of    an Organization (including pro bono services and other
                     professional   legal services performed outside the scope of their
                     employment     with an Organization); and

          (iii)      any Insured Person but solely while acting under the supervision of
                     and at the direction of a Corporate Counsel.

            Legal Services” shall also include notarizing, certifying or acknowledging
          any signature rendered in connection with subparagraphs Ci) through (iii)
          above.

    uu)   “Limit of Liability” means the Limit of Liability stated in Item 4(a) of the
          Declarations for all coverages under this policy other than Coverage Part B.
          Commercial Crime Coverage Part. The Limit of Liability is in addition to and
          not a part of the Crime Limit of Liability stated in Item 4(b) of the
          Declarations, which is applicable to the Coverage Part B. Commercial Crime
          Coverage Part.




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    vv)   “ Loss” means, with respect to Coverage Part A, damages, settlements,
          plaintiff’s attorney’s fees, judgments (including pre!post-judgment interest on
          a covered judgment), Voluntary Compliance Loss, Covered Penalties,
          Event-Related Loss, Cyber Extortion Loss and other amounts (including civil
          fines and civil penalties and punitive, exemplary and multiplied damages that
          are insurable by applicable law; and not subject to any specific proscription
          in the underlying claim by the SEC or other entity or agency issuing such
          penalty) and Defense Costs (including, but not limited to: Defense Costs
          from any Claim arising out of or alleging any violation of (1) the Securities
          Act of 1 933, as amended (including without limitation Sections 11, 1 2 or 1 5
          thereof); (2) the Securities Exchange Act of 1 934, as amended (including
          without limitation Sections 10, 14, 20, 20A or 30A (the Foreign Corrupt
          Practices Act) or Rule lOb-5 or Rule 14a-9 thereof); (3) any state Blue Sky
          law; (4) the Investment Company Act of 1 940, as amended; or (5) the
          Investment Advisers Act of 1 940, as amended; (6) the Commodity Exchange
          Act; (7) the Commodity Futures Modernization Act; (8) the Commodity
          Future Trading Commission Act; (9) the CFTC Reauthorization Act; (10) any
          self-regulatory organization rule or regulation; or (11) any foreign equivalent
          of the foregoing);

          Provided, however, that Loss” (other than Defense Costs) shall not include:
                                      “


          (i) civil or criminal fines or penalties imposed by law; (ii) taxes, but solely with
          respect to an Investment Advisory Services Claim, only those taxes that are
          levied against an Insured; (iii) any amounts for which no Insured is financially
          liable, which are without legal recourse to any Insured or for which an
          Insured has not suffered any financial or economic loss or loss of other
          property; (iv) employment-related benefits,           stock options, severance
          payments, golden parachutes, perquisites, deferred compensation or any
          other type of compensation other than salary, wages or bonus compensation,
          unless and to the extent that recovery of such amounts is based upon a
          covered Wrongful Act and is payable as a personal obligation of an Insured
          Person; (v) Benefits, or that portion of any settlement or award in an amount
          equal to and comprising such Benefits, unless and to the extent that recovery
          of such Benefits is based upon a covered Wrongful Act and is payable as a
          personal obligation of an Insured Person; (vi) overhead, over-charges or cost
          over-runs; (vii) an Insured’s costs and expenses of complying with any
          injunctive or other form of equitable relief, including any costs or expenses
          incurred by any Insured to modify any building or property in order to make
          said building or property more accessible or accommodating to any disabled
          person and costs or expenses to conduct any educational sensitivity or other
          program or seminar; (viii) production costs or the cost of recall, reproduction,
          reprinting, return or correction of Material by any person or entity; (ix) any
          liability or costs incurred in connection with any educational, sensitivity or
          other program, policy or seminar; (x) the return or reimbursement of fees,
          commissions, donations, gifts or other remuneration, or that portion of any
          settlement or award in an amount equal to the return of such fees,
          commissions, donations, gifts or other remuneration; (xi) any amounts
          deemed uninsurable under the law pursuant to which this policy shall be
          construed; or




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         (xii) cleanup costs relating to hazardous materials, pollution or product
         defects; provided, however, that Loss shall include a monetary award in, or
         fund for settling, a Claim against any Insured to the extent it alleges a loss to
         a Plan or loss in the actual accounts of participants in a Plan by reason of a
         change in value of the investments held by that Plan, including, but not
         limited to, the securities of the Named Entity, regardless of whether the
         amounts sought in such Claim have been characterized by plaintiffs as
         “benefits” or held by a court to be “benefits.”
          Notwithstanding anything in this definition of   “  Loss” to the contrary, Loss
         shall specifically include, subject to the other terms, conditions and
         exclusions of this policy, including, but not limited to, exclusions relating to
         profit or advantage, fraud or criminal acts: (i) punitive, exemplary and
         multiple damages (including the multiple or liquidated damages awards under
         the Age Discrimination in Employment Act and the Equal Pay Act); (ii) Excess
         Benefits Penalties; (iii) civil fines and penalties assessed against an Insured
         by either the Pensions Ombudsman appointed by the Secretary of State for
         Social Services in the United Kingdom, by the Occupational Pensions
         Regulatory Authority in the United Kingdom, by the Pensions Regulator in the
         United Kingdom or any successor body thereto; (iv) the fifteen percent (1 5%)
         or less civil penalty imposed upon an Insured under Section 502(i) of ERISA;
         (v) the twenty percent (20%) or less penalty imposed upon an Insured under
         Section 502(I) of ERISA, with respect to covered settlements or judgments;
         (vi) HIPAA Penalties; (vii) any monetary amount an Insured is required by law
         or has agreed to by settlement to deposit into a consumer redress fund as a
         result of a Security/Privacy Claim; and (viii) civil penalties assessed against
         any Insured Person pursuant to Section 2(g)(2)(B) of the Foreign Corrupt
         Practices Act, 1 5 U.S.C. Sec. 78dd-2(g)(2)(B) or Section 11(1 )(a) of the
         United Kingdom Bribery Act of 2010, Chapter 23. The enforceability of this
         paragraph shall be governed by such applicable law which most favors
         coverage for such penalties and punitive, exemplary and multiple damages.
         Loss shall also mean the reasonable fees and expenses of an independent
         fiduciary retained to review a proposed settlement of a covered Fiduciary
         Claim, including fees and expenses of any law firm hired by the independent
         fiduciary to facilitate a review of the proposed settlement.
          Notwithstanding anything in this definition of      Loss” to the contrary, the
                                                               “


          Insurer shall not assert that a Claim alleging any violation of Section 11, 1 2
          or 1 5 of the Securities Act of 1 933, or the portion of any amounts incurred
          by Insureds which are attributable to such actual or alleged violation or
          Defense Costs incurred in defending against such a Claim constitutes
          uninsurable loss and shall treat that portion of all such settlements,
          judgments and Defense Costs as constituting Loss under the policy.




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         Loss shall also include fines or penalties, if insurable by law, arising out of
         any violation of any Specified Regulatory Legislation; provided, however, it is
         understood and agreed that the maximum aggregate limit of the Insurer’s
         liability for all Loss (including Defense Costs) arising from all Claims alleging
         a violation of any Specified Regulatory Legislation combined shall be
         $2,000,000 (“hereinafter        “ Regulatory Fines and Penalties Sublimit of
         Liability”). This Regulatory Fines and Penalties Sublimit of Liability is part of
         and not in addition to the Limit of Liability, and shall in no way serve to
         increase the Limit of Liability.Notwithstanding anything in this definition of
         Loss’ to the contrary, Loss shall not include:

          U)    the return of funds which were received from any federal, state or
                local governmental agency and any interest, fines or penalties arising
                out of the return of such funds; provided, however, that with regard
                to Claims for Wrongful Acts arising out of the return, or request to
                return such funds, this policy shall pay Defense Costs up to an
                amount not to exceed $5,000,000 (“ Government Funding Defense
                Costs Sublimit”). This Government Funding Defense Costs Sub-Limit
                of Liability is part of, and not in addition to, the Policy Aggregate
                Limit of Liability, and shall in no way serve to increase such Policy
                Aggregate Limit of Liability.     With respect to any Defense Costs
                coverage afforded pursuant to this subparagraph, it is understood
                that: the Insurer shall be liable to pay 60% of such Defense Costs,
                excess of a retention in the amount of $2,500,000       and subject to
                                                                        ,

                the Limit of Liability. It is a condition of this insurance that the
                remaining40% of such Defense Costs shall be carried by the Insureds
                at their own risk and be uninsured; or

         (ii)   the return of funds which were received as donations from any third
                party (“ Donated Funds”)

         Provided, however, that Loss shall include Defense Costs incurred with
         respect to Claims seeking the foregoing.

         In the event of a Claim alleging that the price or consideration paid or
         proposed to be paid for the acquisition or completion of the acquisition of all
         or substantially all the ownership interest in or assets of an entity is
         inadequate, Loss with respect to such Claim shall not include any amount of
         any judgment or settlement representing the amount by which such price or
         consideration is effectively increased; provided, however, that this paragraph
         shall not apply to Defense Costs or to any Non-Indemnifiable Loss.




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          NOTE: Notwithstanding anything in this Policy to the contrary, with respect
          to judgments, amounts paid in settlements or other amounts in which
          punitive, exemplary or multiplied damages, fines or penalties are awarded or
          paid, the coverage provided by this Policy shall apply to the broadest extent
          permitted by law, and the availability of such coverage shall be determined
          by the law of any applicable jurisdiction, (including but not limited to the
          jurisdiction where ti) the policy is issued, (ii) a Wrongful Act is alleged to
          have occurred, (iii) the Insured is domiciled or incorporated, or (iv) the Insurer
          is domiciled or incorporated) that is most favorable to such coverage.
          Furthermore, if, based on the written opinion of independent counsel (i) a
          jurisdiction is determined to be applicable, and (ii), fines, penalties, punitive,
          exemplary, special or multiplied damages are insurable under such applicable
          law, the Insurer will not dispute such written opinion.

    ww)   “  Management Control” means: (i) owning interests representing more than
          fifty percent (50%) of the voting, appointment or designation power for the
          selection of a majority of the board of directors or trustees of a corporation,
          the management committee members of a joint venture or partnership, the
          general partner of a limited partnership or the members of the management
          board or managing member of a limited liability company; (ii) having the
          right, pursuant to written contract or the by-laws, charter, operating
          agreement or similar documents of a Organization, to elect, appoint or
          designate a majority of the board of directors of a corporation, the
          management committee of a joint venture or partnership, the general partner
          of a limited partnership or the management board or managing member of a
          limited liability company; or (iii) the functional or foreign equivalent of any of
          the foregoing.

    xx)   “Material” means media content in any form, including, without limitation,
          advertising and written, printed, audio, video, electronic, digital or digitized
          content of:

          (i)       broadcasts, including without limitation, broadcasts via television,
                    motion picture, cable, satellite television, radio, wireless devices or
                    the Internet; or

          (ii)      publications, including without limitation, publications via newspaper,
                    journal, newsletter, magazine, book and other literary, monograph,
                    brochure, directory, screen play, film script, playwright and video
                    publications.

    yy)   “Media Claim” means any Claim made against an Insured in connection with
          Material and alleging a Media Peril.

    zz)   “     Media Peril” means any:

          Ci)        infringement of copyright, title, slogan, trademark, trade name, trade
                     dress, mark, service mark, service name, infringement of domain
                     name, deep-linking or framing, including, without limitation, unfair
                     competition in connection with such conduct;




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               (ii)    plagiarism, piracy or misappropriation or theft of ideas under implied
                       contract or other misappropriation or theft of ideas or information;
                       including, without limitation, unfair competition in connection with
                       such conduct;

               (iii)   invasion, infringement or interference with rights of privacy or
                       publicity, false tight, public disclosure of private facts, intrusion and
                       commercial appropriation of name, persona or likeness; including,
                       without limitation, emotional distress or mental anguish in connection
                       with such conduct;

               (iv)    defamation, libel, slander, product disparagement or trade libel or
                       other tort related to disparagement or harm to character or reputation;
                       including, without limitation, unfair competition, emotional distress or
                       mental anguish in connection with such conduct;

               (v)     wrongful entry or eviction, trespass, eavesdropping or other invasion
                       of the right to private occupancy, or false arrest, detention or
                       imprisonment or malicious prosecution; including, without limitation,
                       any emotional distress or mental anguish in connection with such
                       conduct;

           (vi)        negligent or intentional infliction of emotional distress, outrage or
                       prima facie tort in connection with Material; or

           (vii)       Loss caused by a third party, which has no ownership relationship
                       with any Insured, acting upon or making a decision or decisions based
                       on the content of Material disseminated by an Insured or with an
                       Insured’s permission.

    aaa)   “      Named Entity” means the President and Fellows of Harvard College.

    bbb)   “Non-Indemnifiable Loss” means Loss for which an Organization has neither
           indemnified nor is permitted or required to indemnify an Insured Person
           pursuant to law or contract or the charter, bylaws, statutes, operating
           agreement or similar document of an Organization.

    ccc)   “     Organization” means:

           (i)         the Named Entity and any Subsidiary thereof; or

           (ii)         HMC and any Subsidiary thereof; or

           (iii)        each entity listed on the Schedule of Insured Harvard Affiliated
                        Entities; or

           (iv)         in the event any bankruptcy proceeding shall be instituted by or
                        against any of the foregoing entities, the term  Organization” shall
                                                                           “

                        also mean the resulting debtor-in-possession (or foreign equivalent
                        status outside the United States), if any;




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           Notwithstanding the foregoing, with respect to any Fiduciary Liability Claim,
           the definition of “   Organization” shall include the entities described in the
           preceding paragraph only in their capacity as a fiduciary, administrator,
           trustee or settlor of a Plan.

            Organization” shall not mean or include any Outside Entity listed on the
           Schedule of Harvard Management Company Outside Entities (or any
           Subsidiary thereof) which is attached to this policy.

    ddd)   “ Outside Entity” means any (i) past, present or future not-for-profit
           organization or government or, quasi-government authority or agency on
           which an Insured Person serves as director, officer, advisory board member,
           shadow-director, shareholder’s representative, committee member, trustee,
           trustee emeritus, or governor at the request or direction of an Organization;
           or (ii) entity listed as an Outside Entity in the Schedule of Harvard
           Management Company Outside Entities attached to this policy (including any
           Subsidiary thereof).

    eee)   “ Outside Entity Executive” means any: (i) Insured Person of the Organization
           serving in the capacity as director, officer, advisory board member,
           shadow-director, shareholder’s representative, committee member, trustee,
           trustee emeritus, or governor of an Outside Entity, but only if such service is
           at the specific request or direction of the Organization; (ii) Advisory Board
           Member; or (iii) any other person listed as an Outside Entity Executive in an
           endorsement to this policy. It is understood and agreed that, in the event of
           a disagreement between the Organization and an individual as to whether
           such individual was acting “at the specific request or direction of the
           Organization,” this policy shall abide by the determination of the
           Organization on this issue and such determination shall be made by written
           notice to the Insurer within ninety (90) days after the disagreement is first
           stated in writing to the Organization. In the event no determination is made
           within such period, this policy shall apply as if the Organization determined
           that such Insured Person was not acting at the Organization’s specific
           request or direction.

    fff)   “Pension Plan” means a pension plan as defined in any Employee Benefit
           Law.

    ggg)   “Pension Crisis Management Event,” Pension Crisis Management Fund” and
                                                    “

             Pension Crisis Management Services” shall have the meaning ascribed to
           such terms in Appendix D attached to this policy.

    hhh)   “Plan” means automatically any plan, fund, trust or program (including, but
           not limited to, any plan, fund, trust or program considered or created by the
           Named Entity during the Policy Period, any IRA-based Plan, fringe benefit
           plan, cafeteria plan, dependent care assistance program, welfare plan,
           non-qualified plan, or qualified Pension Plan), established anywhere in the
           world, which was, is or shall be sponsored solely by the Organization, or
           sponsored jointly by the Organization and a labor organization, solely for the
           benefit of the Executives or Employees of the Organization, subject to the
           provisions set forth below:




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          (i)    if such Plan was sold, spun-off, transferred or terminated prior to the
                 inception date of this policy, the coverage as is afforded hereunder
                 shall only apply for Wrongful Acts that occurred or that are alleged to
                 have occurred prior to earliest of: the date such Plan was sold,
                 spun-off, transferred or terminated; the date that the Organization or
                 Insured Person ceased to be a fiduciary or ceased his, her or its
                 administration of a sold, spun-off or transferred Plan; or in the case of
                 a terminated Plan, the final date of asset distribution of such Plan;

         (ii)    if such Plan is sold, spun-off, transferred or terminated during the
                 Policy Period, the Named Entity shall provide written notice of such
                 sale, spin-off or termination to the Insurer prior to the end of the
                 Policy Period. The coverage as is afforded hereunder shall only apply
                 for Wrongful Acts that occurred or that are alleged to have occurred
                 prior to the earliest of: the date any such Plan was sold, spun-off,
                 transferred or terminated; the date that the Organization or Insured
                 Person ceases to be a fiduciary or ceases his, her or its administration
                 of a sold, spun-off or transferred Plan; or in the case of a terminated
                 Plan, the final date of asset distribution of such Plan;

         (iii)   if such Plan is a Pension Plan and:

                 (A)    is acquired during the Policy Period as a result of the Named
                        Entity’s acquisition of a Subsidiary whose assets total less
                        than twenty-five percent (25%) of the total consolidated
                        assets of the Named Entity as of the inception date of this
                        policy; or

                 (B)    is acquired during the Policy Period and such Plan’s assets
                        total less than twenty-five percent (25%) of the total
                        consolidated assets of all covered Pension Plans as of the
                        inception date of this policy;

                 Then this policy shall apply to such Plan (but solely with respect to
                 any Wrongful Act occurring after the date of such acquisition). The
                 Named Entity shall provide the Insurer with full particulars of such
                 new Plan before the end of the Policy Period; or

         (v)     if such Plan is a Pension Plan and:

                 (A)    is acquired during the Policy Period as a result of the Named
                        Entity’s acquisition of a Subsidiary whose assets total more
                        than twenty-five percent (25%) of the total consolidated
                        assets of the Named Entity as of the inception date of this
                        policy; or

                 (B)    is acquired during the Policy Period and such Plan’s assets
                        total more than twanty-five percent (25%) of the total
                        consolidated assets of all covered Pension Plans as of the
                        inception date of this policy,




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                  then, this policy shall apply to such Plan (but solely with respect to
                  any Wrongful Act occurring after the date of such acquisition), for a
                  period of ninety (90) days after its acquisition. Coverage is provided
                  after the initial 90) day period so long as the Named Entity shall have
                  provided the Insurer with a completed Application for such new Plan
                  and agreed to any additional premium or amendment of the provisions
                  of this policy required by the Insurer relating to such new Plan. This
                  ninety (90) day reporting condition shall not apply if such new Plan
                  does not constitute one of the five largest Pension Plans of the
                  Named Entity and the failure to report such Plan within the 90) day
                  reporting period was due to inadvertent omission by the Named Entity
                  and upon discovery of such Plan, the Named Entity shall notify the
                  Insurer as soon as practicable, provide any information required by
                  the Insurer relating to such Plan and pay any premium required by the
                  Insurer relating to such Plan.

           The Definition of Plan shall also include the following government-mandated
           programs: unemployment insurance, Social Security or disability benefits, but
           solely with respect to a Wrongful Act defined in subparagraph tiii)(D) of the
           definition of Wrongful Act;

           In no event, however, shall the definition of Plan include any multiemployer
           plan as defined in ERISA Secs. 3(37) and Sec. 4001 (a)(3)).

    iii)   “Plan Committee” means any employee benefit committee, including, but not
           limited to any plan investment or administration committee of an
           Organization, including a Corporate Trustee Company, in its capacity as a
           fiduciary, settlor or trustee of a Plan.

    jjj)   “ Policy Period” means the period of time from the inception date shown in
           Item 2 of the Declarations to the earlier of the expiration date shown in
           such Item 2 or the effective date of cancellation of this policy.

    kkk)   “ Pollutants” means, but is not limited to, any solid, liquid, gaseous,
           biological, radiological or thermal irritant or contaminant, including smoke,
           vapor, dust, fibers, mold, spores, fungi, germs, soot, fumes, acids, alkalis,
           chemicals and Waste. Waste” includes, but is not limited to, materials to be
                                    “

           recycled, reconditioned or reclaimed and nuclear materials.

    Ill)   “Privacy Event” means any of the following occurring, or alleging to have
           occurred after the Retroactive Date and prior to the end of the Policy Period:

           fi)    any failure to protect Confidential Information (whether due to
                  “hacking,” “phishing,”       “spoofing,” a    data    breach or other
                  unauthorized access to or use of Confidential Information, other social
                  or electronic engineering technique, inadvertence or otherwise)
                  including, without limitation, that which results in an identity theft or
                  other wrongful emulation of the identity of an individual or
                  corporation;




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          (ii)      a failure to disclose any failure to protect Confidential Information in
                    violation of any Security Breach Law; or

          (iii)     a violation of any federal, state, foreign or local privacy statute
                     alleged in connection with a Claim for compensatory damages,
                    judgments, settlements, pre-judgment and post-judgment interest
                    from a failure to protect Confidential Information or a violation of any
                     Security Breach Law.

                  (v) wrongful collection of Confidential Information by an Insured;

                  (vi)any violation of a confidentiality or nondisclosure agreement by an
                          Insured;

                  tvii)Any violation of an Organization’s privacy policy

    mmm)’ Professional Services” means:

          (i)       Investment Advisory Services;

           ii)      Property Management Services;

          (iii)     Legal Services;

          (iv)      Education Services;

                  (viii)     Urban Consulting Services;

                  (ix)       Publication Services and

                  (x)        Research Services

                  (vii)        any other professional services (other than Investment
                               Advisory Services) performed for others, provided, however,
                               that any such professional service which generates annual
                               fees greater than $500,000 must be reported to the Insurer
                               within 90 days after the Risk Manager or the Office of General
                               Counsel become aware that fees greater than $500,000 are
                               being generated by such professional services.




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                   The Organization shall provide such information as the Insurer may
                   requite to fi) determine if the Insurer is willing to continue to insure
                   such professional services under this policy; (ii) determine what, if any,
                   premium charge shall apply; and (iii) add the appropriate definition of
                   such professional services by endorsement to this policy.             Such
                   services shall not be included in the definition of Professional Service
                   from the date the Risk Manager or the Office of General Counsel
                   become aware or should have been aware that annual fees for such
                   services exceed $500,000 until the Insurer has added such professional
                   services to this definition by endorsement to this policy; performed by
                   an Organization or by an Insured Person while acting within the scope
                   of their duties as an Executive or Employee of an Organization.

    nnn)   “Professional Services Claim” means a Claim made against any Insured
           alleging a Wrongful Act in the performance of, or failure to perform,
           Professional Services.

    ooo)   “Property Management Services” means any of the following services
            provided in connection with the management of commercial or residential
            property not owned by any Insured Person:

           (i)      developing management plans and budgets;

           (ii)      overseeing or coordinating the physical maintenance of real property
                     and/or buildings or fixtures;

           (iii)    tenant relation services, including the evaluation and selection of
                    tenants, collection of rent and the processing of evictions;

           (iv)     developing, implementing and managing contracts necessary to the
                    daily functioning of real property and/or buildings or fixtures; or

           (v)      selecting or overseeing any security services;

           (vi)      record keeping.

           Property Management Services does not include the management of
           renovation and reconstruction plans or any contracts or subcontracts in
           connection therewith; analysis, evaluation or consultation concerning
           environmental hazards or exposures; or obtaining, maintaining or negotiating
           property and liability insurance contracts.




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             Publication Service” means the following services performed by Harvard
           University Press and Harvard Business School Publishing for others: (i) the
           provision of hosting, on-demand, web-based service, software programs,
           tools, kits, and object libraries, all third-party or open source code embedded
           therein or any equipment, any upgrades, updates,                  releases, fixes,
           enhancements; (ii) modifications to licensed softvvare provided by Harvard
           University Press or Harvard Business School Publishing ; (iii) written
           (including electronic) technical, user,           and operational    materials or
           specifications published by Harvard Business School Publishing applicable to
           such software, equipment ad services; or (iv) any other service related to ti),
           (ii), or (iii) above.

    ppp)   “ Related Wrongful Act(s)” means Wrongful Act(s) which are the same,
           related or continuous, or Wrongful Act(s) which arise from a common
           nucleus of facts. Claims can allege Related Wrongful Act(s) regardless of
           whether such Claims involve the same or different claimants, Insureds or
           legal causes of action.

    qqq)   “Research Services(s)” means any educational, academic or clinical
           research, investigation, testing or analysis performed by any administrator,
           faculty, principal investigator, postdoctoral fellows, research associates,
            research administrators or students.

    rrr)   “  Retaliation” means a retaliatory act of an Insured alleged to be in response
           to any of the following activities: (i) the disclosure or threat of disclosure by
           an Employee of the Organization or an Outside Entity to a superior or to any
           governmental authority or regulatory agency of any act by an Insured which
           act is alleged to be a violation of any federal, state, local or foreign law,
           common or statutory, or any rule or regulation promulgated thereunder;
           (ii) the actual or attempted exercise by an Employee of the Organization or
           an Outside Entity of any right that such Employee has under any law, statute
           or regulation,     including, without limitation, rights under worker’s
           compensation laws, the Family and Medical Leave Act, the Americans with
           Disabilities Act or any other law relating to employee rights; (iii) the filing of
           any claim under the Federal False Claims Act or any other federal, state,
           local or foreign “whistle-blower” law; or (iv) strikes of an Employee of the
           Organization or an Outside Entity.

    sss)   “   Retroactive Date” means:

           (i)      with respect to any Professional Services Claim that would have been
                    covered under Not-For-Profit Protector #612-19-39 issued to the
                    Named Entity for the initial policy period from July 1, 2008 through
                    July 1, 2009, if such Claim would have been made during the policy
                    period of such policy, February 22, 1 989; or

           (ii)     with respect to all other Professional Services Claims and all Media
                    Claims and Security/Privacy Claims, May 31, 2010.




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    ttt)   “Security Breach Law” means any statute or regulation of the European
           Union, United Kingdom, United States of America, Canada or any other
           country, province, state, territory or jurisdiction that requires an entity
           storing Confidential Information on its Computer System, or any entity that
           has provided Confidential Information to an information holder, to provide
           notice of any actual or potential unauthorized access by others to
           Confidential Information stored on such Computer System, including but not
           limited to, the statute known as California SB 1386 ( 1798.82, et a!. of the
           California Civil Code).

    “Security Failure” means any of the following occurring or alleging to have occurred
    after the Retroactive Date and prior to the end of the Policy Period:

           (i)     a failure or violation of the security of a Computer System including,
                   without limitation, that which results in or fails to mitigate any
                   unauthorized       access,     unauthorized   use,    misappropriation,
                   spear-phishing, denial of service attack or receipttransmission of a
                   unauthorized or corrupting code or infection through Trojan horses,
                   worms, spyware, logic bomb, malware or advanced persistent
                   threats;;

           (ii)    physical theft of hardware controlled by an Organization (or
                   components thereof) on which electronic data is stored, by a person
                   other than an Insured, from a premises occupied or controlled by an
                   Organization; or

           (iii)   failure to disclose or report an event described in Sub-paragraph (1) or
                   (2) above in violation of a Security Breach Law.

      Security Failure” includes any such failure or violation, resulting from the theft of a
    password or access code from an Insured’s premises, the Computer System, or an
    officer, director or employee of a Company by non-electronic means.

    uuu)   “ Security Threat” means any threat or connected series of threats to commit
           an intentional attack against a Computer System for the purpose of
           demanding money, securities or other tangible or intangible property of value
           from an Organization.

    vvv)   “Security/Privacy Claim” means a Claim made against any Insured alleging a
           Security Failure or Privacy Event.

    wvvw)” Specified Regulatory Legislation” means (1) the Campus Sexual Assault
          Victims’ Bill of Rights Act of 1 991; (2) the Student Right to Know Act of
           1991; (3) the Federal Education Rights and Privacy Act of 1974 (“FERPA,”
          or the “Buckley Amendment”); (4) the Crime Awareness and Campus
          Security Act of 1 990 (“Clery Act”); (5) the Uniform Student Freedom of
          Expression Act; (7) the Freedom of Information Act (5 U.S.C. 552) and any
          similar state law; (8) Subtitle F of Title II of HIPAA; and (9) any state “Open
          Public Meeting” or “Sunshine” law.




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    xxx)    “Subsidiary” means any past or present: (i) entity of which one or more
            Organization(s) have Management Control on or before the inception of the
            Policy Period, either directly or indirectly; or (ii) entity which qualifies as a
            Subsidiary pursuant to Clause 6 of this policy.

            Notwithstanding the foregoing, coverage as is afforded under this policy with
            respect to a Claim made against any Subsidiary or any Insured Persons
            thereof shall only apply for Wrongful Acts committed or allegedly committed
            after the effective time that the Named Entity obtained Management Control
            of such Subsidiary and prior to the time that such Named Entity ceased to
            have Management Control of such Subsidiary.

    yyy)    “Urban Consulting Services” means consultation regarding planning, design,
            outreach, development, social service, community service or other similar
            advice or service for cities, municipalities or other local governments.

    zzz)    “ Voluntary Compliance Loss” means fines, penalties, sanctions, and
            reasonable and necessary fees, costs or expenses related to the assessment
            of or correction of a Plan’s noncompliance in accordance with any Voluntary
            Compliance Program and which are incurred during the Policy Period (or
            during the policy period of a policy issued by the Insurer of which this policy
            is a continuous renewal Compliance Loss” shall not include any
            compensation of any Insured Persons or any employee of an Insured.

    aaaa) Voluntary Compliance Program” any voluntary compliance resolution
          program or similar voluntary settlement program administered by the DOL,
          IRS, PBGC or other similar governmental authority or any similar program
          administered by any governmental authority located outside the United
          States of America, to correct any inadvertent non-compliance by a Plan,
          including, but not limited to:

                    (1) Employee Plans Compliance Resolution System;

                    (2) Delinquent Filer Voluntary Compliance Program;

                    (3) Voluntary Fiduciary Correction Program;

                    (4) Premium Compliance Evaluation Program; and

                    (5) Participant Notice Voluntary Correction Program

    bbbb)   “   Wrongful Act” means:

            (I) With respect to an Insured Person, any actual or alleged act, omission,
                breach of duty, neglect, error, statement, misstatement, misleading
                statement, supervision or failure to supervise:




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                 (A) with respect to any Executive of an Organization, by such
                         Executive in his or her capacity as such or any matter asserted
                         against such Executive by reason of his or her status as such;

                 (B)     with respect to any Employee of an Organization, by such
                         Employee in his or her capacity as such or any matter asserted
                         against such person by reason of his or her status as such;

                 (C)     with respect to any Outside Entity Executive, by such Outside
                         Entity Executive in his or her capacity as such or any matter
                         claimed against such Outside Entity Executive by reason of his
                         or her status as such; or

                 (D)     with respect to any Advisory Board Member, by such Advisory
                         Board Member in his or her capacity as such or any matter
                         claimed against such Advisory Board Member by reason of his
                         or her status as such;

          (ii) With respect to an Organization any actual or alleged:

                 (A)     act, omission, breach of duty, neglect, error, statement,
                         misstatement, misleading statement, negligent supervision of
                         or failure to supervise by such Organization;

          (iii) With respect to all Insureds any actual or alleged:

                 (A)     Privacy Event; or

                 (B)     Security Failure.

                 (C)    any actual or alleged violation of any of the responsibilities,
                         obligations or duties imposed upon fiduciaries by Employee
                         Benefit Law with respect to a Plan, including, but not limited
                         to the actual or alleged improper selection of or inadequate
                         monitoring of third-party service providers; or any allegation
                         made against an Insured by reason of his, her or its actual or
                         alleged status as a fiduciary of a Plan; or




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                       (D)    any actual or alleged act, error, omission, breach of duty,
                               neglect, misstatement or misleading statement solely in the
                              performance of, or failure to perform, one or more of the
                              following administrative duties or activities, but only with
                              respect to a Plan: (I) counseling employees, participants and
                              beneficiaries; (ii) providing interpretations; (iii) handling of
                              records, calculating or determining benefits,            preparing,
                              distributing or filing required notices or documents; (iv)
                              activities effecting enrollment, termination or cancellation of
                              employees, participants and beneficiaries under the Plan; tv)
                              complying with HIPAA failure to properly and timely provide
                              COBRA notices or other required notices, (vii) the alleged
                              failure to make timely determinations of eligibility for benefits;
                              or (viii) any allegation made against an Insured solely by reason
                              of his, her or its actual or alleged administration of a Plan;

                       (E)    a violation of the United Kingdom’s Pensions Ombudsman or
                              Pensions Regulator;

                       (F)    Wrongful Internet Activity; or

                       (G)    any actual or alleged act, error or omission by an Insured in a
                              settlor capacity as respects a Plan.

              Notwithstanding anything in this Policy to the contrary, the Insurer and
              Insureds agree that any Investigation Claim shall be treated as a Claim for a
              Wrongful Act.



(eeee)   “  Wrongful Internet Activity means the acts, errors, or omissions in subparagraphs
         fi) through (xi) of the definition of Employment Practices Violation, when committed
         by an Employee by means of the internet, including, but not limited to, social
         networking activities, regardless of whether such internet activity is during or after
         work hours or on or off the work premises. For purposes of the application of this
         definition, an individual shall be deemed to be an Employee regardless of whether
         such individual was acting in his or her capacity as an Employee.

4.       CURRENCY AND VALUATION

         All premiums, limits, retentions, Loss and other amounts under this policy are
         expressed and payable in the currency of the United States of America.




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     If a judgment is rendered, settlement is denominated or other elements of Loss are
     stated or incurred in a currency other than United States of America dollars,
     payment of covered Loss due under this policy (subject to the terms, conditions and
     limitations of this policy) will be made either in such other currency (at the option of
     the Insurer and if agreeable to the Named Entity) or, in United States of America
     dollars, at the rate of exchange published in The Wall Street Journal on the date the
     Insurer’s obligation to pay such Loss is established (or if not published on such date
     the next publication date of The Wall Street Journal).

5.    LIMIT OF LIABILITY (FOR ALL LOSS, INCLUDING DEFENSE COSTS)

      The Limit of Liability is the aggregate limit of the Insurer’ s liability for all Loss, Crisis
      Management Loss, Event-Related Loss and Cyber Extortion Loss combined under
      any and all coverage parts combined and arising out of:

      (a)    all Claims first made against the Insured during the Policy Period or the
             Discovery Period (if applicable);

      (b)    solely with respect to Crisis Management Loss, all Crisis Management Events
             occurring during the Policy Period;

      (c)    solely with respect to Event-Related Loss, all Security Failures and Privacy
             Events occurring during the Policy Period; and

      td)    solely with respect to Cyber Extortion Loss, all Security Threats occurring
             during the Policy Period.

      The Limit of Liability for the Discovery Period shall be part of, and not in addition to,
      the Limit of Liability for the Policy Period.       Further, a Claim which is made
      subsequent to the Policy Period or Discovery Period (if applicable) and which
      pursuant to Clause 3(b) or 3(c) of Coverage Part A is considered made during the
      Policy Period or Discovery Period, shall also be subject to the single aggregate Limit
      of Liability.

      Defense Costs are not payable by the Insurer in addition to the Limit of Liability.
      Defense Costs are part of Loss and, as such, are subject to the Limit of Liability for
      Loss. Amounts insured for Defense Costs shall be applied against the retention.

      Notwithstanding the foregoing, the following sublimits shall apply:




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    CRISISFUND® INSURANCE

    The maximum limit of the Insurer’s liability for all Crisis Management Loss arising
    from all Crisis Management Events occurring during the Policy Period or the
    Discovery Period (if applicable), in the aggregate, shall be $100,000 (herein the
    Crisis Management Fund”). The Crisis Management Fund shall be the maximum
    limit of the Insurer under this policy for Crisis Management Loss, regardless of the
    number of Crisis Management Events occurring during the Policy Period; provided,
    however, the Crisis Management Fund shall be part of and not in addition to the
    Limit of Liability, and shall in no way serve to increase the Insurer’s Limit of
    Liability.

    VOLUNTARY COMPLIANCE LOSS SUBLIMIT OF LIABILITY

    The maximum limit of the Insurer’s liability for all Voluntary Compliance Loss
    occurring during the Policy Period or the Discovery Period (if applicable), in the
    aggregate, shall be $250,000 (the           Voluntary Compliance Loss Sublimit of
                                                    “

    Liability”). The Voluntary Compliance Loss Sublimit of Liability shall be part of, and
    not in addition to, the Limit of Liability, and shall in no way serve to increase the
    Insurer’s Limit of Liability.

    HIPAA PENALTIES SUBLIMIT OF LIABILITY

    The maximum limit of the Insurer’s liability for all HIPAA Penalties, in the aggregate,
    shall be $,500,000 (the      “ HIPAA Penalties Sublimit of Liability”).      The HIPAA
    Penalties Sublimit of Liability shall be part of, and not in addition to, the Limit of
    Liability, and shall in no way serve to increase the Insurer’s Limit of Liability.

    HEALTH CARE REFORM PENALTIES SUBLIMIT OF LIABILITY

    The maximum limit of the Insurer’s liability for all Health Care Reform Penalties, in
    the aggregate shall be $250,000 (the        Health Care Reform Penalties Sublimit of
                                                        “

    Liability”). The Health Care Reform Penalties Sublimit of Liability shall be part of,
    and not in addition to, the Limit of Liability, and shall in no way serve to increase
    the Insurer’s Limit of Liability

    SECTION 4975 PENALTIES SUBLIMIT OF LIABILITY

    The maximum limit of the Insurer’s liability for all Section 4975 Penalties, in the
    aggregate shall be $250,000 (the          Section 4975 Penalties Sublimit of Liability”).
                                               “

    The Section 4975 Penalties Sublimit of Liability shall be part of, and not in addition
    to, the Limit of Liability, and shall in no way serve to increase the Insurer’s Limit of
    Liability




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     502(c) PENALTIES SUBLIMIT OF LIABILITY

     The maximum limit of the Insurer’s liability for all 502(c) Penalties, in the aggregate
     shall be $250,000 (the       “ 502(c) Penalties Sublimit of Liability”). The 502(c)
     Penalties Sublimit of Liability shall be part of, and not in addition to, the Limit of
     Liability, and shall in no way serve to increase the Insurer’s Limit of Liability

     PENSION PROTECTION ACT PENALTIES SUBLIMIT OF LIABILITY

     The maximum limit of the Insurer’s liability for all Pension Protection Act Penalties,
     in the aggregate shall be $250,000 (the Pension Protection Act Penalties Sublimit
                                                       “


     of Liability”). The Pension Protection Act Penalties Sublimit of Liability shall be part
     of, and not in addition to, the Limit of Liability, and shall in no way serve to increase
     the Insurer’s Limit of Liability

     EVENT MANAGEMENT SUBLIMIT OF LIABILITY

     The maximum limit of the Insurer’s liability for all Event-Related Loss arising out of
     the Event Management Insuring Agreement, in the aggregate, shall be $7,500,000
     (the Event Management Sublimit of Liability”). The Event Management Sublimit of
          “


     Liability shall be part of, and not in addition to, the Limit of Liability, and shall in no
     way serve to increase the Insurer’s Limit of Liability.

     E-DISCO VERY CONSULTANT SERVICES SUBLIMIT OF LIABILITY

     The Insurer’s maximum liability for all E-Discovery Loss, in the aggregate, arising
     from all Claims covered under this Policy, shall be $25,000 (the E-Discovery“


     Sublimit of Liability”). The E-Discovery Sub-Limit of Liability shall be part of and not
     in addition to the Limit of Liability and will in no way serve to increase the Insurer’s
     Limit of Liability.

     E-Discovery Consultant Services shall conclude once such services are no longer
     required or necessary or when the E-Discovery Sub-Limit of Liability has been
     exhausted, whichever comes first.

6.   DISCOVERY CLAUSE

     The provisions of this Clause do not apply to the Event Management Insuring
     Agreement.

     If the Named Entity shall cancel or the Named Entity or the Insurer shall refuse to
     renew this policy, then the Named Entity shall have the right, upon payment of the
     applicable Additional Premium Amount” for the applicable period following the
                “

     effective date of such cancellation or nonrenewal as specified below (herein
     referred to as the Discovery Period”), in which to give the Insurer written notice of
                        “


     Claims first made against any Insured during said Discovery Period for any Wrongful
     Act occurring prior to the end of the Policy Period and otherwise covered by the
     canceled or nonrenewed policy.




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     The rights contained in this Clause 4 shall terminate, however, unless written notice
     of such election together with the Additional Premium Amount due is received by
     the Insurer within thirty (30) days after the effective date of cancellation or
     nonrenevval.

     The Additional Premium Amount for the elected Discovery Period shall be the total
     annual premium charged for this policy multiplied by a percentage determined by
     the Insurer in its sole and absolute discretion that does not exceed the following for
     the length time of elected for the Discovery Period as follows: One (1) year, 100%;
     two (2) years, 1 25%; three (3) years, 1 50%; six years, 200%; unlimited duration,
     225%.

     In the event of a Transaction, as defined in Clause 6 of these General Terms and
     Conditions, the Named Entity shall have the right, within forty-five (45) days before
     the end of the Policy Period, to request an offer from the Insurer of a Discovery
     Period (with respect to Wrongful Acts occurring prior to the effective time of the
     Transaction) for a period of up to six (6) years or for such longer or shorter period
     as the Named Entity may request. The Insurer shall offer such Discovery Period
     pursuant to such terms, conditions and premium as the Insurer may reasonably
     decide. In the event of a Transaction, the right to a Discovery Period shall not
     otherwise exist except as indicated in this paragraph.

     The Discovery Period is not cancelable and the additional premium charged for
     coverage during the Discovery Period shall be fully earned at inception. This Clause
     shall not apply to any cancellation resulting from non-payment of premium. The
     rights contained in this Clause shall terminate unless written notice of election of a
     Discovery Period together with any additional premium due is received by the
     Insurer no later than thirty (30) days after the effective date of the cancellation,
     nonrenewal or Transaction.

7.   CANCELLATION CLAUSE
     a) By Named Entity: This policy may be canceled by the Named Entity at any time
        only by mailing written prior notice to the Insurer or by surrender of this policy
        to the Insurers authorized agent or to the Insurer.
     b) By the Insurer: This policy may only be canceled by the Insurer for non-payment
        of premium, by delivering to the Named Entity by registered, certified, other first
        class mail or other reasonable delivery method, at the address of the Named
        Entity set forth in Item 1 of the Declarations, written notice stating when, not
        less than twenty (20) days thereafter, the cancellation shall be effective. Proof
        of mailing or delivery of such notice as aforesaid shall be sufficient proof of
        notice and this policy shall be deemed canceled as to all Insureds at the date
        and hour specified in such notice.
     c) Return of Premium: If this policy shall be canceled by the Named Entity, the
        Insurer shall retain pro rata proportion of the premium hereon.




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8.    ORGANIZATIONAL CHANGES

      a)   If during the Policy Period:

           (i)     the Named Entity shall consolidate vvith, merge into, or sell all or
                   substantially all of its assets to any other person or entity or group of
                   persons or entities acting in concert;

           (ii)    any person or entity or group of persons or entities acting in concert
                   shall acquire Management Control of the Named Entity;

           (iii)   the Named Entity shall dissolve; or

           (iv)    the Named Entity shall change from not-for-profit to for-profit status

           (any such event being a Transaction”), then this policy shall continue in full
                                       “

           force and effect as to Wrongful Acts occurring prior to, or at, the effective
           time of the Transaction, but there shall be no coverage afforded by any
           provision of this policy for any actual or alleged Wrongful Act occurring after
           the effective time of the Transaction. This policy may not be canceled after
           the effective time of the Transaction and the entire premium for this policy
           shall be deemed earned as of such time. The Named Entity shall also have
           the right to an offer by the Insurer of a Discovery Period described in Clause
           4 of this policy.

      b)   Subsidiary Additions:      Subsidiary” also means any entity of which the
                                       “

           Named Entity first acquires Management Control during the Policy Period,
           and of which the book value of such entity’s assets determined in
           accordance with Generally Accepted Accounting Principles total less than
           25% of the similarly calculated assets of the Named Entity as of the
           inception date of the Policy Period.

      c)   Insured Persons: Coverage will automatically apply to all new Insured
           Persons of an Organization or Outside Entity following the inception date of
           this policy.




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9.    SUBROGATION

      a)     In the event of any payment under this policy, the Insurer shall be
             subrogated to the extent of such payment to each Insured’s rights of
             recovery thereof, and each Insured shall execute all papers required and shall
             do everything that may be reasonably necessary, including, without
             limitation, the assertion of indemnification or contribution rights, to secure
             such rights including the execution of any and all documents necessary to
             enable the Insurer to bring suit in the name of each such Insured. In no
             event, however, shall the Insurer exercise its rights of subrogation against an
             Insured Person under this policyb)

             In the event that the Insurer shall for any reason pay Indemnifiable Loss on
             behalf of an Insured Person, the Insurer’s subrogation rights shall include, but
             not be limited to, the assertion of indemnification or contribution rights with
             respect to any such payments it makes or advances. Additionally, upon the
             Insurer making any payment of Loss within the retention, the Insurer shall
             have the contractual right hereunder to recover from the Organization such
             Loss which was paid within the retention. Such direct contractual right of
              recovery against the Organization shall be in addition to and independent of
             the Insurer’s subrogation right pursuant to this Clause 7 and any other rights
             the Insurer may have under applicable law. Notwithstanding the foregoing,
             this subparagraph (b) shall not apply to Indemnifiable Loss of an Insured
             Person which the Organization failed to pay due to the Organization’s
             Financial Insolvency.

      c)     Nothing in this Clause 7 shall be construed to grant any indemnification right
             by or on behalf of any Organization to any Insured Person.

10.   OTHER INSURANCE AND INDEMNIFICATION

      Except in the case of personal liability insurance maintained by an Insured Person,
      and any insurance contract providing coverage that is specifically excess of this
      policy, all Loss payable under this policy will be specifically excess of, and will not
      contribute with, any other valid and collectible insurance paid to or on behalf of an
      Insured, including but not limited to any insurance under which there is a duty to
      defend, unless such other insurance is written to be specifically excess of this
      policy.

      Coverage as is afforded by this policy shall be specifically excess of any: (i) valid
      and collectible indemnification paid to any Insured Person; and (ii) any other valid
      and collectible insurance actually paid to any Insured.

      Coverage provided hereunder shall be specifically primary to any personal
      liability/personal umbrella excess or non-indemnifiable difference in conditions
      insurance available to Insured Persons, except that the Insurer shall recognize
      erosion of the applicable Retention under this policy by payment from either the
      Insureds or another insurer (including without limitation personal liability/personal
      umbrella excess or non-indemnifiable difference in conditions insurance).




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       Further, in the event other insurance is provided to an Insured Person serving at an
       Outside Entity, Investment Entity, leasing company or independent contractor
       referenced in the above paragraph, or is provided under any pension trust or
       employee benefit plan fiduciary liability insurance policy, and such other insurance is
       provided by the Insurer or any other insurance company affiliate thereof (“ Other
       Policy”) (or would be provided but for the application of the retention amount,
       exhaustion of the limit of liability or failure to submit a notice of a claim as
       required), then the Insurer’s maximum aggregate Limit of Liability for all Loss of
       Insureds covered both under this policy and such Other Policy shall be
       $35,000,000. For the avoidance of doubt, Other Policy shall not include any
       policies providing coverage excess to this Policy.

11.    NOTICE AND AUTHORITY

       It is agreed that the Named Entity shall act on behalf of each and every Insured
       with respect to the giving of notice of any Claim, the giving and receiving of notice
       of cancellation or non-renewal, the payment of premiums and the receiving of any
       return premiums that may become due under this policy, the receipt and
       acceptance of any endorsements issued to form a part of this policy and the
       exercising or declining of any right to a Discovery Period; provided, however, that
       any Insured may provide notice of a Claim in order to fulfill the notice requirements
       in this policy.

12.    ASSIGNMENT

       This policy and any and all rights hereunder are not assignable without the written
       consent of the Insurer, which consent shall be in the sole and absolute discretion of
       the Insurer.

13.    DISPUTE RESOLUTION PROCESS

       It is hereby understood and agreed that all disputes or differences which may arise
       under or in connection with this policy, whether arising before or after termination
       of this policy, including any determination of the amount of Loss, must first be
       submitted to the non-binding mediation process as set forth in this Clause.

       The non-binding mediation will be administered by any mediation facility to which
       the Insurer and the Named Entity mutually agree, in which all implicated Insureds
       and the Insurer shall try in good faith to settle the dispute by mediation in
       accordance with the American Arbitration Association’s (“ AAA”) then-prevailing
       Commercial Mediation Rules. The parties shall mutually agree on the selection of a
       mediator. The mediator shall have knowledge of the legal, corporate management,
       or insurance issues relevant to the matters in dispute. The mediator shall also give
       due consideration to the general principles of the law of the state where the Named
       Entity is incorporated in the construction or interpretation of the provisions of this
       policy.




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      In the event that such non-binding mediation does not result in a settlement of the
      subject dispute or difference:

      a) either party shall have the right to commence a judicial proceeding; or

      b) either party shall have the right, with all other parties consent, to commence an
         arbitration proceeding with the AAA that will be submitted to an arbitration
         panel of three (3) arbitrators as follows: (i) the Insured shall select one (1)
         arbitrator; (ii) the Insurer shall select one (1) arbitrator;  and      (iii) said
         arbitrators shall mutually agree upon the selection of the third arbitrator. The
         arbitration shall be conducted in accordance with the AAA’s then prevailing
         Commercial Arbitration Rules.

      Notwithstanding the foregoing, no judicial or arbitration proceeding shall be
      commenced until at least sixty (60) days after the date the non-binding mediation
      shall be deemed concluded or terminated. Each party shall share equally the
      expenses of the non-binding mediation. Provided, however, that if such delay could
      or would result in the running of any statute of limitations, the parties agree to
      waive any and all statute of limitations arguments.

      The non-binding mediation may be commenced in Boston, Massachusetts or New
      York, New York. The Named Entity shall act on behalf of each and every Insured in
      connection with any non-binding mediation under this Clause, the selection of
      arbitration or judicial proceeding or the selection of mediators or arbitrators.

14.   ACTION AGAINST INSURER

      a)    Except as provided in Clause 11 of the General Terms and Conditions of the
            policy, no action shall lie against the Insurer unless, as a condition precedent
            thereto, there shall have been compliance with all of the terms of this policy,
            nor until the amount of the Insureds obligation to pay shall have been finally
            determined either by judgment against the Insured after actual trial or by
            written agreement of the Insured, the claimant and the Insurer.

      b)    Any person or organization, or the legal representative thereof who has
            secured a judgment against an Insured or entered into a written agreement
            with an Insured, with the Insurers consent, which consent shall not be
            unreasonably withheld, to pay an amount of Loss covered hereunder, shall
            thereafter be entitled to recover under this policy to the extent of the
            insurance afforded by this policy.

      c)    Except as provided in Section 1 2(b), no person or organization shall have any
            right under this policy to join the Insurer as a party to any action against an
            Insured to determine the Insureds liability, nor shall the Insurer be impleaded
            by the Insured or their legal representatives.




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15.    BANKRUPTCY

       a)     Bankruptcy or insolvency of any Organization or any Insured Person shall not
              relieve the Insurer of any of its obligations hereunder.

       b)     The coverage provided under this policy is intended to protect and benefit
              the Insured Persons.       If a liquidation or reorganization proceeding is
              commenced by the Named Entity or any other Organization (whether
              voluntarily or involuntarily) under Title 11 of the United States Code (as
              amended), or any similar state, local or foreign law (collectively “Bankruptcy
              Law”) then, in regard to a covered Claim under this policy, the Insureds
              hereby:

              (i)    waive and release any automatic stay or injunction to the extent it
                     may apply in such proceeding to the proceeds of this policy under
                     such Bankruptcy Law; and

              (ii)   agree not to oppose or object to any efforts by the Insurer or any
                     Insured to obtain relief from any stay or injunction to the extent
                     applicable to the proceeds of this policy as a result of the
                     commencement of such liquidation or reorganization proceeding.
16.    EXTENSIONS

       Subject otherwise to the terms hereof, this policy shall cover Loss arising from any
       Claim made against: (i) the estates, heirs, or legal representatives of deceased
       Insured Persons, and the legal representatives of Insured Persons in the event of
       incompetency, insolvency or bankruptcy, who vre Insured Persons at the time the
       Wrongful Acts upon which such Claims are based were committed; or (ii) the lawful
       spouse or domestic partner (whether such status is derived by reason of statutory
       law, common law or otherwise of any applicable jurisdiction in the world or the
       provisions of any formal program established by the Organization or any Subsidiary)
       of an Insured Person for all Claims arising solely out of his or her status as the
       spouse or domestic partner of an Insured Person, including a Claim that seeks
       damages recoverable from marital community property, property jointly held by the
       Insured Person and the spouse or domestic partner, or property transferred from the
       Insured Person to the spouse or domestic partner; provided, however, this extension
       shall not afford coverage for any Claim for any actual or alleged Wrongful Act of the
       spouse or domestic partner, but shall apply only to Claims arising out of any actual
       or alleged Wrongful Acts of an Insured Person, subject to the policy’s terms,
       conditions and exclusions.

17.    PRIORITY OF PAYMENTS

       a)     In the event of Loss arising from one or more covered Claims (with the
              exception of any Employment Practices Claim) for which payment is due
              under this policy, then the Insurer shall in all events:




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             (i)     first, pay all Non-Indemnifiable Loss of an Insured Person for which
                     coverage is provided under this policy;

             (ii)    second, pay all Indemnifiable Loss of every Insured Person for which
                     coverage is provided under this policy; and

             (iii)   third, only after payments of all Loss have been made pursuant to
                      subsections fa)(i), and (ii) of this Clause 1 5, then with respect to
                      whatever remaining amount of the Limit of Liability is available after
                      such payment, at the written request of the President of the Named
                      Entity, either pay or withhold payments of such other Loss for which
                      coverage is provided or may be available under this policy.

      b)     The bankruptcy or insolvency of any Organization, any Insured Person or any
             other entity or person shall not relieve the Insurer of any of its obligations to
             prioritize payment of covered Loss under this coverage section pursuant to
             this Clause.



      c)     Nothing in this Clause shall be construed to increase the Limit of Liability of
             the Insurer under this policy, which Limit of Liability shall remain the
             maximum liability of the Insurer for all Loss under this policy.

18.   SEVERABILITY AND REPRESENTATIONS

      In granting coverage under the policy, it is agreed that the Insurer has relied upon
      the statements and representations contained in the Application for this policy as
      being accurate and complete in all material respects. All such statements and
      representations are the basis of this policy and are to be considered as incorporated
      into this policy.

      The Insureds agree that in the event that the particulars and statements contained
      in the Application are not accurate and complete and materially affect either the
      acceptance of the risk or the hazard assumed by the Insurer under the policy, then
      the coverage under this policy shall be void ab in/tb as to any Insured who knew as
      of the inception date of the Policy Period of the facts that were not accurately and
      completely disclosed in the Application (whether or not such Insured knew that
      such facts were not accurately and completely disclosed in the Application). Solely
      for purposes of determining whether this policy shall be void ab in/tb as to an
      Insured, such aforesaid knowledge possessed by any Insured shall not be imputed
      to any other Insured.




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19.   SERVICE OF SUIT

      It is agreed that in the event of failure of the Insurer to pay any amount claimed to
      be due hereunder, and in the event the parties determine to have such dispute or
      difference resolved through a judicial proceeding, the Insurer, at the request of the
      Insured, will submit to the jurisdiction of any court of competent jurisdiction within
      the United States. Nothing in this Clause 1 7 constitutes, or should be understood
      to constitute, a waiver of the Insurer’s rights to commence an action in any court of
      competent jurisdiction in the United States, to remove an action to a United States
      District Court, or to seek a transfer of a case to another court as permitted by the
      laws of the United States or of any state in the United States.

      It is further agreed that service of process in such suit may be made upon General
      Counsel, Legal Department, Chartis Specialty Insurance Company, 1 75 Water
      Street New York, NY 10038, or his or her representative, and that in any suit
      instituted against the Insurer upon this contract, the Insurer will abide by the final
      decision of such court or of any appellate court in the event of any appeal.

      Further, pursuant to any statute of any state, territory or district of the United
      States which makes provision therefore, the Insurer hereby designates the
      Superintendent, Commissioner, or Director of Insurance, or other officer specified
      for that purpose in the statute, or his or her successor or successors in office as its
      true and lawful attorney upon whom may be served any lawful process in any
      action, suit, or proceeding instituted by or on behalf of the Insured or any
      beneficiary hereunder arising out of this contract of insurance, and hereby
      designates the above-named General Counsel as the person to whom the said
      officer is authorized to mail such process or a true copy thereof.

20.   STATE AMENDATORY INCONSISTENT

      In the event that there is an inconsistency between any: (a) state amendatory
      endorsement attached to this policy, or any other wording attached to this policy to
      comply with applicable law or regulation; and (b) any other term, condition or
      limitation of this policy; then, to the extent permitted by law, and subject to the
      limitations below, the Insurer shall resolve the inconsistency by applying those
      terms, conditions or limitations that are more favorable to the Insureds.

      This Clause shall not apply to the extent that: (a) any state amendatory or other
      wording expressly limits coverage in order to comply with applicable law, or (b) any
      such amendatory or other compliance wording amends language applicable to
      premium amount for this policy.     In such event, the state amendatory or other
      compliance wording will govern over any other term, condition or limitation of the
      policy.

21.   HEADINGS AND DEFINED TERMS

      The descriptions in the headings of this policy are solely for convenience, and form
      no part of the terms and conditions of coverage.




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22.   CHOICE OF LAW

      This policy, and its terms and conditions, shall be subject to, and interpreted in
      accordance with, the substantive laws of the Commonwealth of Massachusetts
      without regard to its conflict of laws principles.

23.   WORLDWIDE EXTENSION


      Where legally permissible, this policy shall apply to any Claim made against any
      Insured anywhere in the world. For Claims made and maintained in a Foreign
      Jurisdiction for Wrongful Acts committed in such Foreign Jurisdiction, the Insurer
      shall apply to such Claims the provisions of the Foreign Policy in the Foreign
      Jurisdiction that are more favorable to such Insured in the Foreign Jurisdiction;
      provided, however, that this paragraph shall apply only to provisions more favorable
      by virtue of insuring clauses, extensions, definitions, exclusions, pre-authorized
      securities or other defense counsel, discovery or extended reporting period, notice
      and authority, dispute resolution process or order of payments provisions, if any, of
      the Foreign Policy when compared to the same or similar clauses of this policy.
      This paragraph shall not apply to excess provisions or policy provisions that address
      non-renewal, defense within or without limits, taxes, claims made and reported
      provisions or any other provision of this policy intended to govern coverage
      worldwide.




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EDUCATIONAL INSTITUTION RISK PROTECTOR
PRESIDENT AND FELLOWS OF HARVARD COLLEGE MANUSCRIPT
Liability and Occurrence-Related Insurance Policy

Coverage Part A: D&O, EPL, E&O, Fiduciary Liability, Security, Privacy and Media Content
Liability Insurance Coverage Part

THIS IS A CLAIMS MADE AND REPORTED COVERAGE PART WITH DEFENSE COSTS
INCLUDED IN THE LIMIT OF LIABILITY. PLEASE READ AND REVIEW THE POLICY
CAREFULLY.

In consideration of the payment of the premium, and in reliance upon the Application and
all statements therein which form a part of this policy, the Insurer and the Insureds agrees
as follows:

1.     INSURING AGREEMENTS

      Solely with respect to Claims first made against an Insured during the Policy Period
      or the Discovery Period (if applicable) and reported to the Insurer pursuant to the
      terms of this policy, and subject to the other terms, conditions and limitations of
      this policy, this policy affords the following coverage:

       a)    Insured Person Liability: This policy shall pay the Loss of any Insured Person
             arising from a Claim first made against such Insured Person during the Policy
             Period (or Discovery Period, if applicable) for any Wrongful Act of such
             Insured Person, except when and to the extent that the Organization or Plan
             has indemnified such Insured Person. This Insuring Agreement (a) shall not
             apply to Loss arising from a Claim made against an Outside Entity Executive.

      b)      Organization Coverage:

              (i)    Organization Liability:    This policy shall pay the Loss of an
                     Organization or any Plan arising from a Claim first made against such
                     Organization or Plan during the Policy Period (or Discovery Period, if
                     applicable) for any Wrongful Act of an Organization or Plan.

              (ii)   Indemnification of Insured Persons: This policy shall pay the Loss of
                     an Organization or any Plan arising from a Claim first made against an
                     Insured Person during the Policy Period (or Discovery Period, if
                     applicable) for any Wrongful Act of such Insured Person, but only
                     when and to the extent that the Organization or Plan has such Insured
                     Person. This Insuring Agreement tb)tii) shall not apply to Loss arising
                     from a Claim made against an Outside Entity Executive.




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    c)   Outside Entity Executive Liability:    This policy shall pay the Loss of any
         Outside Entity Executive arising from a Claim first made against such
         Outside Entity Executive during the Policy Period (or Discovery Period, if
         applicable) for any Wrongful Act of such Outside Entity Executive, but only
         excess of: (i) any indemnification actually paid by the Outside Entity; and (ii)
         any valid and, collectible insurance coverage afforded to the Outside Entity
         Executives applicable to such Claim, except when and to the extent that an
         Organization has indemnified such Outside Entity Executive.

    U)    Crisis fund Insurance: This policy shall pay the Crisis Management Loss of an
         Organization solely with respect to a Crisis Management Event occurring
         during the Policy Period or the Discovery Period (if applicable) and reported
         to the Insurer pursuant to the terms of this policy, up to the amount of the
         Crisis Management Fund; provided, however, that payment of any Crisis
         Management Loss under this policy shall not waive any of the Insurers
         rights under this policy or at law. This coverage (d) shall apply regardless of
         whether a Claim is ever made against an Insured arising from such Crisis
         Management Event and, in the case where a Claim is made, regardless of
         whether the amount is incurred prior to or subsequent to the Claim being
         first made.

    e)   Cyber Extortion Insuring Agreement: This policy shall pay Cyber Extortion
          Loss, in excess of the applicable retention, that an Organization incurs solely
          as a result of a Security Threat that first occurred during the Policy Period.

    f)    Event Management Insuring Agreement: This policy shall pay Event-Related
         Loss, in excess of the applicable retention, that an Organization incurs solely
         as a result of a Security Failure or Privacy Event that has actually occurred or
         is reasonably believed by such Organization and the Insurer to have occurred
         during the Policy Period.

    g)   Voluntary Compliance Loss Coverage: This policy shall pay any Voluntary
         Compliance Loss first ascertained by or assessed against an Insured, subject
         to the aggregate sublimit of liability set forth in Clause 3. Limit of Liability of
         the General Terms and Conditions of this policy.           The payment of any
         Voluntary Compliance Loss under this policy shall not waive any of the
         Insurer’s rights under this policy or at law, including in the event that
         circumstances giving rise to such Voluntary Compliance Loss result in a
         Claim.




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      h)    E-Discovery Consultant Services Coverage: The Insurer shall pay on an
             Organization’s behalf, the E-Discovery Loss of such Organization arising from
             a Claim made against any Insured for a covered Loss, for which E-Discovery
             is required or becomes necessary. An Organization may select a
             pre-approved E-Consultant Firm to perform E-Discovery Consultant Services
             without further approval by the Insurer at such time that it becomes
             necessary for such Organization or an Insured Person thereof to respond to a
             discovery request. Coverage for E-Discovery Loss, up to the E-Discovery
             Sub-Limit of Liability, shall not be subject to any Retention amount Payment
             of any E-Discovery Loss shall not waive any rights of the Insurer under this
             policy or at law.

2.1    EXCLUSIONS APPLICABLE TO ALL INSURING AGREEMENTS

The Insurer shall not be liable to make any payment for Loss in connection with any Claim
made against an Insured:

                    a)     arising out of, based upon or attributable to the gaining any
                           material personal profit or financial advantage by such Insured
                           to which a final, non-appealable adjudication in any underlying
                           action or proceeding other than an action or proceeding
                           initiated to determine coverage under the policy establishes
                           such Insured was not legally entitled; provided, however, that
                           this exclusion shall not apply to Loss attributable to any actual
                           or alleged violation of Section 11, 1 2 or 1 5 of the Securities
                           Act of 1933.

                    b)     arising out of, based upon or attributable to payments to such
                           Insured of any remuneration by any Organization or Outside
                           Entity without the previous approval of such Organization’s or
                           Outside Entity’ s security holders or members, if a final,
                           non-appealable adjudication in any underlying action or
                           proceeding other than an action or proceeding initiated to
                           determine coverage under the policy establishes such
                           payments to such Insured, without such previous approval, to
                           be illegal; provided, however, that this exclusion shall not
                           apply to Loss attributable to any actual or alleged violation of
                           Section 11, 1 2 or 1 5 of the Securities Act of 1 933. This
                           exctusion shall also not apply to Employment Practices Claims.




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               C)    arising out of, based upon or attributable to the committing by
                     such Insured of any deliberate criminal or deliberate fraudulent
                     act, or any willful violation of Employee Benefit Law, if any
                     final, non-appealable adjudication in any underlying action or
                     proceeding other than an action or proceeding initiated to
                     determine coverage under the policy establishes that such
                     deliberate criminal, deliberate fraudulent or willful violation of
                     statute, rule or law was committed; provided, however, for
                     acts or omissions which are treated as a criminal violation in a
                     Foreign Jurisdiction that are not treated as a criminal violation
                     in the United States of America, the imposition of a criminal
                     sanction in such Foreign Jurisdiction will not, by itself, be
                     conclusive proof that a deliberate criminal or deliberate
                     fraudulent act occurred.

               d)    alleging, arising out of, based upon or attributable to the facts
                     alleged, or to the same or Related Wrongful Acts alleged or
                     contained, in any Claim, or circumstances, of which notice has
                     been given and accepted for coverage, under any Directors &
                     Officers,    Professional    Services,    Employment Practices,
                     Fiduciary, Media Content, or Security/Privacy policy of which
                     this policy is a direct or indirect renewal or replacement

               e)    alleging, arising out of, based upon or attributable to, as of the
                     Continuity Date, any pending or prior: (I) litigation against an
                     Insured; or (ii) administrative or regulatory proceeding or
                     investigation against an Insured of which an Insured had
                     notice, or alleging any Wrongful Act which is the same or
                     Related Wrongful Act(s) to that alleged in such pending or prior
                     litigation or administrative     or regulatory proceeding        or
                     investigation.

               f)    for violation(s) of any of the responsibilities, obligations or
                     duties imposed by the Fair Labor Standards Act (except the
                     Equal Pay Act), the National Labor Relations Act, the Worker
                     Adjustment and Retraining Notification Act, the Consolidated
                     Omnibus Budget Reconciliation Act, the Occupational Safety
                     and Health Act, any rules or regulations of the foregoing
                     promulgated thereunder, and amendments thereto or any
                     similar federal, state, local or foreign statutory law or common
                     law; provided, however, this exclusion shall not apply to the
                     extent that a Claim is for Retaliation or to the extent it is an
                     Investment Advisory Services Claim.

               g)    alleging, arising out of, based upon or attributable to any of the
                     following:




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                        i.   the refusal, failure or inability of any Insured(s) to pay
                             wages or overtime pay (or amounts representing such
                             wages or overtime pay) for services rendered or time
                             spent in connection with work related activities (as
                             opposed to tort-based back pay or front pay damages
                             for torts other than conversion);

                        ii. improper deductions from pay taken by any Insured(s)
                            from any Employee(s) or purported Employee(s); or

                        iii. failure to provide or enforce legally required meal or rest
                              break periods;

                     provided, however, this exclusion shall not apply to the extent
                     that a Claim is: for Retaliation;

               h)    alleging, arising out of, based upon or attributable to bodily
                     injury, sickness, disease, death or emotional distress of any
                     person, or damage to, loss of use of or destruction of any
                     tangible property; provided, however:

                        iv. this exclusion shall not apply to (i) Defense Costs
                             incurred in the defense of a Fiduciary Liability Claim; (ii)
                             mental anguish and emotional distress alleged in any
                             Employment Practices Claim; (iii) any Financial Claim; or
                             and

                        v. with respect to any Media Claim or Security/Privacy
                           Claim, “tangible property” shall not include electronic
                           data and “emotional distress” shall only be excluded if
                           arising out of bodily injury, sickness or disease.

               h)    Alleging, arising out of, based upon or attributable to medical
                     malpractice including, but not limited to, the rendering of or
                     failure to render medical professional services, treatment or
                     advise

               i)    which is brought by or on behalf of any Insured, whether
                     directly or derivatively; provided, however, that this exclusion
                     shall not apply to:

                        i.   any Claim brought by or on behalf of an Insured Person
                             where such Claim is in the form of a cross-claim or
                             third-party claim for contribution or indemnity;




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                        ii. any Claim, if such Claim is instigated and continued
                            independent of, and Mthout the solicitation of, or
                            voluntary assistance of, or voluntary participation of, or
                            intervention of any Executive;

                        iii. any Claim brought by or on behalf of any examiner,
                             trustee, creditors’ committee (whether on behalf of the
                              estate, a bankruptcy trustee, or derivatively on behalf
                              of the debtor in possession), receiver, liquidator,
                             conservator, administrator or rehabilitator for any
                             assignee thereof) of any Organization;

                        iv. any Claim brought by any past Executive of an
                            Organization who has not served as a duly elected or
                            appointed director, officer, trustee, managing director or
                            regent to an Organization, for at least two (2) years
                            prior to such Claim being first made against any person;

                        v. any Claim brought by an Executive of an Organization
                           formed and operating in a Foreign Jurisdiction against
                           such Organization or any other Executive thereof,
                           provided that such Claim is brought and maintained
                           outside the United States, Canada and any other
                           common law country (including any territories thereof);

                        vi. an Employment Practices Claim;

                        vii.any Employee or Executive, but only to the extent such
                             Employee or Executive is alleging a Privacy Event or a
                             failure to disclose a Security Failure or Privacy Event in
                             violation of a Security Breach Law;

                        viii.any Claim brought or maintained by or on behalf an
                             Executive of an Organization where such Executive is or
                             was compelled by statute, rule, regulation or court
                             order to bring such Claim, whether or not falling within
                             protected “whistleblower” activity;

                        ix. any Fiduciary Liability Claim;




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                        x. to any Claim by an Insured while engaging or who has
                           engaged in any protected activity specified in 18 U.s.c.
                            1514A(a), “whistleblower” protection pursuant to the
                           Sarbanes-Oxley Act of 2002, Section 21F of the
                           Securities Exchange Act of 1934 (15 U.S.C. 78), the
                            False claims Act (31 U.S.C. § 3729-3733), the
                            Dodd-Frank Wall      Street Reform and Consumer
                            Protection Act, or any protected activity specified in
                           any other “whistleblower’ protection provision of an
                           applicable federal, state, local or foreign law;

                        xi. to any Claim brought against an Independent Director or
                             against an Investment Fund so long as at least one
                             Independent Director remains a co-defendant in such
                             Claim;

                        xii.to any Claim brought by an Investment Fund where
                             failure to bring or maintain such Claim would be a
                             breach of fiduciary duty owed by any Insured to such
                             Investment Fund or investors in such Investment Fund.


               j)    for any Wrongful Act arising out of an Insured Person serving
                     in a capacity as an Outside Entity Executive of an Outside
                     Entity if such Claim is brought by the Outside Entity; provided,
                     however, this exclusion tk) shall not apply:

                        i.   to the extent such Claim is instigated and continued
                             independent of, and without the solicitation of, or
                             voluntary assistance of, or voluntary participation of, or
                             intervention of any Executive of an Organization;

                        ii. any Claim brought by or on behalf of any examiner,
                            trustee, creditors’ committee (whether on behalf of the
                            estate, a bankruptcy trustee, or derivatively on behalf
                            of the debtor in possession), receiver, liquidator,
                            conservator, administrator or rehabilitator (or any
                            assignee thereof) of such Outside Entity;

               k)    for the Insured’s performance of services as a broker or
                     placement agent, including but not limited to the performance
                     of services as a broker-dealer, a real estate agent or a real
                     estate broker for a fee provided, however this exclusion shall
                     not apply to any Financial Claim.




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               I)    for: (i) the actual, alleged or threatened discharge, dispersal,
                     release or escape of Pollutants; or (ii) any direction or request
                     to test for, monitor, clean up, remove, contain, treat, detoxify
                     or neutralize Pollutants; provided, however, that this exclusion
                     shall not apply to ti) Non-Indemnifiable Loss, other than
                     Non-Indemnifiable Loss constituting Cleanup Costs; (ii) any
                     Financial Claim; or (iii) any Employment Practices Claim.

               m)    arising out of, based upon or attributable to any actual or
                     alleged contractual liability of an Organization under any
                     express contract or agreement, including any liability for
                     liquidated damages, setoffs or amounts assumed in the form
                     of a hold harmless or indemnity agreement; provided, however,
                     that this exclusion does not apply to any:

                        i.   liability which would have attached in the absence of
                             such contract or agreement;

                        ii. obligation to prevent a Security Failure or a Privacy
                            Event or, with respect to a Privacy Event, the liability or
                            obligation under a confidentiality or non-disclosure
                            agreement;

                        iii. Employment Practices Claim;

                        iv. the performance of, or failure to perform, Investment
                             Advisory Services or

                        v. Non-Indemnifiable Loss of an Insured Person.
               n)    alleging, arising out of, based upon or attributable to any
                     obligation pursuant to any worker’s compensation, disability
                     benefits,    unemployment     compensation,      unemployment
                     insurance, retirement benefits, social security benefits or
                     similar law; provided, however, this exclusion shall only apply
                     to Employment Practices Claims; provided, further, that this
                     exclusion shall not apply to the extent that a Claim is for
                     Retaliation.

               o)    for the rendering or failing to render any professional service
                     other than a Professional Service.

               p)    alleging, arising out of, based upon, attributable to, or in any
                     way involving, directly or indirectly, the Hazardous Properties
                     of Nuclear Material, including but not limited to:




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                        i.   Nuclear Material located at any Nuclear Facility owned
                             by, or operated by or on behalf of, the Organization or
                             an affiliate of the Organization, or discharged or
                             dispersed therefrom; or

                        ii. Nuclear Material contained in spent fuel or waste which
                            was or is at any time possessed, handled, used,
                            processed, stored, transported or disposed of by or on
                            behalf of the Organization or an affiliate of the
                            Organization; or

                        iii. the furnishing by an Insured or the Organization of
                              services, materials, parts or equipment in connection
                              with the planning, construction, maintenance, operation
                              or use of any Nuclear Facility; or

                        iv. Claims for damage or other injury to the Organization or
                            its shareholders which allege, arise from, are based
                            upon, are attributed to or in any way involve, directly or
                            indirectly, the Hazardous Properties of Nuclear Material;
                            or

                        v. which is insured under a nuclear energy liability policy
                           issued by         Nuclear Energy Liability Insurance
                           Association,      Mutual   Atomic     Energy       Liability
                           underwriters, or Nuclear Insurance Association of
                           Canada, or would be insured under any such policy but
                           for its termination or exhaustion of its limit of liability;
                           or

                        vi. with respect to which: (a) any person or organization is
                            required to maintain financial protection pursuant to the
                            Atomic Energy Act of 1 954, or any law amendatory
                            thereof, or (b) the Insured is, or had this policy not been
                            issued would be, entitled to indemnity from the United
                            States of America, or any agency thereof, under any
                            agreement entered into by the United States of
                            America, or any agency thereof, with any person or
                            organization;

                     Provided, however, that            this   exclusion   will   not   apply
                     Non-Indemnifiable Loss

                     As used in this exclusion:




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                       Cleanup Costs’ means expenses (including but not limited to
                     legal and professional fees) incurred in testing for, monitoring,
                     cleaning up, removing, containing, treating, neutralizing,
                     detoxifying or assessing the effects of Pollutants, Hazardous
                     Properties and Waste.

                       Hazardous Properties” include radioactive, toxic or explosive
                     properties.

                           Nuclear facility” means:

                     (i)        any nuclear reactor;

                     (ii)       any equipment or device designed or used for

                                (a)      separating the isotopes of uranium or plutonium,

                                fb)      processing or utilizing spent fuel, or

                                (c)      handling, processing or packaging wastes;

                     (iii)      any equipment or device used for the processing,
                                fabricating or alloying of special nuclear material if at
                                any time the total amount of such material in the
                                custody of the Insured at the premises where such
                                equipment or device is located consists of or contains
                                more than 25 grams of plutonium or uranium 233 or
                                any combination thereof, or more than 250 grams of
                                uranium 235; and

                     (iv)       any structure, basin, excavation, premises or place
                                prepared or used for the storage or disposal of waste,
                                and includes the site on which any of the foregoing is
                                located, all operations conducted on such site and all
                                premises used for such operations.

                      Nuclear Material” means source             material, special nuclear
                     material or byproduct material.

                       Nuclear Reactor” means any apparatus designed or used to
                     sustain nuclear fission in a self-supporting chain reaction or to
                     contain a critical mass of fissionable material.




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                           Source Material,” Special Nuclear Material
                           °                      “                      and Byproduct
                                                                          ,“      “


                          Material” have the meanings given them in the Atomic Energy
                          Act of 1 954 or in any law amendatory thereof.

                            Spent Fuel” means any fuel element or fuel component, solid
                          or liquid, which has been used or exposed to radiation in a
                          nuclear reactor.

                            Waste” means any waste material (i) containing by product
                          material, and (ii) resulting from the operation by any person or
                          organization of any Nuclear Facility included within the
                          definition of nuclear facility under paragraph ti) or (ii) thereof.

                    q)    alleging, arising out of, based upon or attributable to the
                          ownership, management, maintenance, operation and/or
                          control by the Organization or any Outside Entity of any
                          captive insurance company, including but not limited to any
                          Claim alleging the insolvency or bankruptcy of an Organization
                          or any Outside Entity as a result of the ownership, operation,
                          management and control of any captive insurance company.

                          For the purposes of this exclusion, “captive insurance
                          company” shall not include: (i) Controlled Risk Insurance Co. of
                          Vermont, Inc.; or (ii) Controlled Risk Insurance Co., Ltd.
                          (Caymen Islands).

                    r)    alleging, arising out of, based upon or attributable to any
                          employee stock ownership plan as defined in ERISA, or any
                          other Plan under which investments are made primarily in
                          securities of an Organization.

For the purpose of determining the applicability of the foregoing Exclusions, other than
Exclusions (d), 9e), tk) and (l)the facts pertaining to and knowledge possessed by any
Insured shall not be imputed to any other Insured Person.

2.2   EXCLUSIONS APPLICABLE TO Fiduciary Liability ClaimS

The Insurer shall not be liable to make any payment for Loss in connection with any
Fiduciary Liability Claim made against an Insured:

                    a)    alleging, arising out of, based upon or attributable to any
                          Wrongful Act as respects the Plan taking place at any time
                          when the Organization did not sponsor such Plan.




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2.3   EXCLUSIONS APPLICABLE TO Professional Services ClaimS, Media              ClaimS or
      Security/Privacy ClaimS

            The Insurer shall not be liable to make any payment for Loss in connection
            with any Professional Services Claim (other than an Investment Advisory
            Services Claim), Media Claim or Security/Privacy Claim made against an
            Insured:

                  a)     alleging, arising out of, based upon or attributable to any
                         infringement of patent or misappropriation of trade secrets;
                         provided, however, this exclusion shall not apply to: an
                         otherwise covered Privacy Event alleging misappropriation of
                         trade secrets.

                  b)     alleging, arising out of, based upon or attributable to any:

                            i.   fire, smoke, explosion, lightning, wind, water, flood,
                                 earthquake, volcanic eruption, tidal wave, landslide,
                                 hail, act of God or any other physical event, however
                                 caused;

                            strikes or similar labor action, war, invasion, act of foreign
                            enemy, hostilities or warlike operations (whether declared
                            or not), civil war, mutiny, civil commotion assuming the
                            proportions of or amounting to a popular rising, military
                            rising, insurrection, rebellion, revolution, military or usurped
                            power, or any action taken to hinder or defend against
                            these actions;

                            ii. electrical or mechanical failures of infrastructure not
                                under the control of an Insured, including any electrical
                                power interruption, surge, brownout or blackout;
                                provided, however, this Sub-paragraph (iii) shall not
                                apply to a Security Failure or a Privacy Event that is
                                caused by such electrical or mechanical failure;

                            iii. failure of telephone lines, data transmission lines or
                                  other telecommunications or networking infrastructure
                                  not under the control of an Insured; provided, however,
                                  this Sub-paragraph (iv) shall not apply to a Security
                                  Failure or a Privacy Event that is caused by such failure
                                  of telephone lines, data transmission lines or other
                                  infrastructure comprising or supporting the Internet; or




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                                 iv. satellite failure.

                   C)      alleging, arising out of, based upon or attributable to any:



                                     violation of the Organized Crime Control Act of 1 970
                                     (commonly known as Racketeer Influenced And Corrupt
                                     Organizations Act, or “RICO”), as amended, or any
                                     regulation promulgated thereunder or any federal, state
                                     or local law similar to the foregoing, whether such law
                                     is statutory, regulatory or common law; or

                           ii.       violation of the Telephone Consumer Protection Act of
                                     1991, as amended.

                   d)      alleging, arising out of, based upon or attributable to any unfair
                           or deceptive business practices, including, without limitation,
                           violations of any local, state or federal consumer protection
                           laws; provided, however, this exclusion shall not apply to: (i)
                           Claims in connection with the providing of Educational
                           Services or the collection of Material;

                   U)      brought by or on behalf of any business entity not an Insured
                           that is controlled, managed or operated, directly or indirectly,
                           by an Insured Person

                   e)      commenced as a criminal proceeding, whether initiated by the
                           return of an indictment, tiling of information or otherwise.

                   f)      alleging, arising out of, based upon or attributable to any
                           Wrongful Act occurring prior to the Continuity Date or any
                           Related Wrongful Act thereto, regardless of when such
                           Related Wrongful Act occurs.

         for (1) the theft of money or securities from an Insured; or (2) the

            transfer or loss of money or securities from or to an Insured’s accounts or
            accounts under an Insured’s control, including customer accounts, For
            purposes of this Sub-paragraph (e), the term “accounts” shall include, but
            are not limited to, deposit, credit, debit, prepaid and securities brokerage
            accounts.




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                           alleging, arising out of, based upon or attributable to any
                           Insured’s rendering of or failure to render services as an
                           architect or engineer.

                    g)     alleging, arising out of, based upon or attributable to any
                           Insured Person notarizing, certifying or acknowledging any
                           signature not signed in the presences of such Insured Person
                           at the time       of   such   notarization,  certification or
                           acknowledgment.

2.4   EXCLUSIONS APPLICABLE TO Media ClaimS

The Insurer shall not be liable to make any payment for Loss in connection with any Media
Claim made against an Insured:

                    a)     alleging, arising out of, based upon or attributable to (1) false
                           advertising or misrepresentation in advertising of an Insured’s
                           products or services, (2) any failure of goods, products or
                           services to conform with an advertised quality or performance,
                           or (3) any infringement of trademark or trade dress by any
                           goods, products or services displayed or contained in any
                           Material.

                    b)     brought by or on behalf of: (i) ASCAP, SESAC, BMI, RIAA or
                           other music licensing organizations; (ii) the Federal Trade
                           Commission; (iii) the Department of Health and Human
                           Services or Office of Civil Rights;        (iv)   the Federal
                           Communications Commission; or (v) any other federal, state,
                           local or foreign government, agency or office; provided,
                           however, solely with respect to unfair competition, and
                           notwithstanding this Paragraph shall not apply to any Defense
                           Costs arising out of a covered Regulatory Action.

                    c)     brought by or on behalf of any independent contractor,
                           third-party distributor, licensee, sub-licensee, joint venturer,
                           venture partner, any employee of the foregoing, or any
                           Employee or agent of an Insured alleging, arising out of, based
                           upon or attributable to disputes over the (i) ownership or
                           exercise of rights in Material; or (ii) services supplied by such
                           independent contractor, third-party distributor, licensee,
                           sub-licensee, joint venturer, venture partner or employee or
                           agent




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                    alleging, arising out of, based upon or attributable to any:

                              i.   accounting or recovery of profits, royalties, fees or
                                   other monies claimed to be due from an Insured, or any
                                   Claim brought by any such party against an Insured
                                   claiming excessive or unwarranted fees, compensation
                                   or charges of any kind made by an Insured; or

                              ii. licensing fees or royalties ordered, directed or agreed to
                                   be paid by an Insured pursuant to a judgment,
                                   arbitration award, settlement agreement or similar order
                                   or agreement, for the continued use of a person or
                                   entity’s copyright, title, slogan, trademark, trade name,
                                  trade dress, service mark, service name, or other
                                   intellectual property right.

2.5    EXCLUSIONS APPLICABLE TO Investment Advisory Services ClaimS

The Insurer shall not be liable to make any payment for Loss in connection vvith any
Investment Advisory Services Claim made against an Insured:

                   a)     arising out of the actual or alleged rendering or failing to tender
                          advice or other services to customers or clients (other than an
                          Outside Entity or an Organization) of any Insured in connection
                          with any merger, acquisition, restructuring or divestiture;
                          provided, however, this exclusion shall not apply to coverage
                          for an Insureds activities of managing investment portfolios or
                          investment assets, or giving of financial advice or investment
                          management services relating to or in connection with
                          mergers, acquisitions, restructurings, divestitures or other
                          purchase or sale transactions, as long as such Insured is not
                          providing such services to or on behalf of any entity involved in
                          such merger, acquisition, restructuring, divestiture or other
                          purchase or sale transactions for a fee specific to such
                          transaction;

                   b)     alleging, arising out of, based upon or attributable to any
                          Insured’s activities as an underwriter, broker or dealer as those
                          terms are defined respectively in Section 2(11) of the
                          Securities Act of 1 933 (as amended) and Sections 3(a) 4 and
                          3(a)5 of the Securities Act of 1 934 (as amended); provided,
                          however, this exclusion shall not apply to coverage for any
                          Insured’s activities syndicating shares, debt or other interests
                          in any Outside Entity.




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3.   NOTICE

     Notice hereunder shall be given in writing to the addressee by email at the following
     email address: c-claim@aig.com or by postal mail at the address identified in Item
     6(b) of the Declarations. Notice shall include and reference this policy number as
     indicated in the Declarations. If mailed, the date of mailing shall constitute the date
     that such notice was given and proof of mailing shall be sufficient proof of notice.
     If emailed, such email must reference the policy number for this policy. II emailed,
     the date of emailing shall constitute the date of notice and proof of emailing shall be
     sufficient proof of notice.

     a) The Insureds shall, as a condition precedent to the obligations of the Insurer
        under this policy, give written notice to the Insurer of any Claim made against
        an Insured, a Crisis Management Event or Privacy Event or Security Failure or
        Security Threat as soon as practicable after: (i) the Named Entity’s Risk
        Manager or General Counsel (or equivalent position) first receives notice of the
        Claim; (ii) the Crisis Management Event commences, or (iii) solely for the
        purposes of the Event Management Insuring Agreement and Cyber Extortion
        Insuring Agreement, the Privacy Event, Security Failure or Security Threat
        commences.

         Notwithstanding the foregoing, the Insured shall not be required to give written
         notice of a Claim until the earliest occurrence of the following:

         (i)    the Claim is or is sought to be certified as a class action; or

         (ii) total Loss (including Defense Costs) of the Claim is reasonably estimated by
               the Organization’s General Counsel or Risk Manager (or equivalent position)
               to exceed 50% of the applicable retention amount for such Claim;

         provided, however, that in all events, all Claims, including Claims described in (i)
         - (ii) above, must be reported to the Insurer no later than ninety (90) days after
         the end of the Policy Period or the Discovery Period (if applicable).

         Notwithstanding the foregoing, the Named Entity may provide to the Insurer on
         a semi-annual basis (commencing on the effective date of the policy) a
         bordereau of Claims (other than Claims described in (i) through (iii) above), first
         made against the Insureds during the Policy Period.           Such Claims shall be
         subject to all of the terms and conditions of this policy, including, but not limited
         to, this Clause 3. The bordereau shall include:




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         (i)    the date of the Claim;

         (ii)   the date of the acts alleged to have given rise to the Claim;

         (iii) the name of the parties and the forum of the Claim;

         (iv) the name of the counsel selected to defend the Claim;

         (v)    the amount of Defense Costs incurred in the defense of the Claim;

         (vi) a brief description of the allegations contained in the Claims;

         (vii) the current status of the Claim; and

         (viii) details of any offer of settlement.

    b) If written notice of a Claim has been given to the Insurer pursuant to Clause 3(a)
       above, then any subsequent Claim made against an Insured alleging, arising out
       of, based upon or attributable to the facts giving rise to such Claim for which
       such notice has been given, or alleging any Wrongful Act which is the same as
       or is a Related Wrongful Act thereto, shall be considered made at the time such
       notice was given.

    c) If during the Policy Period or during the Discovery Period (if applicable) the
       Insureds shall become aware of any circumstances which may reasonably be
       expected to give rise to a Claim being made against the Insureds and the
       Insureds give written notice to the Insurer of the circumstances, the Wrongful
       Act allegations anticipated and the reasons for anticipating such a Claim, with
       full particulars as to dates, persons and entities involved, then any Claim which
       is subsequently made against the Insureds and reported to the Insurer alleging,
       arising out of, based upon or attributable to such circumstances or alleging any
       Wrongful Act which is the same as or is a Related Wrongful Act to that alleged
       or contained in such circumstances, shall be considered made at the time such
       notice of such circumstances was given. This paragraph does not apply to the
       Event Management Insuring Agreement.

    U) Solely with respect to the Event Management Insuring Agreement, before
       coverage will apply for any Event-Related Loss, an Organization must:

         (i)          complete and sign a written, detailed and affirmed proof of loss
                      within 90 days after the discovery of any Event-Related Loss (unless
                      such period has been extended by the Insurer in writing) which shall
                      include, among any other pertinent information:




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                    (A)    a full description of such Event-Related Loss and the
                           circumstances surrounding such Event-Related Loss, which
                           shall include, among any other necessary information, the
                           time, place and cause of the Event-Related Loss;

                    (B)    a detailed calculation of any Event-Related Loss; and

                    (C)    all underlying documents and materials that reasonably relate
                           to or form any part of the proof of such Event-Related Loss.

         (ii)    upon the Insurers request, submit to an examination under oath.

         (iii)      immediately record the specifics of any Event-Related Loss, Security
                    Failure or Privacy Event and the date such Insured first became aware
                    of such Event-Related Loss, Security Failure or Privacy Event.

         (iv)       provide the Insurer with any cooperation and assistance that the
                    Insurer may request, including assisting the Insurer in:

                    (A)    any investigation of a Security Failure,          Privacy   Event,
                           Event-Related Loss or circumstance;

                    (B)    enforcing any legal rights an Insured or the Insurer may have
                           against anyone who may be liable to an Insured; and

                    (C)    executing any documents that the Insurer deems necessary to
                           secure its tights under this policy.

         If written notice of a Privacy Event or Security Failure has been given to the
         Insurer pursuant to this Clause, then any subsequent Privacy Event or Security
         Failure alleging, arising out of, based upon or attributable to the facts giving rise
         to such Claim or Privacy Event or Security Failure for which such notice has
         been given, shall be considered made at the time such notice was given.
4.   RETENTION

     For each Claim, Security Failure, Privacy Event or Security Threat, the Insurer shall
     only be liable for the amount of Loss arising from such Claim, Security Failure or
     Privacy Event which is in excess of the retention amount stated in Item 5 of the
     Declarations, such Retention amount to be borne by the Organization and/or the
     Insureds (provided, however, that the insurer shall recognize payment by another
     insurer on behalf of the Insureds, including without limitation personal
     liability/personal umbrella excess or non-indemnifiable difference in conditions
     insurance, to erode the retention), with regard to all: (i) Indemnifiable Loss; and (ii)
     Loss of the Organization. A single retention amount shall apply to Loss arising from
     all Claims alleging the same Wrongful Act or Related Wrongful Act(s).




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      It is further understood and agreed that in the event the Organization fails or refuses
      to advance, pay or indemnify covered Loss of an Insured Person within the
      applicable Retention, if any, then the Insurer shall advance such amounts on behalf
      of the Insured Person until either (I) an Organization has agreed to make such
      payments, or (ii) the Retention has been satisfied; provided, however, that the
      Insurer shall be entitled to recover the amount of Loss advanced within the
      Retention from the Organization pursuant to Clause 7 SUBROGATION of the
      General Terms and Conditions. In no event shall any such advancement by the
      Insurer relieve any Organization of any duty it may have to provide advancement,
      payment or indemnification to any Insured Person. A single retention amount shall
      apply to Loss arising from Claims alleging Related Wrongful Acts.

      Advancement, payment or indemnification of an Insured Person by an Organization
      is deemed “failed” if it has been requested by an Insured Person in writing and has
      not been provided by, agreed to be provided by or acknowledged as an obligation by
      an Organization within 60 days of such request; and advancement, payment or
      indemnification by an Organization is deemed “refused” if an Organization gives a
      written notice of the refusal to the Insured Person. Advancement, payment or
      indemnification of an Insured Person by an Organization shall only be deemed
      “failed” or “refused” to the extent such advancement, payment or indemnification
      is not provided, or agreed to be provided, or acknowledged by and collectible from
      an Organization. Any payment or advancement by the Insurer within an applicable
      Retention shall apply towards the exhaustion of the Limits of Liability.

      No retention amount is         applicable to: (i) Crisis Management Loss; (ii)
      Non-Indemnifiable Loss; (iii) Voluntary Compliance Loss; (iv) Loss from a Claim
      alleging a violation of any Specified Regulatory Legislation; (v) HIPAA Penalties; (vi)
      the initial $25,000 of E-Discovery Loss incurred in connection with a Claim.



5.    DEFENSE PROVISIONS;   DEFENSE COSTS, SETTLEMENTS,                      JUDGMENTS
      (INCLUDING THE ADVANCEMENT OF DEFENSE COSTS)

      The Insurer does not assume any duty to defend. The Insureds shall defend and
      contest any Claim made against them. Regardless, the Insurer shall advance
      Defense Costs of such Claim, excess of the applicable retention amount, no later
      than 90 days after the receipt by the Insurer of itemized bills for such Defense
      Costs in excess of the applicable retention. Such advanced payments by the Insurer
      shall be repaid to the Insurer by Insured or Organization, severally according to their
      respective interests, in the event and to the extent that such Insured or
      Organization shall not be entitled under the terms and conditions of this policy to
      payment of such Loss.

      Selection of counsel to defend Claim shall be made in accordance with Clause 7 of
      this Coverage Part A.




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     The Insureds shall not admit or assume any liability, enter into any settlement
     agreement, stipulate to any judgment, or incur any Defense Costs where any such
     amount(s) exceed 50% of the applicable Retention Amount without the prior
     written consent of the Insurer. Only those settlements, stipulated judgments and
     Defense Costs which have been consented to by the Insurer, in writing, shall be
     recoverable as Loss under the terms of this policy. The Insurers consent shall not
     be unreasonably withheld, provided that the Insurer, when it has not assumed the
     defense of a Claim pursuant to this Clause 56., shall be entitled to fully and
     effectively associate in the defense and negotiation of any settlement of any Claim,
     and provided further that in all events the Insurer may withhold consent to any
     settlement, stipulated judgment or Defense Costs, or any portion thereof, to the
     extent such Loss is not covered under the terms of this policy.

     The Insurer shall have the right to effectively associate with the Organization in the
     defense of any Claim that appears reasonably likely to involve the Insurer, including,
     but not limited to, participating in negotiating a settlement. The Organization and
     the Insureds shall give the Insurer such cooperation and information as the Insurer
     may reasonably require.

     This Clause 5 shall not be applicable to Crisis Management Loss.
6.   ALLOCATION OF DEFENSE COSTS

     If a Claim made against an Insured includes both covered and uncovered matters or
     if a Claim is made against an Insured and others who are not Insureds, the Insureds
     and the Insurer agree to exert their best efforts to agree upon a fair and proper
     allocation between insured Loss and uninsured loss.

7.   PRE-AUTHORIZED DEFENSE ATTORNEYS PANEL COUNSEL CLAIMS

     This Clause 7 applies to any Panel Counsel Claim.

     Affixed as Appendix A hereto and made a part of this policy is a list of Panel
     Counsel law firms (“ Panel Counsel Firms”) from which a selection of legal counsel
     shall be made to conduct the defense of any Panel Counsel Claim against an
     Insured pursuant to the terms set forth in this Clause.

     The selection of the Panel Counsel Firm shall be from either: (1) the list of Panel
     Counsel Firms designated for the type of Panel Counsel Claim and be from the
     jurisdiction in which the Panel Counsel Claim is brought; or (2) the list of
     pre-approved counsel on any endorsement to this Policy.

     In the event Insureds   elect to choose from Panel Counsel Firms and a Panel Counsel
     Claim is brought in a   jurisdiction not included on the appropriate list, the selection
     shall be made from a     listed jurisdiction which is the nearest geographic jurisdiction
     to either where the     Panel Counsel Claim is maintained or where the corporate
     headquarters or state   of formation of the Named Entity is located.




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      In such instance, however, the Insurer shall, at the written request of the Named
      Entity, assign a non-Panel Counsel Firm of the Insurer’s choice in the jurisdiction in
      which the Panel Counsel Claim is brought to function as “local counsel” on the
      Panel Counsel Claim to assist the Panel Counsel Firm which will function as “lead
      counsel” in conducting the defense of the Panel Counsel Claim.

      With the express prior written consent of the Insurer, an Insured may select (in the
      case of the Insured defending the Panel Counsel Claim), or cause the Insurer to
      select (in the case of the Insurer defending the Panel Counsel Claim), a Panel
      Counsel Firm different from that selected by other Insured defendants if such
      selection is required due to an actual conflict of interest or is otherwise reasonably
      justifiable.

      As used in this Clause 7, the term    “   Panel Counsel Claim” means:

      (1) any Claim under the D&O Coverage Section, Media Content Coverage Section,
          Security And Privacy Coverage Section or SPL Coverage Section;

      (2) any Employment Practices Claim: (i) alleging discrimination or Retaliation; or (ii)
          that is certified as, or which is seeking certification as, a class action; and

      (3) any Fiduciary Liability Claim: (i) brought by a government entity; (ii) which
          includes a request by the Insured for coverage of a Voluntary Compliance Loss;
          or (iii) that is certified as, or which is seeking certification as, a class action.

8.    EPL SETTLEMENT CLAUSE

      The following paragraph applies only to Employment Practices Claims.

      In the event the Insureds do not consent to the first Insurer recommended
      settlement that is within the Limit of Liability and that is acceptable to the claimant
      (“ Settlement Opportunity”) within thirty (30) days of the date the Insureds are first
      made aware of the Settlement Opportunity (or in the case of a Settlement
      Opportunity which arises from a settlement offer by the claiming, then within the
      time permitted by the claiming to accept such offer, but in all event no later than
      thirty (30) days after the settlement offer was made), then, subject to the Limit of
      Liability, the Insurer’s liability for all Loss on account of such Claim shall not
      exceed:




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           (1) the amount for which the Insurer cold have settled such Claim plus Defense
                Costs incurred as of the date such settlement was proposed in writing by the
                Insurer (“ Settlement Opportunity Amount”), plus (2) eighty percent (80%) of
                covered Loss in excess of such Settlement Opportunity Amount, it being a
                condition of this insurance that the remaining twenty percent (20%) of such
                Loss excess of the Settlement Opportunity Amount shall be carried by the
                Organization and the Insureds at their own risk and be uninsured.
                Notwithstanding the foregoing, this paragraph shall not apply until the
                Settlement Opportunity Amount exceeds the applicable retention amount
                stated in Item 5 of the Declarations.


EDUCATIONAL INSTITUTION RISK PROTECTOR
PRESIDENT AND FELLOWS OF HARVARD COLLEGE MANUSCRIPT
Liability and Occurrence-Related Insurance Policy

Coverage Part B: Commercial Crime Coverage Part

Note: The provisions of the General Terms and Conditions do not apply to this Crime
Coverage Part.

In consideration of the payment of the premium, and in reliance upon the statements made
to the Insurer by application, including its attachments and the material incorporated
therein, solely with respect to this Crime Coverage Part, the Insurer agrees as follows:

1. INSURING A GREEMENTS
   Coverage is provided under the following Insuring Agreements applies to loss that the
   Insured sustains resulting directly from an Occurrence taking place during the Policy
   Period shown in the Declarations, except as provided in Condition 6(a)(xv) or 6(a)(xvi),
   which is Discovered by the Insured during the Policy Period shown in the Declarations
   or during the period of time provided in Condition 6(a)(x):

   A. EMPL 0 YEE THEFT
        The Insurer will pay for loss of or damage to Money, Securities and Other Property
        resulting directly from Theft committed by an Employee, whether identified or not,
        acting alone or in collusion with other persons.

   B.      FORGERY OR ALTERATION

        (1) The Insurer will pay for loss resulting directly from Forgery or alteration of
            checks, drafts, promissory notes, or similar written promises, orders to pay a
            sum certain in Money that are:




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                (A)          made or drawn by or drawn upon the Insured;

                (B)          made or drawn by one acting as the Insured’s agent; or

                       (C)      that are purported to have been so made or drawn.

                For the purposes of this Insuring Agreement, a substitute check as defined in
                the Check Clearing for the 21st Century Act shall be treated the same as the
                original it replaced.

             (2) If the Insured is sued for refusing to pay any instrument covered in Insuring
                 Agreement 1 .B.(J) above, on the basis that it has been forged or altered, and
                 the Insured has the Insurer’s written consent to defend against the suit, the
                 Insurer will pay for any reasonable legal expenses that the Insured incurs and
                 pays in that defense. The amount that the Insurer will pay is in addition to
                 the Limit of Liability applicable to this Insuring Agreement.

  C.         INSIDE THE PREMISES           -   THEFT OF MONEY AND SECURITIES

         (1) The Insurer will pay for loss of Money or Securities inside the Premises or
              Banking Premises:

                 (A)         resulting directly from Theft committed by a person present inside
                             such Premises or Banking Premises; or

                 (B)         resulting directly from disappearance or destruction.

       (2)      The Insurer will pay for loss from damage to the Premises or its exterior
                resulting directly from an actual or attempted Theft of Money and Securities,
                if the Insured is the owner of the Premises or is liable for damage to it.

       (3)      The Insurer will pay for loss of or damage to a locked safe, vault, cash
                register, cash box or cash drawer located inside the Premises resulting
                directly from an actual or attempted Theft of or unlawful entry into those
                containers.

  D. INSIDE THE PREMISES             -   ROBBERY OR SAFE BURGLARY OF OTHER PROPERTY

       (1)      The Insurer will pay for loss of or damage to Other Property:

                (A)          inside the Premises resulting directly from an actual or attempted
                             Robbery of a Custodian; or

                (B)          inside the Premises in a safe or vault resulting directly from an actual
                             or attempted Safe Burglary.

       (2)      The Insurer will pay for loss from damage to the Premises or its exterior
                resulting directly from an actual or attempted Robbery or Safe Burglary of
                Other Property, if the Insured is the owner of the Premises or is liable for
                damage to it.




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        (3)     The Insurer will pay for loss of or damage to a locked safe or vault located
                inside the Premises resulting directly from an actual or attempted Robbery or
                Safe Burglary.

   E.         OUTSIDE THE PREMISES

        (1)     The Insurer will pay for loss of Money and Securities outside the Premises in
                the care and custody of a Messenger or an armored motor vehicle company
                resulting directly from Theft, disappearance or destruction.

        (2)     The Insurer will pay for loss of or damage to Other Property outside the
                Premises in the care and custody of a Messenger or an armored motor
                vehicle company resulting directly from an actual or attempted Robbery.

   F.         COMPUTER FRAUD

        The Insurer will pay for loss of or damage to Money, Securities or Other Property
        resulting directly from the use of any computer to fraudulently cause a transfer of
        that property from inside the Premises or Banking Premises:

        (1) to a person (other than a Messenger) outside those Premises; or

        (2) to a place outside those Premises.

   G.         FUNDS TRANSFER FRAUD

        The Insurer will pay for loss of Funds resulting directly from a Fraudulent Instruction
        directing a financial institution to transfer, pay or deliver Funds from the Insured’s
        Transfer Account.

   H.         MONEY ORDERS AND COUNTERFEIT PAPER CURRENCY

        The Insurer will pay for loss resulting directly from the Insured’s having accepted in
        good faith, in exchange for merchandise, Money or services:

        (1) money orders issued by any post office, express company or bank that are not
            paid upon presentation; or

        (2) Counterfeit Money of any country that is acquired during the regular course of
            business.

2. DEFINITIONS

  a) “Banking Premises” means the interior of that portion of any building occupied by a
     banking institution or similar safe depository.

  b) “Counterfeit Money” means an imitation of Money that is intended to deceive and
     to be taken as genuine.




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  ci “Custodian” means the Insured, or any of the Insured’s partners or Members, or any
     Employee while having care and custody of property inside the Premises, excluding
     any person while acting as a Watchperson or janitor.

  U) “Discover”, “Discovered” or “Discovery” means the time when the Insured first
     becomes aware of facts which would cause a reasonable person to assume that a
     loss of a type covered by this Crime Coverage Part has been or will be incurred,
     regardless of when the act or acts causing or contributing to such loss occurred,
     even though the exact amount or details of loss may not then be known.

      “Discover”, “Discovered” or “Discovery” also means the time when the Insured first
     receives notice of an actual or potential Claim in which it is alleged that the Insured
     is liable to a third party under circumstances which, if true, would constitute a loss
     under this Crime Coverage Part.

  e) “Employee” means:

     (i)     any natural person:

             (A)    while in the Insured’s service and for sixty (60) days after termination
                    of service, unless such termination is due to Theft or any dishonest
                    act committed by the Employee;

             (B)   who the Insured         compensates        directly   by   salary,   wages   or
                   commissions; and

             (C)    who the Insured has the right to direct and control while performing
                    services for the Insured;

     (ii)    any natural person who is furnished temporarily to the Insured:

             (A)    to substitute for a permanent Employee, as defined in subparagraph
                    2(e)(i) above, who is on leave; or

             (B)    to meet seasonal or short-term work load conditions;

             while that person is subject to the Insured’s direction and control and is
             performing services for the Insured, excluding, however, any such person
             while having care and custody of property outside the Premises;

     (iii)   any natural person who is leased to the Insured under a written agreement
             between the Insured and a labor leasing firm, to perform duties related to the
             conduct of the Insured’s business, but does not mean a temporary Employee
             as defined in subparagraph 2(e)(2) above;

     (iv)    any natural person who is:




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                (A)    a trustee, officer, employee, administrator or manager, except an
                       administrator or manager who is an independent contractor, of any
                       Employee Benefit Plan; and

                (B)    the Insured’s Manager while that person is handling Money and
                       Securities or Other Property of any Employee Benefit Plan.

       (v)       any natural person who is a former Employee, partner, Member, Manager,
                 director, trustee, trustee emeritus or executive director of the Organization
                 retained as a consultant while performing services for the Insured;

       (vi)      any natural person who is a guest student or intern pursuing studies or
                 duties;

       (vii)    any Employee of an entity merged or consolidated wth the Insured prior to
                the effective date of this Crime Coverage Part;

       (viii)   any of the Insured’s Managers, directors, trustees, trustee        emeritus or
                executive directors of or non-compensated officers while:

                (a)   (A)   performing acts within the scope of the usual duties of an
                      Employee; or

                (B)    acting as a member of any committee duly elected or appointed by
                       resolution of the Insured’s board of directors or board of trustees to
                       perform specific, as distinguished from general, directorial acts on the
                       Insured’s behalf; or

       (viii) any non-compensated natural person other than one who is a fund solicitor,
       while performing services for the Insured that are usual to the duties of an
       Employee.

       “Employee” does not mean any agent, broker, factor, commission merchant,
       consignee, independent contractor or representative of the same general character
       not specified in this Paragraph (e).

  f)   “Employee Benefit Plan” means any welfare or pension benefit plan that the Insured
       sponsors and that is subject to the Employee Retirement Income Security Act of
       1 974 (“ ERISA”) and any amendments thereto.

  g) “Forgery” means the signing of the name of another person or organization with
     intent to deceive; it does not mean a signature which consists in whole or in part of
     one’s own name signed with or without authority, in any capacity, for any purpose.

  h) “Fraudulent Instruction” means:




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       fi) an electronic, computer, telegraphic, cable, teletype, telefacsimile or telephone
           instruction which purports to have been transmitted by the Insured, but which
           was, in fact, fraudulently transmitted by someone else without the Insured’s
           knowledge or consent;

        (ii) a written instruction (other than those described in Insuring Agreement 1 .B.)
              issued by the Insured, which was forged or altered by someone other than the
              Insured without the Insureds knowledge or consent, or which purports to have
              been issued by the Insured, but was, in fact, fraudulently issued without the
              Insured’s knowledge or consent; or

        (iii)an electronic, computer, telegraphic, cable, teletype, telefacsimile, telephone or
             written instruction initially received by the Insured which purports to have been
             transmitted by an Employee but which was, in fact, fraudulently transmitted by
              someone else without the Insured’s or the Employee’s knowledge or consent.

  i)    “Funds” means Money and/or Securities in a Transfer Account.

 j)     “Insured” means the Organization.

  k) “Manager” means a person serving in a directorial capacity for a limited liability
     company.

  I)    “Member” means an owner of a limited liability company represented by its
        membership interest, who also may serve as a Manager.

  m) “Messenger” means the Insured, or a relative of the Insured, or any of the Insured’s
     partners or Members, or any Employee while having care and custody of property
     outside the Premises, or any other person duly authorized by the Insured to have
     custody of Money, Securities or Other Property outside the premises.

  n) “Money” means:

        (I) currency, coins and bank notes in current use and having a face value; or

        (ii)      travelers checks, register checks and money orders held for sale to the
                  public.

  o) “Occurrence” means:

        (i) as respects Insuring       Agreement 1 .A., “EMPLOYEE THEFT,”          of this Crime
            Coverage Part:

               (A)an individual act;

               (B) the combined total of all separate acts whether or not related; or

               (C)series of acts whether or not related;




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         committed by the same Employee acting alone or in collusion with other
         persons, during the Policy Period shown in the Declarations, except as provided
         under Condition 6(a)(xv) or 6fa)(xvi); or

     (ii) as respects Insuring Agreement 1 .B.,      “   FORGERY OR ALTERATION      ,“   of this
          Crime Coverage Part:

         (A)an individual act;

         (B)    the combined total of all separate acts whether or not related; or

         (C)a series of acts whether or not related;

         committed by the same person acting alone or in collusion with other persons,
         involving one or more instruments, during the Policy Period shown in the
         Declarations, except as provided under Condition 6(a)(xv) or 6(a)(xvi); or

     (iii) as respects all other Insuring Agreements of this Crime Coverage Part:

         (A)an individual act or event;

         (B) the combined total of all separate acts or events whether or not related; or

         (C)a series of acts or events whether or not related;

         committed by the same person acting alone or in collusion with other persons,
         or not committed by any person, during the Policy Period shown in the
         Declarations, except as provided under Condition 6(a)(xv) or 6(a)(xvi).

  p) “Other Property” means any tangible property other than Money and Securities that
     has intrinsic value. “Other Property” does not include intangible property, including,
     but not limited to, computer programs, electronic data or any other property
     excluded under this Crime Coverage Part.

  q) “Pollution” means the discharge, dispersal, seepage, migration, release or escape of
     any solid, liquid, gaseous, biological, radiological or thermal irritant or contaminant,
     including smoke, vapor, dust, fibers, soot, mold, spores, fungi, germs, fumes, acids,
     alkalis, chemicals and Waste. “Waste” includes, but is not limited to, materials to
     be recycled, reconditioned or reclaimed and nuclear materials.

  r) “Premises” means the interior of that portion of any building the Insured occupies in
     conducting the Insured’s business.

  s) “Robbery” means the unlawful taking of property from the care and custody of a
     person by one who has:




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     (i) caused or threatened to cause that person bodily harm; or

     (ii) committed an obviously unlawful act witnessed by that person.

  t) “Safe Burglary” means the unlawful taking of:

     ti) property from within a locked safe or vault by a person unlawfully entering the
         safe or vault as evidenced by marks of forcible entry upon its exterior; or

     (ii) a safe or vault from inside the Premises.

  u) “Securities” means negotiable and nonnegotiable          instruments   or   contracts
     representing either Money or property and includes:

     (i) chips issued by the Insured, tokens, tickets, revenue and other stamps (whether
         represented by actual stamps or unused value in a meter) in current use; and

     (ii) evidences of debt issued in connection with credit or charge cards, which cards
          are not issued by the Insured;

     but does not include Money.

  v) “Theft” means the unlawful taking of Money, Securities or Other Property to the
     deprivation of the Insured. Solely with respect to Insuring Agreement 1 .A., Theft
     shall also mean forgery.

  w) “Transfer Account” means an account maintained by the Insured at a financial
     institution from which the Insured can initiate the transfer, payment or delivery of
     Funds:

     (i) by means of electronic, computer, telegraphic, cable, teletype, telefacsimile or
         telephone instructions communicated directly through an electronic funds
         transfer system; or

     (ii) by means of written instructions (other than those described in Insuring
          Agreement 1 .B.) establishing the conditions under which such transfers are to
          be initiated by such financial institution through an electronic funds transfer
          system.

  x) “Watchperson” means any person the Insured retains specifically to have care and
     custody of property inside the Premises and who has no other duties.

3. EXCLUSIONS

  This Crime Coverage Part does not apply to:




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  a) Acts Committed By The Insured, The Insured’s partners Or The Insured’s Members

         Loss resulting from Theft or any other dishonest act committed by:

            (1) the Insured; or

            (ii) any of the Insured’s partners or Members;

         whether acting alone or in collusion with other persons.

  b) Acts Of Employees Learned Of By The Insured Prior To The Policy Period

         Loss caused by an Employee if the Employee had also committed Theft or any
         other dishonest act prior to the effective date of this Crime Coverage Part and
         the Insured or any of the Insured’s partners, Members, Managers, officers,
         directors, trustees, trustee emeritus or executive directors, not in collusion with
         the Employee, learned of that Theft or dishonest act prior to the Policy Period
         shown in the Declarations.

  c) Acts Of Employees, Managers, Directors, Trustees Or Representatives

         Loss resulting from Theft or any other dishonest act committed by any of the
         Insured’s Employees, Managers, directors, trustees, trustee emeritus, executive
         directors or authorized representatives:

         ti) whether acting alone or in collusion with other persons; or

         (ii) while performing services for the Insured or otherwise; except when covered
              under Insuring Agreement l.A. of this Crime Coverage Part.

  d) Confidential Information

         Loss resulting from:

     (i) the unauthorized disclosure of the Insured’s patents, trade secrets, processing
          methods or customer lists; or

     (ii) the unauthorized use or disclosure of confidential information of another person
           or entity which is held by the Insured including, but not limited to, financial
           information, personal information, credit card        information, identification
           information or similar non-public information.

  e) Governmental Action

         Loss resulting from seizure or destruction of property by order of governmental
         authority.




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  f) Indirect Loss

           Loss that is an indirect result of an Occurrence covered by this Crime Coverage
           Part including, but not limited to, loss resulting from:

        Ci) the lnsureds inability to realize income that the Insured would have realized had
           there been no loss of or damage to Money, Securities or Other Property;

        (ii) payment of damages of any type for which the Insured is legally liable; provided,
             however, the Insurer will pay compensatory damages arising directly from a loss
             covered under this Crime Coverage Part; or

        (iii)payment of costs, fees or other expenses the Insured incurs in establishing
             either the existence or the amount of loss under this Crime Coverage Part.

  g) Legal Fees, Costs And Expenses

           Fees, costs and expenses incurred by the Insured which are related to any legal
           action, except when covered under Insuring Agreement 1 .B.

  h) Nuclear Hazard

            Loss or damage resulting from nuclear reaction or radiation, or radioactive
            contamination, however caused.

  i)    Pollution

            Loss or damage caused by or resulting from Pollution.

  j) War and Military Action
            Loss or damage resulting from:

        (i) war, including undeclared or civil war;

        (ii) warlike action by a military force, including action in hindering or defending
             against an actual or expected attack, by any government, sovereign or other
             authority using military personnel or other agents; or

        Ciii)insurrection, rebellion, revolution, usurped power,      or action taken      by
            governmental authority in hindering or defending against any of these.




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  k) Automatic Teller Machines

         Loss of Money and Securities contained in any automatic teller machine (“
         ATM”) or while being transported to or from any ATM. Such loss is excluded
         regardless of the cause, event, act, omission or failure which contributes to the
         loss, including, but not limited to, (i) any dishonesty, theft, disappearance,
         destruction, forgery, alternation, robbery or computer fraud by any person
         (whether or not an Employee) acting alone or in collusion with other persons, or
         (ii) any actual or alleged failure, malfunction or inadequacy of the ATM.

         In all events, coverage under this Crime Coverage Part does not apply to the
         loss of or damage to any ATM.

  Insuring Agreement 1 .A., “EMPLOYEE THEFT,” of this Crime Coverage Part does not
  apply to:

  a) Inventory Shortages

     Loss, or that part of any loss, the proof of which as to its existence or amount is
     dependent upon:

     (i)an inventory computation; or

     (iDa profit and loss computation.

     However, where the Insured establishes wholly apart from such computations that
     the Insured has sustained a loss, then the Insured may offer the Insured’s inventory
     records and actual physical count of inventory in support of the amount of loss
     claimed.

  b) Trading

     Loss resulting directly or indirectly from trading, whether in the Insured’s name or in
     a genuine or fictitious account.

  c) Warehouse Receipts

     Loss resulting from fraudulent or dishonest signing, issuing, canceling or failing to
     cancel, a warehouse receipt or any papers connected with it.

  Insuring Agreements 1.C., “INSIDE THE PREMISES      THEFT OF MONEY AND
                                                             -




  SECURITIES,” 1 .D., “INSIDE THE PREMISES   ROBBERY OR SAFE BURGLARY OF
                                                    -




  OTHER PROPERTY,” and 1 .E., “OUTSIDE THE PREMISES,” of this Crime Coverage Part
  do not apply to:




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  a) Accounting Or Arithmetical Errors Or Omissions

     Loss resulting from accounting or arithmetical errors or omissions.

  b) Exchanges Or Purchases

     Loss resulting from the giving or surrendering of property in any exchange or
     purchase.

  c) Fire

     Loss resulting from fire, however caused, except:

     (i) loss from damage to a safe or vault; and

     (ii) loss of or damage to Money and Securities.

  d) Money Operated Devices

     Loss of property contained in any money operated device unless the amount of
     Money deposited in it is recorded by a continuous recording instrument in the
     device.

  e) Motor Vehicles Or Equipment And Accessories

     Loss of or damage to motor vehicles, trailers or semi-trailers or equipment and
     accessories attached to them.

  1) Transfer Or Surrender Of Property

     Loss of or damage to property after it has been transferred or surrendered to a
     person or place outside the Premises or Banking Premises:

     Ci)     on the basis of unauthorized instructions;

     (ii)    as a result of a threat to do bodily harm to any person;

     (iii)   as a result of a threat to do damage to any property;

     (iv)    as a result of a threat to introduce a denial of service attack into the
             Insured’s computer system;

     (v)     as a result of a threat to introduce a virus or other malicious instruction into
             the Insured’s computer system which is designed to damage, destroy or
             corrupt data or computer programs stored within the Insured’s computer
             system;




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      (vi)    as a result of a threat to contaminate, pollute or render substandard the
              Insured’s products or goods; or

      (vii)   as a result of a threat to disseminate, divulge or utilize:

              (A)     the Insured’s confidential information; or

              (B)   weaknesses in the          source code      within the   Insured’s computer
              system.

      Provided, however, this Exclusion does not apply under Insuring Agreement 1 .E. of
      this Crime Coverage Part to loss of Money, Securities or Other Property while
      outside the Premises in the care and custody of a Messenger if the Insured:

      fi)     had no knowledge of any threat at the time the conveyance began; or

      (ii)    had knowledge of a threat at the time the conveyance began, but the loss
              was not related to the threat.

   g) Vandalism

      Loss from damage to the Premises or its exterior, or to any safe, vault, cash
      register, cash box, cash drawer or Other Property by vandalism or malicious
      mischief.

   h) Voluntary Parting Of Title To Or Possession Of Property

      Loss resulting from the Insured, or anyone acting on the Insured’s express or
      implied authority, being induced by any dishonest act to voluntarily part with title to
      or possession of any property.

Insuring Agreement 1 .F., “COMPUTER FRAUD,” of this Crime Coverage Part does not
apply to:

   a) Credit Card Transactions

      Loss resulting from the use or purported use of credit, debit, charge, access,
      convenience, identification, stored-value or other cards or the information contained
      on such cards.

   b) Computer Losses Due To:

      (i) loss of computer time or use;

      (ii) unintentional errors or omissions; or

      (iii)   voluntary giving or surrendering of property in a purchase or exchange,
              whether legitimate or fraudulent.




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   c) Inventory Shortages

         Loss, or that part of any loss, the proof of which as to its existence or amount is
         dependent upon:

         (i)      an inventory computation; or

         (ii) a profit and loss computation.

   Insuring Agreement 1 .G., “FUNDS TRANSFER FRAUD,” of this Crime Coverage Part
   does not apply to:

   a)          Computer Fraud

         Loss resulting from the use of any computer to fraudulently cause a transfer of
         Other Property.

   b) Loss Due To:

         (i) unintentional errors or omissions; or

         (ii) voluntary giving or surrendering of property in a purchase or exchange, whether
              legitimate or fraudulent.

4. CRIME LIMIT OF LIABILITY

   The most the Insurer will pay for all loss resulting directly from all Occurrences
   combined under this policy is the Crime Limit of Liability shown in Item 4(b) of the
   Declarations (the “Crime Limit of Liability”). The Crime Limit of Liability applies to all
   Insuring Agreements under this Crime Coverage Part. The Crime Limit of Liability is in
   addition to and not a part of the Limit of Liability stated in Item 4(a) of the
   Declarations, which is applicable to the coverages provided under Coverage Part A. of
   this policy.

5. DEDUCTIBLE

  The Insurer will not pay for loss resulting directly from an Occurrence unless the amount
  of loss exceeds the Deductible Amount shown in Item 5. of the Declarations. The
  Insurer will then pay the amount of loss in excess of the Deductible Amount, up to the
  Crime Limit of Liability.




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6. CONDITIONS

  a) CONDITIONS APPLICABLE TO ALL INSURING                    AGREEMENTS OF THIS CRIME
     COVERAGE PART:

     (i)     ADDITIONAL PREMISES OR EMPLOYEES

     If, while this Crime Coverage Part is in force, the Insured establishes any additional
     Premises or hire additional Employees, other than through consolidation or merger
     with, or purchase or acquisition of assets or liabilities of, another entity, such
     Premises and Employees shall automatically be covered under this Crime Coverage
     Part. Notice to the Insurer of an increase in the number of Premises or Employees
     need not be given and no additional premium need be paid for the remainder of the
     Policy Period shown in the Declarations.

     (ii)    CANCELLATION OF COVERAGE SECTION

             (A)    The Named Entity shown in the Declarations may cancel this Crime
                    Coverage Part by mailing or delivering to the Insurer advance written
                    notice of cancellation.

             (B)    The Insurer may cancel this Crime Coverage Part for non-payment of
                    premium only by mailing or delivering to the Named Entity written
                    notice of cancellation at least twenty (20) days before the effective
                    date of cancellation.

             (C)    The Insurer will mail or deliver the Insurer’s notice to the Named
                    Entity’s last mailing address known to the Insurer.

             (D)    Notice of cancellation of this Crime Coverage Part will state the
                    effective date of cancellation. The Policy Period applicable to this
                    Crime Coverage Part will end on that date.

             (E)    If this Crime Coverage Part is cancelled, the Insurer will send the
                    Named Entity any premium refund due. If the Insurer cancels, the
                    refund will be pro rata. If the Named Entity cancels, the refund may
                    be less than pro rata. The cancellation will be effective even if the
                    Insurer has not made or offered a refund.

             (F)    If notice is mailed, proof of mailing will be sufficient proof of notice.

     (iii)   CHANGES

             This Crime Coverage Part contains all the agreements between the Insured
             and the Insurer concerning the insurance afforded. The Named Entity shown
             in the Declarations is authorized to make changes in the terms of this Crime
             Coverage Part with the Insurer’s consent. This Crime Coverage Part’s terms
             can be amended or waived only by endorsement issued by the Insurer and
             made a part of this Crime Coverage Part.




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    (iv)    CONCEALMENT, MISREPRESENTATION OR FRAUD

            This Crime Coverage Part is void in any case of fraud by the Insured as it
            relates to this policy at any time. This Crime Coverage Part is also void if the
            Named Entity or any other Insured, at any time, intentionally conceals or
            misrepresents a material fact concerning:

            (A)    this Crime Coverage Part;

            (B)    the property covered under this Crime Coverage Part;

            (C)    the Insured’s interest in the         property covered under this   Crime
                   Coverage Part; or

            (D)    a Claim under this Crime Coverage Part.

    (v)     CONSOLIDATION      -   MERGER OR ACQUISITION

            If the Insured consolidates or merges with, or purchases or acquires the
            assets or liabilities of, another entity:

            (b)   The Insured must give the Insurer written notice as soon as possible
                  and obtain the Insurer’s written consent to extend the coverage
                  provided by this Crime Coverage Part to such consolidated or merged
                  entity or such purchased or acquired assets or liabilities. If such
                  consolidation, merger or purchase or acquisition of assets or liabilities
                  increases the Insured’s total assets by more than twenty-five percent
                  (25%), the Insurer may condition the Insurer’s consent by requiring
                  payment of an additional premium; but for the first ninety (90) days
                  after the effective date of such consolidation, merger or purchase or
                  acquisition of assets or liabilities, the coverage provided by this Crime
                  Coverage Part shall apply to such consolidated or merged entity or
                  such purchased or acquired assets or liabilities, provided that all
                  Occurrences causing or contributing to a loss involving such
                  consolidation, merger or purchase or acquisition of assets or liabilities,
                  must take place after the effective date of such consolidation, merger
                  or purchase or acquisition of assets or liabilities.

    (vi)    COOPERATION

            The Insured must cooperate with the Insurer in all matters pertaining to this
            Crime Coverage Part as stated in its terms and conditions.

    (vii)   DUTIES IN THE EVENT OF LOSS

            (A)    After the Insured Discovers a loss or a situation that may result in
                   loss of or damage to Money, Securities or Other Property the Insured
                   must:




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              (1) Notify the Insurer as soon as possible, but no later than sixty (60)
                  days after Discovery of a loss or a situation that may result in loss of
                  or damages to Money, Securities or Other Property. If the Insured has
                  reason to believe that any loss (except for loss covered under
                  Insuring Agreement 1 .A. or 1 .B.) involves a violation of law, the
                  Insured must also notify the local law enforcement authorities.

              (2) Submit to examination under oath at the Insured’s request and give
                  the Insurer a signed statement of the Insured’s answers.

             (3)     Produce for the Insured’s examination all pertinent records.

             (4) Give the Insurer a detailed, sworn proof of loss within one hundred
                 and twenty (1 20) days of the discovery of a loss or a situation that
                 may result in loss of or damages to Money, Securities or Other
                 Property, provided, however, that such proof of loss shall not be
                 required solely in the event the Insured elects to have an independent
                 investigative specialist as listed in Appendix E (“Investigative
                 Specialist”) investigate the facts and determine the quantum of loss
                 pursuant to Condition 6(a)(vii)(2) and such report is issued pursuant
                 to the terms and conditions of that clause.

             (5) Cooperate with the Insurer in the investigation and settlement of any
                 Claim.

     B)   The Fidelity Research & Investigative Settlement Clause (FRISC)

          The Insured may, with respect to such loss or situation that may result in
          loss or damage to Money, Securities or Other Property, elect to have an
          independent Investigative Specialist investigate the facts and determine the
          quantum of loss. The Insured and the Insurer shall jointly task and budget
          the Investigative Specialist regarding the scope and cost of the investigation
          to be performed. The final report issued by the Investigative Specialist will
          be definitive as respects the facts and the quantum of loss and shall be
          provided to both the Insured and the Insurer. After a joint review of the
          investigative report, if the Insured and the Insurer cannot agree upon the
          settlement of loss, then the Insurer, at the Insured’s request, shall submit
          the dispute to arbitration, pursuant to the provisions of Clause 14. “DISPUTE
          RESOLUTION PROCESS” of the General Terms and Conditions. The Insured
          shall select an Investigative Specialist from the list of Investigative
          Specialists affixed as Appendix E and made part of this Crime Coverage Part
          located in the same jurisdiction in which the loss or situation that may result
          in loss or damage to Money, Securities or Other Property occurred.




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             In the event such loss or situation that may result in loss or damage to
             Money, Securities or Other Property occurred in a jurisdiction not included on
             the list, the Insured shall select an Investigative Specialist in the listed
             jurisdiction which is the nearest geographic jurisdiction to the jurisdiction in
             which the loss or situation occurred or where the corporate headquarters of
             the Insured is located. No changes shall be made during the Policy Period to
             the list of Investigative Specialists attached as Appendix E unless the
             amendments are at the Insured’s request.

             The Insured shall notify the Insurer in writing of the above election to have an
             independent Investigative Specialist investigate the facts and determine the
             quantum of loss within thirty (30) days from the date on which the Insured
             first notifies the Insurer pursuant to Condition 6(a)(vii)(1). Notwithstanding
             subparagraph (iii) of the Exclusion entitled “Indirect Loss”, all fees, costs and
             expenses of the investigation, including any fee charged by the Investigative
             Specialist, shall be paid as follows: fifty percent (50%) of such fees, costs
             and expenses shall be paid by the Insured and fifty percent (50%) shall be
             paid out of the Crime Limit of Liability. No Deductible Amount shall apply to
             the fees, costs and expenses of the independent investigation, including any
             fee charged by the Investigative Specialist.

             In addition, whether or not the Insured elects to have an independent
             Investigative Specialist (as defined in Section vii) investigate the facts and
             determine the quantum of loss pursuant to the above terms and conditions,
             upon the Insurer’s request, the Insured shall submit to examination by the
             Insurer, subscribe the same, under oath if required, give the Insurer a signed
             statement of the Insured’s answers, and produce for the Insurer’s
             examination all pertinent records, all at such reasonable times and places as
             the Insurer shall designate, and shall cooperate with the Insurer in all matters
             pertaining to loss or claims with respect thereto.

    (viii)   EMPLOYMENT BENEFIT PLAN

             (A)     The Employee Benefit Plans (hereafter referred to as “Plan”) are
                     included as Insureds under Insuring Agreement 1 .A.

             (B)     With respect to loss sustained or Discovered by any such Plan,
                     Insuring Agreement 1 .A. is replaced by the following:

                    The Insurer will pay for loss of or damage to Money, Securities and
                    Other Property resulting directly from fraudulent or dishonest acts
                    committed by an Employee, whether identified or not, acting alone or
                    in collusion with other persons.

             (C)     If the Named Entity is an entity other than a Plan, any payment the
                     Insurer makes for loss sustained by any Plan will be made to the Plan
                     sustaining the loss.

             (D)     If two or more Plans are insured under this Crime Coverage Part, any
                     payment the Insurer makes for loss:




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                    (1)     sustained by two or more Plans; or

                    (2)     of commingled Money, Securities or Other Property of two or
                            more Plans;

                 resulting directly from an Occurrence will be made to each Plan
                 sustaining loss by prorating the Crime Limit of Liability of all Plans based
                 upon the proportion that the amount of loss for each Plan bears to the
                 total amount of loss for all Plans sustaining loss.

           CE)      The Deductible Amount applicable to Insuring Agreement 1 .A. does
                    not apply to loss sustained by any Plan.

    (ix)   EXAMINATION OF THE INSURED’S BOOKS AND RECORDS

           The Insurer may examine and audit the Insured’s books and records as they
           relate to this Crime Coverage Part at any time during the Policy Period and
           up to three (3) years afterward.

    Cx)    EXTENDED PERIOD TO DISCOVER LOSS

           The Insurer will pay for loss that the Insured sustained prior to the effective
           date of cancellation of this Crime Coverage Part, which is Discovered by the
           Insured:

           (A)      No later than one year from the date of that cancellation. However,
                    this extended period to Discover loss terminates immediately upon
                    the effective date of any other insurance obtained by the Insured,
                    whether from the Insurer or another insurer, replacing in whole or in
                    part the coverage afforded under this Crime Coverage Part, whether
                    or not such other insurance provides coverage for loss sustained prior
                    to its effective date.

           (B)      No later than one (1) year from the date of that cancellation with
                    regard to any Employee Benefit Plan.

    (xi)   INSPECTION AND SURVEYS

           (A)      The Insurer has the right to:

                    fi)     make inspections and surveys at any time;

                    (ii)    give the Insured reports on the conditions the Insurer finds;
                            and

                    (iii)   recommend changes.




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            (B)    The Insurer is not obligated to make any inspections, surveys, reports
                   or recommendations and any such actions the Insurer does undertake
                   relate only to insurability and the premiums to be charged. The Insurer
                   does not make safety inspections. The Insurer does not undertake to
                   perform the duty of any person or organization to provide for the
                   health or safety of workers or the public. And the Insurer does not
                   warrant that conditions:

                   (i)    are safe or healthful; or

                   (ii)   comply with laws, regulations, codes or standards.

            (C)    Conditions 6(a)(xi)(J) and 6(a)(xi)(2) above apply not only to the
                   Insurer, but also to any rating, advisory, rate service or similar
                   organization which makes insurance inspections, surveys, reports or
                   recommendations.

    (xii)   JOINT INSURED

            (A)   If any additional Insured is added by Endorsement to this Crime
                   Coverage Part, the Named Entity set forth in the Declarations will act
                   for itself and for every other Insured for all purposes of this Crime
                   Coverage Part (hereinafter “first Named Entity”). If the first Named
                   Entity ceases to be covered, then the next Named Entity as set forth
                   in such Endorsement will become the first Named Entity.

            (B)   If any Insured, or partner, Member or officer of that Insured has
                  knowledge of any information relevant to this Crime Coverage Part,
                  that knowledge is considered knowledge of every Insured.

            (C)   An Employee of any Insured is considered to be an Employee of every
                  Insured.

            (D)   If this Crime Coverage Part or any of its coverages is cancelled as to
                   any Insured, loss sustained by that Insured is covered only if it is
                   Discovered by the Insured:

                   (i)    no later than sixty (60) days from the date of that
                          cancellation. However, this extended period to Discover loss
                          terminates immediately upon the effective date of any other
                          insurance obtained by that Insured, whether from the Insurer
                          or another insurer, replacing in whole or in part the coverage
                          afforded under this Crime Coverage Part, whether or not such
                          other insurance provides coverage for loss sustained prior to
                          its effective date;

                   (ii)   no later than one (1) year from the date of that cancellation
                          with regard to any Employee Benefit Plan.




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             (E)         The Insurer will not pay more for loss sustained by more than one
                         Insured than the amount the Insurer would pay if all such loss had
                         been sustained by one Insured.

             (F)         Payment by the Insurer to the first Named Entity for loss sustained by
                         any Insured, other than an Employee Benefit Plan, shall fully release
                         the Insurer on account of such loss.

    (xiii)   LEGAL ACTION AGAINST US

             The Insured may not bring any legal action against the Insurer involving loss:

             (A)         unless the Insured has complied with all the terms of this Crime
                         Coverage Part and policy;

             (B)         until ninety (90) days after the Insured has filed proof of loss with the
                         Insurer or 90 days after the Investigative Specialist has submitted the
                         report; and

             (C)         unless brought within two (2)        years from the date the     Insured
                         Discovered the loss.

    If any limitation in this Condition is prohibited by law, such limitation is amended so
    as to equal the minimum period of limitation provided by such law.

    (xiv)    LIBERALIZATION

    If the Insurer adopts any revision that would broaden the coverage under this Crime
    Coverage Part without additional premium within forty-five (45) days prior to or
    during the Policy Period shovvn in the Declarations, the broadened coverage will
    immediately apply to this Crime Coverage Part.

    (xv)     LOSS SUSTAINED DURING THE                   PRIOR INSURANCE      ISSUED BY      THE
             INSURER OR ANY AFFILIATE

    (A) Loss Sustained Partly During This Policy And Partly During Prior Insurance

                   If the Insured Discovers loss during the Policy Period shown in the
                   Declarations, resulting directly from an Occurrence taking place:

                   (1)      partly during the Policy Period shown in the Declarations; and

                   (2) partly during any Policy Period of any prior cancelled insurance that
                       the Insurer or any affiliate issued to the Insured or any predecessor in
                       interest;




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                and this Crime Coverage Part became effective at the time of
                cancellation of the prior insurance, the Insurer will first settle the amount
                of loss that the Insured sustained during this Policy Period. The Insurer
                will then settle the remaining amount of loss that the Insured sustained
                during any Policy Period of the prior insurance.

          (B)      Loss Sustained Entirely During Prior Insurance

                If the Insured Discovers loss during the Policy Period shown in the
                Declarations, resulting directly from an Occurrence taking place entirely
                during any Policy Period of any prior cancelled insurance that the Insurer
                or any affiliate issued to the Insured or any predecessor in interest, the
                Insurer will pay for the loss, provided:

                (1) this Crime Coverage Part became effective at the time of cancellation
                     of the prior insurance; and

                (2) the loss would have been covered under this Crime Coverage Part
                     had it been in effect at the time of the Occurrence.

                The Insurer will first settle the amount of loss that the Insured sustained
                during the most recent prior insurance. The Insurer will then settle any
                remaining amount of loss that the Insured sustained during any Policy
                Period of any other prior insurance.

          (C)      In settling loss subject to this Condition:

                (1) The most the Insurer will pay for the entire loss is the Crime Limit of
                    Liability applicable during the period of loss, whether such limit was
                    written under this Crime Coverage Part or was written under the prior
                    insurance issued by the Insurer.

                (2) The Insurer will apply the applicable Deductible Amount shown in the
                    Declarations to the amount of loss sustained under this Crime
                    Coverage Part. If no loss was sustained under this Crime Coverage
                    Part, the Insurer will apply the Deductible Amount shown in the
                    Declarations to the amount of loss sustained under the most recent
                    prior insurance.

                If the Deductible Amount is larger than the amount of loss sustained
                under this Crime Coverage Part, or the most recent prior insurance, the
                Insurer will apply the remaining Deductible Amount to the remaining
                amount of loss sustained during the prior insurance.

                The Insurer will not apply any other Deductible Amount that may have
                been applicable to the loss.




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                  Notwithstanding any of the above provisions of this Condition 6(a)
                  (xv), no payment made for loss under either this Policy Period or any prior
                  Policy Period shall exceed (i) the amount of the loss sustained during the
                  respective Policy Period; and/or (ii) the Crime Limit of Liability of the
                  respective Policy Period.

    (xvi)   LOSS SUSTAINED DURING PRIOR                 INSURANCE NOT ISSUED           BY THE
            INSURER OR ANY AFFILIATE

            (A)       If the Insured Discovers loss during the Policy Period shown in the
                      Declarations, resulting directly from an Occurrence taking place
                      during the Policy Period of any prior cancelled insurance that was
                      issued to the Insured or a predecessor in interest by another
                      company, and the period of time to discover loss under that insurance
                      had expired, the Insurer will pay for the loss under this Crime
                      Coverage Part, provided:

                  (1) this Crime Coverage Part became effective at the time of cancellation
                       of the prior insurance; and

                  (2) the loss would have been covered under this Crime Coverage Part
                       had it been in effect at the time of the Occurrence.

            (B)      In settling loss subject to this Condition:

                  (1) The most the Insurer will pay for the entire loss is the lesser of the
                      Crime Limits of Liability applicable during the period of loss, whether
                      such limit was written under this Crime Coverage Part or was written
                      under the prior cancelled insurance.

                  (2) The Insurer will apply the applicable Deductible Amount shown in the
                      Declarations to the amount of loss sustained under the prior cancelled
                      insurance.

            (C)The insurance provided under this Condition is subject to the following:

                  (1) If loss covered under this Condition is also partially covered under
                      Condition 6(a)(xv), the amount recoverable under this Condition is
                      part of, not in addition to, the amount recoverable under Condition
                      6(a)(xv).

                  (2) For loss covered under this Condition that is not subject to Condition
                      6(a)(xvi)(3)fa) above, the amount recoverable under this Condition is
                      part of, not in addition to, the Crime Limit of Liability applicable to the
                      loss covered under this Crime Coverage Part and is limited to the
                      lesser of the amount recoverable under:




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             (a) this Crime Coverage Part as of its effective date; or
             (b) the prior cancelled insurance had it remained in effect.

    (xvii)   OTHER INSURANCE

             If other valid and collectible insurance is available to the Insured for loss
             covered under this Crime Coverage Part, our obligations are limited as
             follows:

             (A)      Primary Insurance

                   When this policy is written as primary insurance, and:

                   (1) The Insured has other insurance subject to the same terms and
                       conditions as this Crime Coverage Part, the Insurer will pay the
                       Insurer’s share of the covered loss. The Insurer’s share is the
                       proportion that the Crime Limit of Liability bears to the total limit of
                       all insurance covering the same loss.

                   (2) The Insured has other insurance covering the same loss other than
                       that described in Condition 6(a)(xvii)(1)(A) above, the Insurer will only
                       pay for the amount of loss that exceeds:

                      (a)     the Crime Limit of Liability and Deductible Amount of that
                              other insurance, whether the Insured can collect on it or not;
                              or

                      (b)    the Deductible Amount shown in the Declarations;

                      whichever is greater. The Insurer’s payment for loss is subject to the
                      terms and conditions of this Crime Coverage Part.
             (B)      Excess Insurance
                   (1) When this Crime Coverage Part is written excess over other
                       insurance, the Insurer will only pay for the amount of loss that
                       exceeds the Crime Limit of Liability and Deductible Amount of that
                       other insurance, whether the Insured can collect on it or not. The
                       Insurer’s payment for loss is subject to the terms and conditions of
                       this Crime Coverage Part and policy.

                   (2) However, if loss covered under this Crime Coverage Part is subject to
                       a Deductible, the Insurer will reduce the Deductible Amount shown in
                       the Declarations by the sum total of all such other insurance plus any
                       Deductible Amount applicable to that other insurance.




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    (xviii) OWNERSHIP OF PROPERTY; INTERESTS COVERED

            The property covered under this Crime Coverage Part is limited to property:

            (A)that the Insured owns or leases; or

            (B) that the Insured holds for others whether or not the Insured is legally
                liable for the loss of such property.

            However, this Crime Coverage Part is for the Insured’s benefit only. It
            provides no rights or benefits to any other person or organization. Any Claim
            for Loss that is covered under this Crime Coverage Part must be presented
            by the Insured.

    (xix)   PREMIUMS

            The first Named Entity shown in the Declarations:

            (A)         is responsible for the payment of all premiums; and

            (B)         will be the payee for any return premiums the Insurer pays.

    (xx)    RECORDS

            The Insured must keep records of all property covered under this Crime
            Coverage Part so the Insurer can verify the amount of any loss.

    (xxi)   RECOVERIES

            (A)     Any recoveries, whether effected before or after any payment under
                    this Crime Coverage Part, whether made by the Insurer or the Insured,
                    shall be applied net of the expense of such recovery:

                  (1) First, to the Insured in satisfaction of the Insured’s covered loss in
                      excess of the amount paid under this Crime Coverage Part;

                  (2) Second, to the Insurer in satisfaction of amounts paid in settlement
                      of the Insured’s claim;

                  (3)      Third, to the Insured in satisfaction of any Deductible Amount;
                  and

                  (4) Fourth, to the Insured in satisfaction of any loss not covered under
                      this Crime Coverage Part.

            (B)         Recoveries do not include any recovery:

                  (1) from insurance, suretyship, reinsurance, security or indemnity taken
                      for the Insurer’s benefit; or




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                   (2)         of original Securities after duplicates of them have been issued.

    (xxii)   TERRITORY

             This Crime Coverage Part covers loss that the Insured sustains resulting
             directly from an Occurrence taking place anywhere in the world.

    (xxiii) TRANSFER OF THE INSURED’S RIGHTS AND DUTIES UNDER THIS CRIME
             COVERAGE PART

             (A)         The Insured’s rights and duties under this Crime Coverage Part may
                         not be transferred vvithout the Insurer’s written consent except in the
                         case of death of an individual Named Entity.

             (B)         If the Insured dies, the Insured’s rights and duties will be transferred
                         to the Insured’s legal representative but only while acting within the
                         scope of duties as the deceased Insured’s legal representative. Until
                         the Insured’s legal representative is appointed, anyone having
                         temporary custody of the Insured’s property will have the Insured’s
                         rights and duties but only with respect to that property.

    (xxiv) TRANSFER OF THE INSURED’S RIGHTS OF RECOVERY AGAINST OTHERS
           TO THE INSURER

             The Insured must transfer to the Insurer all the Insured’s rights of recovery
             against any person or organization for any loss the Insured sustained and for
             which the Insurer has paid or settled. The Insured must also do everything
             necessary to secure those rights and do nothing after loss to impair them.

    (xxv)    VALUATION           -   SETTLEMENT

             (A)         The value of any loss for purposes of coverage under this Crime
                         Coverage Part shall be determined as follows:

                         (1)         Loss of Money but only up to and including its face value. The
                                     Insurer will, at the Insured’s option, pay for loss of Money
                                     issued by any country other than the United States of
                                     America:

                                     (a)   at face value in the Money issued by that country; or

                                     (b)   in the United States of America dollar equivalent
                                           determined by the rate of exchange published in The
                                           Wall Street Journal on the day the loss was Discovered.




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                (2)   Loss of Securities but only up to and including their value at
                      the close of business on the day the loss was Discovered.
                      The Insurer may, at the Insurer’s option:

                      (a)    pay the market value of such Securities or replace them
                             in kind, in which event the Insured must assign to the
                             Insurer all the Insured’s rights, title and interest in and
                             to those Securities; or

                      (b)    pay the cost of any Lost Securities Bond required in
                             connection with issuing duplicates of the Securities.
                             However, the Insurer will be liable only for the payment
                             of so much of the cost of the bond as would be
                             charged for a bond having a penalty not exceeding the
                             lesser of the:

                             Ci)        market value of the Securities at the close of
                                        business on the day the loss was Discovered; or

                             (ii)       the Crime Limit of Liability   applicable to the
                                        Securities.

                (3)   Loss of or damage to Other Property or loss from damage to
                      the Premises or its exterior for the replacement cost of the
                      property without deduction for depreciation. However, the
                      Insurer will not pay more than the least of the following:

                      (a)    the cost to replace the lost or damaged property with
                             property of comparable material and quality and used
                             for the same purpose;

                      (b)    the amount the Insured actually spend that is necessary
                             to repair or replace the lost or damaged property; or

                      Cc)    the Crime Limit of Insurance.

                      With regard to subparagraphs Ci) through Ciii) above, the Insurer
                      will not pay on a replacement cost basis for any loss or
                      damage:

                      Ci)    until the lost or damaged property is actually repaired or
                             replaced; and

                      (ii)   unless the repairs or replacement are made as soon as
                             reasonably possible after the loss or damage.

                      If the lost or damaged property is not repaired or replaced, the
                      Insurer will pay on an actual cash value basis.




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                  (B)       The Insurer will, at the Insured’s option, settle loss or damage to
                            property other than Money:

                         (1) in the Money of the country in which the loss or damage occurred; or

                         (2) in the United States of America dollar equivalent of the Money of the
                              country in which the loss or damage occurred determined by the rate
                              of exchange published in The Wall Street Journal on the day the loss
                             was Discovered.

                  (C)       Any property that the Insurer pays for or replaces becomes the
                            Insurer’s property.

  fb) CONDITIONS APPLICABLE TO INSURING AGREEMENT 1 .A., “EMPLOYEE THEFT,”
      OF THIS CRIME COVERAGE PART:

    (i) TERMINATION AS TO ANY EMPLOYEE

            Insuring Agreement 1 .A. terminates as to any Employee:

            (A)     As soon as:

                  (1)       the Insured; or

                   (2)      any of the Insured’s partners, Members, Managers, officers, directors,
                            trustees, trustee emeritus or executive directors not in collusion with
                            the Employee;

                            learn of Theft or any other dishonest act committed by the Employee
                            whether before or after becoming employed by the Insured; provided
                            such Theft involved Money, Securities or other Property valued at
                            $25,000 or more; or

            (B) On the date specified in a notice mailed to the first Named Entity. That date
                will be at least sixty (60) days after the date of mailing.

                  The Insurer will mail or deliver the Insurer’s notice to the first Named Entity’s
                  last mailing address known to the Insurer. If notice is mailed, proof of mailing
                  will be sufficient proof of notice.

     (ii)         TERRITORY

                  The Insurer will pay for loss caused by any Employee while temporarily
                  outside the territory specified in Condition 6(a)Cxxii) for a period of not more
                  than ninety (90) consecutive days.




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  (c) CONDITIONS APPLICABLE TO INSURING AGREEMENT                    1 .B.,   “FORGERY OR
      ALTERATION,” OF THIS CRIME COVERAGE PART:

    (i)     DEDUCTIBLE AMOUNT

            The Deductible Amount does not apply to legal expenses paid under Insuring
            Agreement 1 .B.

    (ii)    MECHANICAL SIGNATURES

            The Insurer will treat signatures that are produced               or   reproduced
            mechanically the same as handwritten signatures.

    (iii)   PROOF OF LOSS

            The Insured must include with the Insured’s proof of loss any instrument
            involved in that loss, or, if that is not possible, an affidavit setting forth the
            amount and cause of loss.

    (iv)    TERRITORY

            The Insurer will cover loss that the Insured sustains resulting directly from an
            Occurrence taking place anywhere in the world. Condition 6(a)fxxii) does
            not apply to Insuring Agreement 1 .B.

  (U) CONDITIONS APPLICABLE TO INSURING AGREEMENTS J.D., “INSIDE THE
      PREMISES   ROBBERY OR SAFE BURGLARY OF OTHER PROPERTY,” and i.E.,
                  -




      “OUTSIDE THE PREMISES” OF THIS CRIME COVERAGE PART:

    (i)     ARMORED MOTOR VEHICLE COMPANIES

            Under Insuring Agreement 1 .E. of this Crime Coverage Part, the Insurer will
            only pay for the amount of loss the Insured cannot recover:

            (A)       under the Insured’s contract with the armored motor vehicle company;
                      and

            (B)       from any insurance or indemnity carried by, or for the benefit of
                      customers of, the armored motor vehicle company.

    (ii)    SPECIAL LIMIT OF LIABILITY FOR SPECIFIED PROPERTY
            The Insurer will only pay up to $5,000 for any one Occurrence of loss of or
            damage to precious metals, precious or semiprecious stones, pearls, furs, or
            completed or partially completed articles made of or containing such
            materials that constitute the principal value of such articles; or




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                 The Insurer will only pay up to $25,000 for any one Occurrence of loss of or
                 damage to manuscripts, drawings, or records of any kind or the cost of
                 reconstructing them or reproducing any information contained in them.


  (e) CONDITIONS APPLICABLE TO INSURING AGREEMENT 1 .F.,                 COMPUTER FRAUD,”
      OF THIS CRIME COVERAGE PART:

         (I)     SPECIAL LIMIT OF INSURANCE FOR SPECIFIED PROPERTY

                 The Insurer will only pay up to $5,000 for any one Occurrence of loss of or
                 damage to manuscripts, drawings, or records of any kind, or the cost of
                 reconstructing them or reproducing any information contained in them.

  (ii)         TERRITORY

                 The Insurer will cover loss that the Insured sustains resulting directly from an
                 Occurrence taking place anywhere in the world. Condition 6(a)(xxii) does
                 not apply to Insuring Agreement 1 .F.




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                                   APPENDIX A
                     NOT FOR PROFIT PANEL COUNSEL ADDENDUM

In consideration of the premium charged, it is understood and agreed as follows: The
information in our Panel Counsel lists/appendices is now accessible through our online
Panel Counsel Directory at http://www.aig.com/us/panelcounseldirectory. To access the
applicable online Panel Counsel Directory, please go to the website, click on the
“Not- for- Profit (Employment and Non- Employment Claims)” link or the ‘Employment
Practices Liability
                 -   Not for Profit Employment Claims” link.
References in this policy to list of Panel Counsel law firms or related appendices are
deemed amended to refer to the applicable Panel Counsel Directories at the website
referenced above.




ALL OTHER TERMS, CONDITIONS AND EXCLUSIONS REMAIN UNCHANGED.




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                                  APPENDIX D
                    EMPLOYEE BENEFIT PLAN FIDUCIARY LIABILITY
                              PANEL COUNSEL LIST

In consideration of the premium charged, it is understood and agreed as follows: The
information in our Panel Counsel lists/appendices is now accessible through our online
Panel Counsel Directory at http://www.aig.com/us/panelcounseldirectory at the “Panel
Counsel” tab. To access the applicable online Panel Counsel Directory, please go to the
website, click on the “Panel Counsel” tab and then click on the “ERISA” link.
References in this policy to list of Panel Counsel law firms or related appendices are
deemed amended to refer to the applicable Panel Counsel Directories at the website
referenced above.

ALL OTHER TERMS, CONDITIONS AND EXCLUSIONS REMAIN UNCHANGED.




Revised (6/08)
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                                               REGARDING
                                   E- DISCOVERY CONSULTANT SERVICES

      You are hereby notified that the Insureds under the attached policy are entitled to retain
      the services of a pre- approved E- Consultant Firm from the E- DISCOVERY CONSULTING
      FIRMS listed below at the rates negotiated by the Insurer for any Claim covered under the
      policy in which E- Discovery is required or becomes necessary.
      For the purpose of the E- Discovery Consultant Services discussed in this notice, the
      following definitions shall apply:
               (a)   “E- Consultant Firm” means any E- DISCOVERY CONSULTING FIRMS listed
                     below. Any “E- Consultant Firm” may be hired by an Insured to perform
                     E- Discovery Consultant Services without further approval by the Insurer.
               (b)   “E- Discovery” means the development, collection, storage, organization,
                     cataloging, preservation and/or production of electronically stored information.
               (c)    E- Discovery Loss” means the reasonable and necessary consulting fees for
                     the E- Discovery Consultant Services provided solely to the Insured(s) by an
                     E- Consultant Firm.
               Provided, however, E- Discovery Loss shall not include any costs of discovery other
               than E- Discovery Loss.
               (d)   “E- Discovery Consultant Services”     means   solely   the   following   services
                     performed by an E- Consultant Firm:
                     1.   assisting the Insured with managing and minimizing the internal and
                          external costs associated with E- Discovery;
                     2.   assisting the Insured in developing or formulating an E- Discovery
                          strategy which shall include interviewing qualified and cost effective
                          E- Discovery vendors;
                     3.   serving as project manager, advisor and/or consultant to the Insured,
                          defense counsel and the Insurer in executing and monitoring the
                          E- Discovery strategy; and
                     4.   such other services provided by the F- Consultant Firm that the Insured,
                          Insurer and E- Consultant Firm agree are reasonable and necessary given
                          the circumstances of the Securities Claim.
      PLEASE NOTE: The Insurer shall only be liable for the amount of E- Discovery Loss arising
      from a Claim under the attached policy that is in excess of the applicable Retention
      amounts stated in Item 4 of the Declarations. In all events, the Insurer shall not waive any
      of the Insurers rights under this policy or at law.

      E- DISCOVERY CONSULTING FIRMS

      The list of approved E- Consultant Firms is accessible through our online directory at
      http://www.aig.com/us/panelcounseldirectory.   To    access   the   applicable  online
      E- Consultant Firm Directory, please go to the website and click on the “e- Consultant
      Panel Members” link.

      References in this policy to the list of E- Consultant Firms or related appendices are
      deemed amended to refer to the applicable online E- Consultant Firm Directory at the
      website referenced above.




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                                          APPENDIX B
                     CRISIS MANAGEMENT COVERAGE FOR D&O COVERAGE SECTION

          DEFINITIONS
          (a) “Crisis Management Event” means one of the following events which, in the good
              faith opinion of the Organization, did cause or is reasonably likely to cause a
              Material Effect:
               1.   Management Crisis:
                    The death, incapacity or criminal indictment of any duly elected or appointed
                    director, officer, trustee, trustee emeritus or executive director, or any
                    Employee on whom the Organization maintains key person life insurance.
               2.   Patient/Member Abuse:
                    The public announcement or accusation that an individual under the
                    management control of the Organization has intentionally caused bodily injury
                    to, or death of, a patient, or has sexually abused a patient or member of the
                    Organization.
               3.   Debt Default:
                    The public announcement that the Organization had defaulted or intends to
                    default on its debt.
               4.   Bankruptcy:
                    The public announcement that the Organization intends to file for bankruptcy
                    protection or that a third party is seeking to file for involuntary bankruptcy on
                    behalf of the Organization; or the imminence of bankruptcy proceedings,
                    whether voluntary or involuntary.
               5.   Contribution Revocation:
                    The withdrawal or return of a non- governmental grant, contribution or bequest
                    in excess of $500,000.
               6.   Student Distress:
                    The public announcement or accusation that a student of the Organization has:
                    1) attempted or committed suicide; or 2) been criminally assaulted by an
                    assailant who is either unknown or who is not an Individual Insured.
               7.   Downsizing:
                    The closing of any academic department or school.
               8.   Regulatory Crisis:
                    Formal governmental or     regulatory proceedings   which   allege   a   pattern   of
                    inadequate patient care.
               9.   Workplace Violence:
               The public announcement that an Employee of the Organization was the victim of
               a violent crime while on the premises of the Organization.
               JO. Child Abduction:
                   The public announcement that a child was abducted or kidnapped while under
                   the care or supervision of the Organization.
          A Crisis Management Event shall first commence when the Organization or any of
          its directors or executive officers shall first become aware of the event during the
          Policy Period and shall conclude at the earliest of the time when the Crisis

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            Management Firm advises the Organization that the crisis no longer exists or when
            the Crisis Management Fund has been exhausted.

            (b) “Crisis Management Firm” means firm listed in the Insurer’s online directory, at
                http:!!www.aiq.com/us!panelcounseldirectory,      as    a     pre- approved Crisis
                Management Firm. To access the applicable online Crisis Management Firm
                Directory, please go to the website and click on the “CrisisFund®” link.
            Cc) “Crisis Management Loss” means the following amounts incurred during the
                pendency of or within 90 days prior to and in anticipation of, the Crisis
                Management Event, regardless of whether a Claim is ever made against an
                Insured arising from the Crisis Management Event and, in the case where a Claim
                is made, regardless of whether the amount is incurred prior to or subsequent to
                the making of the Claim:
                  (1) amounts for which the Organization is legally liable for the reasonable and
                      necessary fees and expenses incurred by a Crisis Management Firm in the
                      performance of Crisis Management Services for the Organization arising from
                      a Crisis Management Event; and
                  (2) amounts for which     the Organization is legally liable for the reasonable and
                      necessary printing,   advertising, mailing of materials, or travel by directors,
                      officers, employees   or agents of the Organization or the Crisis Management
                      Firm, in connection   with the Crisis Management Event.
            (d) “Crisis Management Services” means those services performed by a Crisis
                Management Firm in advising the Organization or any of its directors, officers or
                employees on minimizing potential harm to the Organization arising from the
                Crisis Management Event, including but not limited to maintaining and restoring
                public confidence in the Organization.
            Ce) “Delisting    Crisis” means    written notice to   an Organization that such
                Organization’s securities will be or have been delisted from an Exchange at the
                initiation of such Exchange.
            (f)   “Exchange” means NASDAQ, the American Stock Exchange, the New York Stock
                  Exchange and the Singapore Exchange.
            Cg) “Material Effect” means the publication of unfavorable information regarding the
                Organization which can reasonably be considered to lessen public confidence in
                the competence of the Organization. Such publication must in occur in either:
                  (1) a daily newspaper      of   general   circulation     in    the   geographic   area   of   the
                      Organization, or
                  (2) a radio or television news report           on   an        Organization   received    in   the
                      geographic area of the Organization.
      II.   EXCLUSIONS
            The term Crisis Management Event shall not include any event relating to:
            1.    any pending or prior litigation as of the Continuity Date for the D&O Coverage
                  Section indicated in Item 3 Declarations;
            2.    any Claim which has been reported, or any circumstances of which notice has
                  been given, under any policy is a renewal or replacement or which it may succeed
                  in time;



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          3.   the actual, alleged or threatened discharge, dispersal, release or escape of
               Pollutants, or any direction or request to test for, monitor, clean up, remove,
               contain, treat, detoxify or neutralize Pollutants; or
          4.   the hazardous properties of nuclear materials.




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                                               ENDORSEMENT#       1


      This endorsement, effective 12:01       am        November 1, 2014          forms a part of
      policy number   01-817-25-28
      issued to PRESIDENT AND FELLOWS         OF HARVARD COLLEGE

       by        National Union Fire Insurance Company of Pittsburgh, Pa.

                                              NOTICE OF CLAIM
                                           (REPORTING BY E- MAIL)

       In consideration of the premium charged, it is hereby understood and agreed as follows:
       1.      Email Reporting of C/aims: In addition to the postal address set forth for any Notice of
               Claim Reporting under this policy, such notice may also be given in writing pursuant
               to the policy’s other terms and conditions to the Insurer by email at the following
               email address:
               c- claim@AlG.com
               Your email must reference the policy number for this policy. The date of the
               Insurer’s receipt of the emailed notice shall constitute the date of notice.
               In addition to Notice of Claim Reporting via email, notice may also be given to the
               Insurer by mailing such notice to: AIG, Financial Lines Claims, P.O. Box 25947,
               Shawnee Mission, KS 66225 or faxing such notice to (866) 227- 1750.
       2.      Definitions: For this endorsement only, the following definitions shall apply:
               (a)   “Insurer” means the “Insurer,’ “Underwriter” or “Company” or other name
                     specifically ascribed in this policy as the insurance company or underwriter for
                     this policy.
               (b)   “Notice of Claim Reporting” means “notice of claim/circumstance,” “notice of
                     loss” or other reference in the policy designated for reporting of claims, loss
                     or occurrences or situations that may give rise or result in loss under this
                     policy.
               (c)   “Policy” means the policy, bond or other insurance product to which this
                     endorsement is attached.
      3.       This endorsement does not apply to any Kidnap            & Ransom/Extortion      Coverage
               Section, if any, provided by this policy.



      ALL OTHER TERMS, CONDITIONS AND EXCLUSIONS REMAIN UNCHANGED.




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                                                   END 007
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         This endorsement, effective 12:01 am    November 1, 2014              forms a part of
         policy number 01-817-25-28
         issued to   PRESIDENT AND FELLOWS OF HARVARD COLLEGE

         by         National Union Fire Insurance Company of Pittsburgh, Pa.
                       HARVARD MANAGEMENT COMPANY AFFILIATED INSURED ENTITIES


         In consideration of the premium charged, and notwithstanding any other provision of this
         Policy to the contrary, each of the following entities, which are, unless otherwise noted,
         under Management Control, shall be considered an Organization and an Insured under the
         Policy:



         Entity Name                                                      Revised Classification

          Harvard Private Capital Properties II, Inc.                     Affiliated Entity
          Red Clover Holdings, LLC                                        Affiliated Entity
         Agricola El Cardonal Limitada                                    Affiliated Entity
         Agricola Los Rios SpA                                            Affiliated Entity
         Aldwych Street, LLC      -   Dissolved 7/2/201 4                 Affiliated Entity
         AMERRA Agri Opportunities Fund, LP                               Affiliated Entity
         Aquila Inc.                                                      Affiliated Entity
         Ara Inc.                                                         Affiliated Entity
         Atlantic AREP III, LLC                                           Affiliated Entity

         Atlantic Avenue Realty, Ltd.                                     Affiliated Entity
         Atlantic Avenue Two GP, LLC                                      Affiliated Entity
         Atlantic Avenue Two, LP                                          Affiliated Entity
         Atlantic Beacon Capital VII Fund, LLC                            Affiliated Entity
         Atlantic BVSEF, LLC                                              Affiliated Entity
         Atlantic C-Ill, LLC                                              Affiliated Entity
         Atlantic CIREP Europ, LLC                                        Affiliated Entity
         Atlantic Deutsche, LLC                                           Affiliated Entity
         Atlantic DV4, LLC                                                Affiliated Entity
         Atlantic DW Ill, LLC                                             Affiliated Entity




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                                      ENDORSEMENT# 2        (Continued)


     This endorsement, effective 12:01 am    November 1, 2014         forms a part of
     policy number 01-817-25-28
     issued to   PRESIDENT AND FELLOWS OF HARVARD COLLEGE


     by          National Union Fire Insurance Company of Pittsburgh, Pa.




     Atlantic Euro Retail, LLC                                    Affiliated Entity

     Atlantic Europe Investments GP Limited                       Affiliated Entity

     Atlantic Europe Investments LP                               Affiliated Entity

     Atlantic GAP VI, LLC                                         Affiliated Entity

     Atlantic International Real Estate, LLC                      Affiliated Entity

     Atlantic lP Holdings, LLC                                    Affiliated Entity

     Atlantic lP3 Holdings, LLC                                   Affiliated Entity

     Atlantic Multifamily Housing, LLC                            Affiliated Entity

     Atlantic Net Lease Investor, LLC                             Affiliated Entity

     Atlantic Pacific Realty, Inc.   -   Dissolved 1/1 3/1 4      Affiliated Entity

     Atlantic Retail West, LLC                                    Affiliated Entity

     Atlantic Retail West II, LLC                                 Affiliated Entity

     Atlantic Retail West II Cl, LLC                              Affiliated Entity

     Atlantic Student Housing, LLC                                Affiliated Entity

     Atlantic Toronto GP LLC                                      Affiliated Entity

     Atlantic Toronto LP                                          Affiliated Entity

     Atlantic WE Holdings, LLC                                    Affiliated Entity

     Azara, LLC                                                   Affiliated Entity

         Black Kite Pty Ltd                                       Affiliated Entity

         Blue Marble Holdings Corporation                         Affiliated Entity

         Brazil Teak, LLC                                         Affiliated Entity

         BT2 Co., LLC                                             Affiliated Entity




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                                      ENDORSEMENT# 2       (Continued)


         This endorsement, effective 12:01 am    November 1, 2014         forms a part of
         policy number 01-817-25-28
         issued to   PRESIDENT AND FELLOWS OF HARVARD COLLEGE

         by         National Union Fire Insurance Company of Pittsburgh, Pa.




         Campo Grande, SA                                            Affiliated Entity

         Chennai 2007                                                Affiliated Entity

         Clag, LLC                                                   Affiliated Entity

         Copayapu SpA                                                Affiliated Entity

         Coral Living, LLC                                           Affiliated Entity

         Demeter Holdings Corporation                                Affiliated Entity

         DEl Ltd.                                                    Affiliated Entity
         DF3 Ltd.                                                    Affiliated Entity
         DG Participants Ltd.                                        Affiliated Entity
         Diversified International Timber Holdings, LLC              Affiliated Entity

         Ecuador Timber GP, LLC                                      Affiliated Entity
         Egret Investments Ltd.                                      Affiliated Entity
         Enki Holdings Corp.    -   Dissolved 3/31/1 4               Affiliated Entity
         Finn Investments, LLC                                       Affiliated Entity
         Francolin                                                   Affiliated Entity
         Global Forest Investments, LLC                              Affiliated Entity

         GreenGold Value Forests Lithuania, UAB                      Affiliated Entity

         GreyStones Investments, LLC                                 Affiliated Entity

         Guanare A.A.R.L.                                            Affiliated Entity

         Guanare S.A.                                                Affiliated Entity

         H Squared, LLC                                              Affiliated Entity
         Harvard Investment Associates                               Affiliated Entity




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     This endorsement, effective 12:01 am    November 1, 2014            forms a part of
     policy number 01-817-25-28
     issued to   PRESIDENT AND FELLOWS OF HARVARD COLLEGE

         by        National Union Fire Insurance Company of Pittsburgh, Pa.




         Harvard Management Company, Inc.                           Affiliated Entity
         Harvard Management Company Advisors Limited                Affiliated Entity
         Harvard Management Company UK Limited                      Affiliated Entity
         Harvard Management Private Equity Corporation              Affiliated Entity

         Harvard Master Trust                                       Affiliated Entity
         Harvard Private Capital Holdings, Inc.                     Affiliated Entity
         Harvard Private Capital Properties III, Inc.               Affiliated Entity
         Harvard Private Capital Realty, Inc.                       Affiliated Entity
         HMC Adage Manager, Inc.                                    Affiliated Entity
         HPC Cherokee Ventures, LLC                                 Affiliated Entity
         HPC Patron Scotland, LP                                    Affiliated Entity
         India Capital Opportunities 1 Limited                      Affiliated Entity
         Inversiones Tres Cumbres Ltda.                             Affiliated Entity
         ITAY, LLC                                                  Affiliated Entity
     Jerika II, LLC (dissolved     -   7/2/1 2)                     Affiliated Entity
     Jerika, LLC                                                    Affiliated Entity
     Joshua Timberlands, LLC (dissolved)                            Affiliated Entity
         Keya Paha Properties, LLC                                  Affiliated Entity
         KT1 Co.                                                    Affiliated Entity
         KT2 Co.                                                    Affiliated Entity
         KTR Limited (dissolved)                                    Affiliated Entity
         Laertes, LLC                                               Affiliated Entity




MNSCPT                                       END2
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         This endorsement, effective 12:01 am    November 1, 2014        forms a part of
         policy number 01-817-25-28
         issued to   PRESIDENT AND FELLOWS OF HARVARD COLLEGE

         by       National Union Fire Insurance Company of Pittsburgh, Pa.




         LaSalle Asia Opportunity Cayman I Ltd                      Affiliated Entity
         Lathi, LLC                                                 Affiliated Entity
         Linden Holdco, LLC                                         Affiliated Entity
         Lindene, Ltd.                                              Affiliated Entity
         Locust I, LLC                                              Affiliated Entity
         Longstocking Investment Corporation                        Affiliated Entity
         Los Laureles, S.A. (Chile)                                 Affiliated Entity
         Lucy Holdings                                              Affiliated Entity
         Medowlark LLC                                              Affiliated Entity
         Monardella, LLC                                            Affiliated Entity

         Nicateca Inc.                                              Affiliated Entity
         Oklahoma Timber, LLC                                       Affiliated Entity
         PA Timber Company, LLC                                     Affiliated Entity
         Palpana LLC                                                Affiliated Entity
         Pearl Retail, Inc.                                         Affiliated Entity
         Pearl Retail, LLC                                          Affiliated Entity
         Pennsylvania Timber, LP                                    Affiliated Entity

         Performance Forest, LLC                                    Affiliated Entity
         Phemus Corporation                                         Affiliated Entity
         Pinares A.A.R.L.                                           Affiliated Entity
         Pino, LLC                                                  Affiliated Entity
         Pomona, LLC                                                Affiliated Entity




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     This endorsement, effective 12:01 am    November 1, 2014              forms a part of
     policy number 01-817-25-28
     issued to   PRESIDENT AND FELLOWS OF HARVARD COLLEGE

         by       National Union Fire Insurance Company of Pittsburgh. Pa.




         Rosela Sub IC Pty Limited                                    Affiliated Entity

         Rosella Hold TC Pty Limite                                   Affiliated Entity
         Rosella Ltd.                                                 Affiliated Entity
         Romply Merops SRL                                            Affiliated Entity

         Scolopax SRL                                                 Affiliated Entity
         Shipping Venture Corporation                                 Affiliated Entity
         Sia Empetrum                                                 Affiliated Entity
         Soil Innovations, LLC                                        Affiliated Entity
         Sustainable Timbers S.A.                                     Affiliated Entity
         SWT LP                                                       Affiliated Entity
         Taku, LLC                                                    Affiliated Entity
     Terena S.A.                                                      Affiliated Entity
         Third Wrangler Ltd.                                          Affiliated Entity
         Toucanet SA (Colombian Branch)                               Affiliated Entity
         Valholl, Ltd                                                 Affiliated Entity
         Veriwaste, LP   -   Dissolved 9/22/14                        Affiliated Entity

     Wastelands, LLC                                                  Affiliated Entity



     In addition to the foregoing list of Harvard-Affiliated Insured Organizations, Organization
     shall also include any entity formed, controlled or acquired by another Organization during
     the Policy Period and reported in writing by another Organization to the Insurer as a
     newly-formed, controlled or acquired Harvard-Affiliated Insured Organization pursuant to
     the Protocol for Periodic Reporting.




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         This endorsement, effective 12:01 am    November 1, 2014                forms a part of
         policy number 01-817-25-28
         issued to   PRESIDENT AND FELLOWS OF HARVARD COLLEGE

         by      National Union Fire Insurance Company of Pittsburgh, Pa.



         Protocol for Periodic Reporting:
         The Insured Organization shall provide to the Insurer, approximately quarterly, a list of any
         additional newiy formed, controlled or acquired Harvard-Affiliated Outside Entities and
         Harvard-Affiliated Insured Organizations which the Insured Organization seeks to include
         within the coverage provided hereunder.

         NOTE: The foregoing list of Harvard-Affiliated Insured Organizations shall not be construed
         to be an exhaustive list of all Harvard-Affiliated Insured Organizations, and the failure to
         identify any entity in this endorsement shall not prejudice or otherwise limit coverage for
         any person or entity otherwise an Insured under this Policy, including without limitation any
         newly formed, controlled or acquired Organization that is otherwise an Organization under
         the terms and conditions of the Policy.




                                                                       AUTHORIZED RE   ESENTATIVE
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MNSCPT                                   END2
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                                                 ENDORSEMENT#       3


      This endorsement, effective 12:01         am       November 1, 2014          forms a part of
      policy number   01-817-25-28
      issued to PRESIDENT AND FELLOWS           OF HARVARD COLLEGE

       by            National Union Fire Insurance Company of Pittsburgh, Pa.

                                EXCLUSIONS (F) AND (G) AMENDED ENDORSEMENT
                                (GENERAL TERMS AND CONDITIONS AMENDMENT)

      In consideration of the premium charged, it is hereby understood and agreed that
      notwithstanding any other provision of this policy (including any endorsement attached
      hereto whether such endorsement precedes or follows this endorsement in time or
      sequence), Clause 4. EXCLUSIONS of the General Terms and Conditions is hereby
      amended by deleting Exclusions (f) and (g) in their entirety and replacing them both with
      the following:
               (f)      for violation(s) of any of the responsibilities, obligations or duties imposed by
                        the Employee Retirement Income Security Act of 1974, the Fair Labor
                        Standards Act (except the Equal Pay Act), the National Labor Relations Act, the
                        Worker Adjustment and Retraining Notification Act, the Consolidated Omnibus
                        Budget Reconciliation Act, the Occupational Safety and Health Act, any rules or
                        regulations of the foregoing promulgated thereunder, and amendments thereto
                        or any similar federal, state, local or foreign statutory law or common law.
                        It is acknowledged that Claims for violation(s) of any of the responsibilities,
                        obligations or duties imposed by ‘similar federal, state, local or foreign
                        statutory law or common law,” as such quoted language is used in the
                        immediately- preceding paragraph, include, without limitation, any and all
                        Claims which in whole or in part allege, arise out of, are based upon, are
                        attributable to, or are in any way related to any of the circumstances
                        described in any of the following:
                              (1)   the refusal, failure or inability of any Insured(s) to pay wages or
                                    overtime pay (or amounts representing such wages or overtime
                                    pay) for services rendered or time spent in connection with work
                                    related activities (as opposed to tort- based back pay or front pay
                                    damages for torts other than conversion);
                              (2)   improper deductions from pay taken by any Insured(s) from any
                                    Employee(s) or purported Employee(s); or
                              (3)   failure to provide or enforce legally required meal or rest break
                                    periods;
                        Notwithstanding the foregoing:
                        (1)   with respect to the EPL Coverage Section, this exclusion (f) shall not
                              apply to the extent that a Claim is for Retaliation; and
                        (2)   solely with respect to violations of the responsibilities, obligations or
                              duties imposed by the Employee Retirement Income Security Act of 1974
                              and the Consolidated Omnibus Budget Reconciliation Act, this exclusion




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                                                     END 003
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                                        ENDORSEMENT#       3     (continued)


                           shall not apply to the extent coverage is afforded pursuant to the ELI
                           Coverage Section.
               (g)   [intentionally omitted]


      ALL OTHER TERMS, CONDITIONS AND EXCLUSIONS REMAIN UNCHANGED.




                                                                      AUTHORIZED REPRESENTATIVE



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                                                END 003
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     This endorsement, effective 12:01 am    November 1, 2014                       forms a part of
     policy number   01-817-25-28
     issued to   PRESIDENT AND FELLOWS OF HARVARD COLLEGE

         by      National Union Fire Insurance Company of Pittsburgh, Pa.
                          HARVARD MANAGEMENT COMPANY OUTSIDE ENTITIES


         In consideration of the premium charged, and notwithstanding any other provision of this
         Policy to the contrary, each of the following entities shall be considered Outside Entities
         under the Policy:

         Entity Name                                             Classification

     Denham Commodity Partners Fund Ill, LP                      Outside   Entity
     Estancia Celina S.A.                                        Outside   Entity
     Lubert Adler Capital Real Estate Fund II, LP                Outside   Entity
     365 Church Street Limited Partnership                       Outside   Entity
     Adelaide-Peter Developments                                 Outside   Entity
     Agricola Brinzal Ltda.                                      Outside   Entity
     Agricola Crecer Ltda.                                       Outside   Entity
     Agricola Duramen Ltda.                                      Outside   Entity
     Agricola E Inversiones Pampa Alegre S.A.                    Outside   Entity
     Agricola Fundo Bucalemu Limitada                            Outside   Entity
     Agricola Rapel Limitada                                     Outside   Entity
     Agricola Retiro Limitada                                    Outside   Entity
     Agricola Ribera Limitada                                    Outside   Entity
     Alcion Real Estate Partners II, LP                          Outside   Entity
     Alcion Real Estate Partners LP                              Outside   Entity
     Anay Y Asociados SA                                         Outside   Entity
     Aracari SA                                                  Outside   Entity
     Atlantic BPR, LLC                                           Outside   Entity
     Atlantic CR1 II, LLC                                        Outside   Entity
     Atlantic C-Ill HY, LLC                                      Outside   Entity
     Atlantic Creative, LLC                                      Outside   Entity
     Atlantic Debt Investor, LLC                                 Outside   Entity
     Atlantic DV Holdings Ltd.                                   Outside   Entity
     Atlantic ECI Four, LLC                                      Outside   Entity
     Atlantic Japan RE, LLC Dissolved June 2014
                                -                                Outside   Entity
     Atlantic Multifamily Housing Ill                            Outside   Entity
     Atlantic RP Holdings, LLC                                   Outside   Entity
     Atlantic Southeast Industrial, LLC                          Outside   Entity
     Atlantic Toronto 365 Church Street General Partner          Outside   Entity
     Atlantic Toronto A-P General Partner Inc.                   Outside   Entity
     Atlantic Toronto Grenville General Partner Inc.             Outside   Entity
     Atlantic Toronto Holdings, Inc
     (fka Atlantic Toronto Adelaide-Peter LP Inc.)               Outside Entity




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                                      ENDORSEMENT# 4       (Continued)


         This endorsement, effective 12:01 am    November 1, 2014                  forms a part of
         poiicy number 01-817-25-28
         issued to   PRESIDENT AND FELLOWS OF HARVARD COLLEGE

         by      National Union Fire Insurance Company of Pittsburgh, Pa.



         Atlantic Urban Retail Holdings, LLC                    Outside   Entity
         Atlantic Urban Retail Inc.                             Outside   Entity
         Atlantic Western Industrial LLC                        Outside   Entity
         Atlantic Western Industrial II, LLC                    Outside   Entity
         Atlantic WFH Investor, LLC                             Outside   Entity
         Baynorth HPCH, LLC                                     Outside   Entity
         Bellflower, LLC                                        Outside   Entity
         Black Kite Trust                                       Outside   Entity
         BPR Co-Investor LLC                                    Outside   Entity
         Brazil Timber Limitada                                 Outside   Entity
         Brodiaea, Inc.                                         Outside   Entity
         BT3 Co., LLC                                           Outside   Entity
         Calliopsis, LLC                                        Outside   Entity
         Capital Partners (2) US Tax Exempt Investors Fund LP   Outside   Entity
         Caracara Ltd                                           Outside   Entity
         Caracol Agropercuraria Ltda.                           Outside   Entity
         Charlesbank Equity Fund IV, LP                         Outside   Entity
         Charlesbank Realty Fund IV, LP                         Outside   Entity
         Charlesbank Realty Fund V, LP                          Outside   Entity
         Cherokee Investment Partners Ill Parallel Fund, LP     Outside   Entity
         Clag (Chile) SpA                                       Outside   Entity
         Composition Capital Asia Fund C.V.                     Outside   Entity
         Composition Capital Asia II Feeder C.V.                Outside   Entity
         Composition Capital Europe Fund C.V.                   Outside   Entity
         Composition Capital Europe II Feeder C.V.              Outside   Entity
         Coral Living II LLC                                    Outside   Entity
         Coral Living Ill, LLC                                  Outside   Entity
         Crista, LLC                                            Outside   Entity
         Cypress Realty IV, LP                                  Outside   Entity
         Dairy Farms Partnership                                Outside   Entity
         Denham Commodity Partners Fund II, LP                  Outside   Entity
         Denham Commodity Partners Fund, LP                     Outside   Entity
         Devonian, LLC                                          Outside   Entity
         Eastern Rosella Trust                                  Outside   Entity
         Eco Cebaco SA                                          Outside   Entity
         Ecorinoco S.A.S.                                       Outside   Entity
         Ecuador Timber LP                                      Outside   Entity
         El Maria, SA                                           Outside   Entity




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     This endorsement, effective 12:01 am    November 1, 2014                 forms a part of
     policy number 01-817-25-28
     issued to   PRESIDENT AND FELLOWS OF HARVARD COLLEGE

     by      National Union Fire Insurance Company of Pittsburgh, Pa.



     Embarcadero Capital Investors Two REIT, Inc.          Outside   Entity
     Emerald Catastrophe Fund Ltd                          Outside   Entity
     Emerging Countries Opportunity Fund LTD               Outside   Entity
     Empresas Verdes Argentina, S.A.                       Outside   Entity
     Eton Park Merging Markets Overseas Fund, L.P.         Outside   Entity
     Flamenco SpA                                          Outside   Entity
     Florestas do Sul Agroflorestal Ltda                   Outside   Entity
     Forestal Bosquepalm Cia Ltda.                         Outside   Entity
     Forestal Foresevergel Cia Ltda.                       Outside   Entity
     Galileia Agrodindustrial Ltda                         Outside   Entity
     Gateway Real Estate Fund Ill TE, LP
                                 -                         Outside   Entity
     Gavea Investment Fund II B L.P.                       Outside   Entity
     GBE Investments, LP                                   Outside   Entity
     GKHC Investment, LLC                                  Outside   Entity
     Granary Investments                                   Outside   Entity
     Granary Normandien                                    Outside   Entity
     Granary Orange (PTY) LTD                              Outside   Entity
     Granary Waterberg tPTY) LTD                           Outside   Entity
     Green Rosella Trust                                   Outside   Entity
     Greengold European Capital SA                         Outside   Entity
     Greengold Agrirom SRL                                 Outside   Entity
     Greengold Value Forests SRL                           Outside   Entity
     Greenfield BLR Partners, LP                           Outside   Entity
     HB Institutional LP                                   Outside   Entity
     Helios Royalty Partners I, LP                         Outside   Entity
     Insolo Agrodindustrial S.A.                           Outside   Entity
     Inversiones Brasil, SA                                Outside   Entity
     Inversiones Catival, SA                               Outside   Entity
     Inversiones Coral, SA                                 Outside   Entity
     Inversiones Hefei SAC                                 Outside   Entity
     Inversiones Lefkada SAC                               Outside   Entity
     Inversiones Mosqueta SAC                              Outside   Entity
     Inversiones Pirona SAC                                Outside   Entity
     Inversiones Santa Rita, SA                            Outside   Entity
     Inversiones Tunuyan, SA                               Outside   Entity
     Investimentos e Participacoes AgrIcolas Ltda. “IPA”   Outside   Entity
     IPE Agroindustrial Ltda                               Outside   Entity
     Iron Point Real Estate Partners TE (H), LP
                                     -                     Outside   Entity




MNSCPT                                   END4
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                                      ENDORSEMENT# 4       (Continued)


         This endorsement, effective 12:01 am    November 1, 2014               forms a part of
         policy number 01-817-25-28
         issued to   PRESIDENT AND FELLOWS OF HARVARD COLLEGE

         by      National Union Fire Insurance Company of Pittsburgh, Pa.



         Jacana Properties SA                                     Outside Entity
         Junco Properties SA                                      Outside Entity
         Kaingatoa Timberlands Sold 5/24/201 3
                                -                                 Outside Entity
         Kleiner Perkins Caufield & Ryers IV, LP                  Outside Entity
         Kupe Shipping Limited                                    Outside Entity
         La Arenosa, SA                                           Outside Entity
         La Jacaranda, SA                                         Outside Entity
         La Mora, SA                                              Outside Entity
         La Zarza, SA                                             Outside Entity
         Las Acacias,SA                                           Outside Entity
         Las Misiones, SA                                         Outside Entity
         Liquid Realty Partners IV fPFJ), L.P.                    Outside Entity
         Liquid Realty Partners IV Exempt (PF1) Limited           Outside Entity
         Liquid Realty Partners IV Investments AIV (PFJ), L.P.    Outside Entity
         Liquid Realty Partners IV Investments II AIV (PF1) Limited      Outside Entity
         Liquid Realty Partners IV Tax Exempt fPFJ) II            Outside Entity
         Liquid Realty Partners IV Tax Exempt (PFJ), L.P.         Outside Entity
         Longterm Forest Partners Cia Ltda.                       Outside Entity
         Los Almendros, SA                                        Outside Entity
         Los Aromos, SA                                           Outside Entity
         Los Arrayanes, SA                                        Outside Entity
         Los Boldos S.A.                                          Outside Entity
         Los Laureles, SA (Nicaragua)                             Outside Entity
         Lubert Adler Capital Real Estate Fund Ill, LP            Outside Entity
         Lubert Adler Capital Real Estate Opportunity Fund, LP Outside Entity
         Maguari Ltd                                              Outside Entity
         Masdevallia Ltd.                                         Outside Entity
         Mirabilis SA                                             Outside Entity
         Nazare Agroindustrial Ltda.                              Outside Entity
         Neanderthal Investments                                  Outside Entity
         New Vernon India (Cayman) Fund LP                        Outside Entity
         Nica Teca SA                                             Outside Entity
         Nicarao I Ltd.                                           Outside Entity
         Nicarao II Ltd.                                          Outside Entity
         Nicarao Ltd.                                             Outside Entity
         Old Lane HMAFF LP                                        Outside Entity
         Opera SA                                                 Outside Entity
         Oxford HPC Investment Company, LLC                       Outside Entity




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                                                        (Continued)


     This endorsement, effective 12:01 am    November 1, 2014                    forms a part of
     policy number 01-817-25-28
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     by      National Union Fire Insurance Company of Pittsburgh, Pa.



     PARFEN SA                                                Outside   Entity
     Pino II, LLC                                             Outside   Entity
     PM Co-Investors LLC (ownership 50%)                      Outside   Entity
     Pradaria Agroflorestal Ltda.                             Outside   Entity
     Quebrada Honda S.A.                                      Outside   Entity
     Round Table Asset Recovery Fund Ltd                      Outside   Entity
     Round Table Global Macro Fund Ltd                        Outside   Entity
     Ruby Atlantic Hospitality, LLC                           Outside   Entity
     Ruby Atlantic REIT, Inc.                                 Outside   Entity
     Sapphire Hospitality, LLC                                Outside   Entity
     Serra Grande Agroindustrial Ltda.                        Outside   Entity
     Sobralia Ltd.                                            Outside   Entity
     Sociedad Explotadora Agricola SpA                        Outside   Entity
     Soil Innovations II, LLC                                 Outside   Entity
     Sora Ltd                                                 Outside   Entity
     Stelis Ltd.                                              Outside   Entity
     Stolberg, Meehan & Scano Il-A LP                         Outside   Entity
     Sustainable Teak Participacoes Ltda.                     Outside   Entity
     Tagua SpA                                                Outside   Entity
     TDR Scotland L.P.                                        Outside   Entity
     TFO Co-Investor LLC                                      Outside   Entity
     The Breithorn Fund LP                                    Outside   Entity
     The Eco Products Fund                                    Outside   Entity
     The Wildhorn Fund LP                                     Outside   Entity
     Tinamou                                                  Outside   Entity
     Triton Fund II No. 2 L.P                                 Outside   Entity
     Trogon Properties SA                                     Outside   Entity
     Tshipise Buffalo (Proprietary) Ltd                       Outside   Entity
     Uniteca Agroflorestal, SA                                Outside   Entity
     Verbena, LLC                                             Outside   Entity
     Victoire Brazil Fund, LLC                                Outside   Entity
     Vista Verde Agroindustrial Ltda.                         Outside   Entity
     WBH Kirby Hill Co-Investment LLC                         Outside   Entity

     In addition to the foregoing list of Harvard-Affiliated Outside Entities, Outside Entity shall
     also include any entity formed, controlled or acquired by an Insured Organization during the
     Policy Period and reported in writing by an Insured Organization to the Insurer as a
     neMy-formed, controlled or acquired Harvard-Affiliated Outside Entity pursuant to the
     Protocol for Periodic Reporting.




MNSCPT                               END4
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                                      ENDORSEMENT# 4       (Continued)


         This endorsement, effective 12:01 am    November 1, 2014                 forms a part of
         policy number 01-817-25-28
         issued to   PRESIDENT AND FELLOWS OF HARVARD COLLEGE

         by      National Union Fire Insurance Company of Pittsburgh, Pa.



         NOTE: Nothing in this endorsement shall be construed to limit or eliminate coverage for
         any Insured Person arising from a Claim made against such Insured Person, regardless of
         whether such Claim alleges Wrongful Acts in connection with any service by any Insured
         Person at any Outside Entity, including without limitation as a director, officer, partner or
         other agent or representative of, at or with respect to any of the above-listed
         Harvard-Affiliated Outside Entities.

         NOTE: The foregoing list of Harvard-Affiliated Outside Entities shall not be construed to be
         an exhaustive list of all Harvard-Affiliated Outside Entities, and the failure to identify any
         entity in this endorsement shall not, by itself, create coverage for any person or entity
         affiliated with an Insured Organization but not otherwise an Insured under this Policy.
         Protocol for Periodic Reporting:

         The Insured Organization shall provide to the Insurer, approximately quarterly, a list of any
         additional nevvly formed, controlled or acquired Harvard-Affiliated Outside Entities and
         Harvard-Affiliated Insured Organizations which the Insured Organization seeks to include
         within the coverage provided hereunder.




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MNSCPT                                   END4
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     This endorsement, effective 12:01 am    Novembet 1, 2014                forms a part of
     poiicy number 01-817-25-28
     issued to   PRESIDENT AND FELLOWS OF HARVARD COLLEGE

     by           National Union Fire Insutance Company of Pittsburgh, Pa.
                                     PANEL COUNSEL FIRM LIST AMENDED


     In consideration of the premium charged, it is hereby understood and agreed as follows:

         1. Appendix A for the Section of the policy entitled “PRE-AUTHORIZED DEFENSE
            ATTORNEYS FOR ALL CLAIMS” is amended to include the following law firm(s) (the
            Listed Firms”), but solely with regard to Panel Counsel Claim(s) in such Listed Firm’s
            respective jurisdiction(s) listed below:

            LAW FIRM                                        JURISDICTION


            (a)   Bingham & McCutchen, LLP                      Massachusetts
            tb)   BovJitch & Dewey, LLC                         Massachusetts
            (c)   Burns & Levinson, LLP                         Massachusetts
            (U)   Choate Hall & Stewart                         Massachusetts
            (e)   Dwyer & Collora, LLP                          Massachusetts
            (f)    Edwards & Angell, LLP                        Massachusetts
            (g)   Epstein, Becker & Green, PC                   Massachusetts
            (h)   Foley Hoag, LLP                               Massachusetts
            (I)    Goodwin Proctor, LLP                         Massachusetts
            (j)    Goulston & Storrs, LLP                       Massachusetts
            (k)   Hinckley, Allen & Snyder, LLP                 Massachusetts
            (I)    Hogan & Hartson, LLP                         Massachusetts
            (m)   Holland & Knight, LLP                         Massachusetts
            (n)   Jackson Lewis, LLP                            Massachusetts
            (o)   McDermott, Will & Emery                       Massachusetts &
                                                                Washington, DC
            (p)   Melik Porter & Shea, LLP                      Massachusetts
            (q)   Mirick O’Connell                              Massachusetts
            (r)    Morgan, Brown & Joy, LLP                     Massachusetts




MNSCPT                                    END5
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                                           ENDORSEMENT# 5       (Continued)


         This endorsement, effective 12:01 am    November 1, 2014                   forms a part of
         policy number 01-817-25-28
         issued to   PRESIDENT AND FELLOWS OF HARVARD COLLEGE

         by          National Union Fire Insurance Company of Pittsburgh, Pa.




              (s)     Murphy & Riley                                  Massachusetts
              (t)     Proskauer Rose                                  New York
              (u)     Ropes & Gray                                    Massachusetts
              (v)     Sally & Fitch                                   Massachusetts
              (w)    Schwartz Hannum, PC                              Massachusetts
              (x)     Veril Dana                                      Maine
              (y)     Fitzhugh & Mariani, LLP                         Massachusetts
              (z)     Wilmer Hale                                     Massachusetts
              (aa)    Foley & Lardner, LLP                            Massachusetts

         2. The foregoing amendment to Appendix A shall not apply to any Claim:
              (a) for which the Insurer has assumed the defense pursuant to this Policy; or
              (b) brought in the form of a class or multiple plaintiff action;

              unless the Insured has received the lnsurers prior written consent.

         3. Billing rates for the Listed Firms shall not exceed the following:

         The billing rates noted above, however, shall not apply as a cap to any Listed Firms who
         are on the list of approved AIG panel counsel law firms, which list is accessible through
         the online directory at http://www.chartisinsurance.com/panelcounseldirectory, as of the
         beginning of the Policy Period


              (a) Partner   -   $425/hour
              (b) Associate         -   $250/hour
              (c) Paralegal     -       $1 50/hour


         4. The rates set forth above shall apply for the life of any Claim as long as such Claim is
            in any way covered under this policy. Such rates will be applied to (i) all covered
            Defense Costs and (ii) Defense Costs applied against an applicable Retention. The
            Organization shall bear, at its own expense, that portion of any fees charged by the
            Listed Firms that exceeds the applicable rates set forth in this endorsement.




MNSCPT                                               END5
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     This endorsement, effective 12:01 am    November 1, 2014                     forms a part of
     policy number 01-817-25-28
     issued to   PRESIDENT AND FELLOWS OF HARVARD COLLEGE

         by      National Union Fire Insurance Company of Pittsburgh, Pa.




         5. The Insureds agree to require the Listed Firms to follow the Insurer’s Litigation
            Guidelines (“ Litigation Guidelines”). Copies of the Litigation Guidelines will be provided
            to (i) any Insured upon request and (ii) a Listed Firm once a Claim that such firm has
            been retained to handle is submitted to the Insurer.


     ALL OTHER TERMS, CONDITIONS AND EXCLUSIONS REMAIN UNCHANGED.




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MNSCPT                                   END5
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         This endorsement, effective 12:01 am                November 1, 2014        forms a part of
         policy number   01-817-25-28
         issued to   PRESIDENT AND FELLOWS OF              HARVARD COLLEGE

         by          National Union Fire Insurance Company of Pittsburgh, Pa.
                                             PANEL COUNSEL FIRM LIST AMENDMENT


         In consideration of the premium charged, it is hereby understood and agreed as follows:

         1. Appendix A for the Section of the policy entitled “PRE-AUTHORIZED DEFENSE
            ATTORNEYS FOR ALL CLAIMS” is amended to include the following law firm(s) (the
            Listed Firms”), but solely with regard to Panel Counsel Claim(s) in such Listed Firm’s
            respective jurisdiction(s) listed below:

              LAW FIRM                                              JURISDICTION


              (a)     Diedrich Donohue, LLP                            Massachusetts

         2. The foregoing amendment to Appendix A shall not apply to any Claim:
              (a) for which the Insurer has assumed the defense pursuant to this Policy; or
              (b) brought in the form of a class or multiple plaintiff action;

              unless the Insured has received the Insurer’s prior written consent.

         3. Billing rates for the Listed Firms shall not exceed the following:

         The billing rates noted above, however, shall not apply as a cap to any Listed Firms who
         are on the list of approved AIG panel counsel law firms, which list is accessible through
         the online directory at http://vvww.chartisinsurance.com/panelcounseldirectory, as of the
         beginning of the Policy Period
              (a) Partner   -   $425/hour
              (b) Associate         -   $250/hour
              (c) Paralegal     -       $150/hour


         4. The rates set forth above shall apply for the life of any Claim as long as such Claim is
            in any way covered under this policy. Such rates will be applied to (i) all covered
            Defense Costs and (ii) Defense Costs applied against an applicable Retention. The
            Organization shall bear, at its own expense, that portion of any fees charged by the
            Listed Firms that exceeds the applicable rates set forth in this endorsement.




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     This endorsement, effective 12:01 am    November 1. 2014                 forms a part of
     policy number 01-817-25-28
     issued to   PRESIDENT AND FELLOWS OF HARVARD COLLEGE

     by      National Union Fire Insurance Company of Pittsburgh, Pa.




     5. The Insureds agree to require the Listed Firms to follow the Insurer’s Litigation
        Guidelines (“ Litigation Guidelines’). Copies of the Litigation Guidelines will be provided
        to (i) any Insured upon request and (ii) a Listed Firm once a Claim that such firm has
        been retained to handle is submitted to the Insurer.




     ALL OTHER TERMS, CONDITIONS AND EXCLUSIONS REMAIN UNCHANGED.




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MNSCPT                               END6
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                                       ENDORSEMENT# 7

     This endorsement, effective at 12:01 am November 1, 2014             forms a part of
     Policy No. 01-817-25-28
     Issued to: PRESIDENT AND FELLOWS OF HARVARD COLLEGE


     By: National Union Fire Insurance Company of Pittsburgh, Pa.

           THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                              ECONOMIC SANCTIONS ENDORSEMENT

      This endorsement modifies insurance provided under the following:

     The Insurer shall not be deemed to provide cover and the Insurer shall not be liable to pay
     any claim or provide any benefit hereunder to the extent that the provision of such cover,
     payment of such claim or provision of such benefit would expose the Insurer, its patent
     company or its ultimate controlling entity to any sanction, prohibition or restriction under
     United Nations resolutions or the trade or economic sanctions, lavvs or regulations of the
     European Union or the United States of America.




                                                            AUTHORIZED REPRESENTATIVE


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                                             END 007
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     This endorsement, effective 12:01 am    November 1, 2014                     forms a part of
     poiicy number 01-817-25-28
     issued to   PRESIDENT AND FELLOWS OF HARVARD COLLEGE

     by        National Union Fire Insurance Company of Pittsburgh, Pa.
          PRESIDENT AND FELLOWS OF HARVARD COLLEGE AFFILIATED INSURED ENTITIES


     In consideration of the premium charged, and notwithstanding any other provision of this
     Policy to the contrary, each of the following entities, which are, unless otherwise noted,
     under Management Control, shall be considered an Organization and an Insured under the
     Policy:

         Entity Name                                                 Revised Classification

         American Repertory Theatre Company, Inc.                    Affiliated Entity
         Associacao David Rockefeller Center de Universidade         Affiliated Entity
         de Harvard


         Beau Geste XXV, LLC                                         Affiliated Entity

         The Carl J. Shapiro Institute for Education and             Affiliated Entity
         Research at Harvard Medical School and Beth Israel
         Deaconess Medical Center, Inc.


         Centre de Recherche Europeen de Ia HBS                      Affiliated Entity

         Dubai Harvard Foundation for Medical Research, Inc.         Affiliated Entity

         Endowment for Research in Human Biology                     Affiliated Entity


         Fundacion Centro de Investigation de Ia Escuela de          Affiliated Entity
         Administracion de Empresas de Ia Univeridad de
         Harvard para America Latina


         Giovanni Armenise   -   Harvard Foundation for Scientific   Affiliated Entity
         Research, Inc.


         Harvard Business School Interactive, Inc.                   Affiliated Entity




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         This endorsement, effective 12:01 am    November 1, 2014                         forms a part of
         policy number 01-817-25-28
         issued to   PRESIDENT AND FELLOWS OF HARVARD COLLEGE

         by          National Union Fire Insurance Company of Pittsburgh, Pa.




         Harvard Business School Publishing Corporation                      Affiliated Entity
         Harvard      Business       School   Publishing   India   Private   Affiliated Entity
         Limited

         Harvard Center Shanghai Co., Ltd                                    Affiliated Entity
         Harvard China International, LLC                                    Affiliated Entity
         Harvard Clinical Research Institute, Inc.                           Affiliated Entity
         Harvard Dedicated Energy Ltd                                        Affiliated Entity
         Harvard Law School Association                                      Affiliated Entity
         Harvard Magazine, Inc.                                              Affiliated Entity
         Harvard Management Company                                          Affiliated Entity
         Harvard Medical Center                                              Affiliated Entity
         Harvard Medical Collaborative, Inc.                                 Affiliated Entity
         Harvard NeuroDiscovery Center, Inc. (fka Harvard                    Affiliated Entity
         Center for Neurodegeneration and Repair, Inc.)


         Harvard Real Estate     -   Allston, Inc.                           Affiliated Entity
         Harvard Real Estate, Inc.                                           Affiliated Entity
         Harvard University Beacon Yards LLC                                 Affiliated Entity
         Harvard University Press Limited                                    Affiliated Entity
         Harvard University Press of New York, Inc.                          Affiliated Entity
         Harvard Yenching Institute                                          Affiliated Entity
         Ion, Inc.                                                           Affiliated Entity




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     policy number   01-817-25-28
     issued to   PRESIDENT AND FELLOWS OF HARVARD COLLEGE


     by         National Union Fire Insurance Company of Pittsburgh, Pa.




     Medical, Academic and Scientific Community               Affiliated Entity
     Organization, Inc.


     Public Health Foundation for Cancer and Blood            Affiliated Entity
     Research


     Putnam Square Apartments Company Limited                 Affiliated Entity
     Partnership


     Putnam Square Apartments, Inc.                           Affiliated Entity
     Red Top, Inc.                                            Affiliated Entity
     Student Clubs of HRS, Inc.                               Affiliated Entity
     Trustees for Harvard University (a DC Corporation)       Affiliated Entity


     FIELD COURSE LLC                                         Affiliated Entity


     HARVARD MANAGEMENT COMPANY AFFILIATED INSURED ENTITIES

     In consideration of the premium charged, and notwithstanding any other provision of this
     Policy to the contrary, each of the following entities, which are, unless otherwise noted,
     under Management Control, shall be considered an Organization and an Insured under the
     Policy:



     Entity Name                                              Revised Classification

         Harvard Private Capital Properties II, Inc.          Affiliated Entity

         Red Clover Holdings, LLC                             Affiliated Entity

     Aldwych Street, LLC (New)                                Affiliated Entity




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         This endorsement, effective 12:01 am    November 1, 2014          forms a part of
         policy number 01-817-25-28
         issued to   PRESIDENT AND FELLOWS OF HARVARD COLLEGE

         by         National Union Fire Insurance Company of Pittsburgh, Pa.




         AMERRA Agri Opportunities Fund, LP                   Affiliated Entity
         Aquila Inc.                                          Affiliated Entity
         Ara Inc.                                             Affiliated Entity
         Atlantic Avenue Realty, Ltd.                         Affiliated Entity
         Atlantic Avenue Two GP, LLC                          Affiliated Entity
         Atlantic Avenue Two, [P                              Affiliated Entity
         Atlantic C-Ill, LLC                                  Affiliated Entity
         Atlantic Deutsche, LLC                               Affiliated Entity
         Atlantic DV4, LLC                                    Affiliated Entity
         Atlantic DW III, LLC                                 Affiliated Entity
         Atlantic Europe Investments GP Limited               Affiliated Entity
         Atlantic Europe Investments LP                       Affiliated Entity
         Atlantic GAP VI, LLC                                 Affiliated Entity
         Atlantic International Real Estate, LLC (New)        Affiliated Entity
         Atlantic IP Holdings, LLC                            Affiliated Entity
         Atlantic Multifamily Housing, LLC                    Affiliated Entity
         Atlantic Net Lease Investor, LLC                     Affiliated Entity
         Atlantic Pacific Realty, Inc.                        Affiliated Entity
         Atlantic Retail West, LLC                            Affiliated Entity
         Atlantic Student Housing, LLC                        Affiliated Entity
         Atlantic Toronto GP LLC                              Affiliated Entity
         Atlantic Toronto LP                                  Affiliated Entity




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     This endorsement, effective 12:01 am    November 1, 2014           forms a part of
     policy number 01-817-25-28
     issued to   PRESIDENT AND FELLOWS OF HARVARD COLLEGE

     by          National Union Fire Insurance Company of Pittsburgh, Pa.




     Atlantic WB Holdings, LLC                             Affiliated Entity

     Azara, LLC                                            Affiliated Entity

     Black Kite Pty Ltd                                    Affiliated Entity

     Blue Marble Holdings Corporation                      Affiliated Entity

     Brazil Teak, LLC                                      Affiliated Entity

     BT2 Co., LLC                                          Affiliated Entity

     Campo Grande, SA                                      Affiliated Entity

     Chennai 2007                                          Affiliated Entity

     Clag, LLC                                             Affiliated Entity

     Coral Living, LLC                                     Affiliated Entity

     Demeter Holdings Corporation                          Affiliated Entity

         DFJ Ltd.                                          Affiliated Entity

         DF3 Ltd.                                          Affiliated Entity

         Diversified International Timber Holdings, LLC    Affiliated Entity

         Ecuador Timber GP, LLC                            Affiliated Entity

         Egret Investments Ltd.                            Affiliated Entity

         Enki Holdings Corp.                               Affiliated Entity

         Francolin (new 5/3/1 1)                           Affiliated Entity

         Global Forest Investments, LLC                    Affiliated Entity

         Guanare A.A.R.L.                                  Affiliated Entity

         Guanare S.A.                                      Affiliated Entity

         Harvard Investment Associates                     Affiliated Entity




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         This endorsement, effective 12:01 am             November 1, 2014         forms a part of
         policy number   01-817-25-28
         issued to   PRESIDENT AND FELLOWS OF           HARVARD COLLEGE

         by        National Union Fire Insurance Company of Pittsburgh, Pa.




         Harvard Management Company, Inc.                            Affiliated Entity
         Harvard Management Company Advisors Limited (New)           Affiliated Entity
         Harvard Management Private Equity Corporation               Affiliated Entity
         Harvard Master Trust                                        Affiliated Entity
         Harvard Private Capital Holdings, Inc.                      Affiliated Entity
         Harvard Private Capital Properties Ill, Inc.                Affiliated Entity
         Harvard Private Capital Realty, Inc.                        Affiliated Entity
         HMC Adage Manager, Inc.                                     Affiliated Entity
         HPC Cherokee Ventures, LLC                                  Affiliated Entity
         HPC Patron Scotland, LP                                     Affiliated Entity
         India Capital Opportunities 1 Limited                       Affiliated Entity
         Inversiones Tres Cumbres Ltda.                              Affiliated Entity
         ITAY, LLC                                                   Affiliated Entity
         Jerika II, LLC (dissolved   -   7/2/1 2)                    Affiliated Entity

         Jerika, LLC                                                 Affiliated Entity
         Joshua Timberlands, LLC (dissolved)                         Affiliated Entity
         Keya Paha Properties, LLC                                   Affiliated Entity

         KT1 Co.                                                     Affiliated Entity
         KT2 Co.                                                     Affiliated Entity
         KTR Limited (dissolved)                                     Affiliated Entity
         Laertes, LLC                                                Affiliated Entity
         LaSalle Asia Opportunity Cayman I Ltd                       Affiliated Entity




MNSCPT                                         END8
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     This endorsement, effective 12:01 am    November 1, 2014        forms a part of
     policy number 01-817-25-22
     issued to   PRESIDENT AND FELLOWS OF HARVARD COLLEGE

     by      National Union Fire Insurance Company of Pittsburgh, Pa.




     Lathi, LLC                                         Affiliated Entity

     Lindene, Ltd. (New)                                Affiliated Entity

     Longstocking Investment Corporation                Affiliated Entity

     Los Laureles, S.A. (Chile)                         Affiliated Entity

     Lucy Holdings                                      Affiliated Entity

     Medowlark LLC                                      Affiliated Entity

     Monardella, LLC (New)                              Affiliated Entity

     Nicateca Inc.                                      Affiliated Entity

     Oklahoma Timber, LLC                               Affiliated Entity

     PA Timber Company, LLC                             Affiliated Entity

     Pearl Retail, Inc. (New)                           Affiliated Entity

     Pearl Retail, LLC (New)                            Affiliated Entity

     Pennsylvania Timber, LP                            Affiliated Entity

     Performance Forest, LLC                            Affiliated Entity

     Phemus Corporation                                 Affiliated Entity

     Pinares A.A.R.L.                                   Affiliated Entity

     Pino, LLC                                          Affiliated Entity

     Romply Merops SRL                                  Affiliated Entity

     Scolopax SRL                                       Affiliated Entity

     Shipping Venture Corporation                       Affiliated Entity

     Sia Empetrum                                       Affiliated Entity

     Soil Innovations, LLC                              Affiliated Entity




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         This endorsement, effective 12:01 am    November 1, 2014                forms a part of
         policy number 01-817-25-28
         issued to   PRESIDENT AND FELLOWS OF HARVARD COLLEGE

         by       National Union Fire Insurance Company of Pittsburgh, Pa.




         Sustainable Timbers S.A.                                   Affiliated Entity
         SWT LP                                                     Affiliated Entity
         Taku, LLC                                                  Affiliated Entity
         Terena S.A.                                                Affiliated Entity
         Toucanet SA (Colombian Branch) (New)                       Affiliated Entity
         Valholl, Ltd                                               Affiliated Entity
         Veriwaste, LP                                              Affiliated Entity
         Wastelands, LLC                                            Affiliated Entity



         Pino, LLC is not under Management Control, however, a Harvard 501(c)(3) owns 100% of
         the preferred stock in this entity, and has the option at any time to convert such preferred
         stock to common stock. Accordingly, this entity should be considered Harvard-Affiliated
         Insured Organization.

         Soil Innovations, LLC is not under Management Control, however, a Harvard 501 (c)(3)
         owns 1 00% of the preferred stock in this entity, and has the option at any time to convert
         such preferred stock to common stock. Accordingly, this entity should be considered
         Harvard-Affiliated Insured Organization.


         In addition to the foregoing list of President and Fellows of Harvard College and Harvard
         Management Company Affiliated Insured Organizations, Organization shall also include any
         entity formed, controlled or acquired by another Organization during the Policy Period and
         reported in writing by another Organization to the Insurer as a newly-formed, controlled or
         acquired President and Fellows of Harvard College and Harvard Management Company
         Affiliated Insured Organization pursuant to the Protocol for Periodic Reporting.




MNSCPT                                  END8
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     This endorsement, effective 12:01 am    Novembet 1, 2014                 forms a part of
     policy number 01-817-25-28
     issued to   PRESIDENT AND FELLOWS OF HARVARD COLLEGE

         by     National Union Fire Insurance Company of Pittsburgh, Pa.



     Protocol for Periodic Reporting:
     The Insured Organization shall provide to the Insurer, approximately quarterly, a list of any
     additional newly formed, controlled or acquired President and Fellows of Harvard College
     and Harvard Management Company Affiliated Outside Entities and President and Fellows
     of Harvard College and Harvard Management Company Affiliated Insured Organizations
     which the Insured Organization seeks to include within the coverage provided hereunder.

     NOTE: The foregoing list of President and Fellows of Harvard College and Harvard
     Management Company Affiliated Insured Organizations shall not be construed to be an
     exhaustive list of all President and Fellows of Harvard College and Harvard Management
     Company Affiliated Insured Organizations, and the failure to identify any entity in this
     endorsement shall not prejudice or otherwise limit coverage for any person or entity
     otherwise an Insured under this Policy, including without limitation any newly formed,
     controlled or acquired Organization that is otherwise an Organization under the terms and
     conditions of the Policy.




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MNSCPT                               END8
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         This endorsement, effective 12:01 am    November 1, 2014             forms a part of
         policy number 01-817-25-28
         issued to   PRESIDENT AND FELLOWS OF HARVARD COLLEGE

         by      National Union Fire Insurance Company of Pittsburgh, Pa.
                                 SEPARATE RETENTION FOR D&O CLAIMS
                                    MADE AGAINST SPECIFIED ENTITY
                                     (WITH ALLOCATION WORDING)

         In consideration of the premium charged, it is hereby understood and agreed that Clause 4.
         RETENTION CLAUSE is amended by adding the following at the end thereof:

               Notwithstanding the foregoing:

                   1. With respect to Loss in connection with any D&O Claim (as defined below)
                      made against any Specified Insureds (as defined below), the Insurer shall
                      only be liable for the amount of Loss arising from such D&O Claim which is
                      in excess of the Specified Retention (as defined below), such Retention
                      amount to be borne by the Organization and/or the Insureds and shall remain
                      uninsured, with regard to all (i) Indemnifiable Loss; and (ii) Loss of the
                      Organization.

                   2. In the event the application of the last sentence of the first paragraph of
                      Clause 4. RETENTION CLAUSE vuld otherwise result in one retention
                      amount applying to:

                          (i)    D&O Claim(s) made against one or more Specified Insureds; and

                          (ii)   one or more Claims made against Insured(s) other than a Specified
                                 Insured (“ Other Insureds’),

                      then two retention amounts shall nevertheless apply as follows: (a) the
                      Specified Retention shall apply to Loss of Specified Insureds; and (b) the
                      retention amount stated in Item 5 of the Declaration shall apply to all other
                      Loss.

                   3. In the event the application of the last sentence of the first paragraph of
                      Clause 4. RETENTION CLAUSE would otherwise result in one retention
                      amount applying to:

                          (i)    D& 0 Claim(s) made against one or more Specified Insureds; and

                          (ii)   Claims other than D&O      Claims made     against one   or more
                                 Specified Insureds,

                      then two retention amounts shall nevertheless apply as follows: (a) the
                      Specified Retention shall apply to Loss in connection with the D&O Claims
                      and (b) the retention amount stated in Item 5 of the Declaration shall apply
                      to all other Loss.




MNSCPT                                 END9
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                                                           (Continued)


     This endorsement, effective 12:01 am    November 1, 2014                      forms a part of
     policy number   01-817-25-28
     issued to   PRESIDENT AND FELLOWS OF HARVARD COLLEGE

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                     4. If more than one retention applies as described in paragraph 2 or 3, above,
                        the Insureds and the Insurer shall use their best efforts to determine a fair
                        and proper allocation of Loss as between the applicable retention amounts,
                        taking into account the relative legal and financial exposures, and the relative
                        benefits obtained. In the event that a determination as to an fair and proper
                        allocation between retention amounts cannot be agreed to, then the Insurer
                        allocate Loss in a manner in which the Insurer states to be fair and proper
                        until a different allocation shall be agreed upon or determined pursuant to the
                        provisions of this policy and applicable law.

         It is further understood and agreed that, as used herein:

                “ D&O Claim” means any Claim other than a Professional Services Claim, Fiduciary
                Liability Claim, Employment Practices Claim, Crisis Management Event, Pension
                Crisis Even t, Financial Claim or Media Claim.

                 Specified Insureds” means Hansjorg Wyss Institute for Biologically            Inspired
                Engineering at Harvard University, Inc. and any Insured Person thereof.

                  Specified Retention” means the retention amount of $50,000 which is applicable
                to D&0 Claims made against any Specified lnsureds.

     ALL OTHER TERMS, CONDITIONS AND EXCLUSIONS REMAIN UNCHANGED.




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MNSCPT                                    END9
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         This endorsement, effective 12:01 am    November 1, 2014                  forms a part of
         policy number 01-817-25-28
         issued to   PRESIDENT AND FELLOWS OF HARVARD COLLEGE

         by          National Union Fire Insurance Company of Pittsburgh. Pa.
                                      HARVARD RENEWAL ENDORSEMENT


         In consideration of the premium charged, it is hereby understood and agreed that the
         Insurer shall offer to renewthis policy for one (1) additional year, such renewal policy to
         have a policy period from November 1, 201 5 to November 1, 201 6, on the same terms
         and conditions (except for this endorsement) and for the same premium as this policy,
         provided that:
             (1)    the Insurer has paid no Loss under its Policy in connection with any Claim made
                    against an Insured during the Policy Period; and

              (2)      it is not reasonably expected that the Insurer will pay Loss under its Policy
                       before November 1, 2015 in connection with any Claim made against an Insured
                       during the Policy Period.

         In the event the Insurer shall offer to renew this policy in accordance with the terms
         above, then the Named Entity shall be required to accept such renewal policy on the same
         terms and conditions and for the same premium. In the event that either of the conditions
         set forth in (1) and (2) above is not met, the Insurer shall not be required to renew this
         policy on the same terms and conditions and for the same premium and the Named Entity
         shall be permitted to obtain replacement coverage from another insurer. The Insurer shall
         notify the Named Insured on or before August 1 5, 201 5, if either of the conditions set
         forth in (1) and (2) above may not be met.
         For purposes of the application of this endorsement to any excess insurers, the terms
         Insurer and Policy shall have the meaning ascribed to each of those terms in the
         Declarations page of such excess policy.




         ALL OTHER TERMS, CONDITIONS AND EXCLUSIONS REMAIN UNCHANGED.




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MNSCPT                                    END 70
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     This endorsement, effective 12:01 am    Novembet 1, 2014                    forms a part of
     policy number 01-817-25-28
     issued to   PRESIDENT AND FELLOWS OF HARVARD COLLEGE

         by      National Union Fire Insurance Company of Pittsburgh. Pa.
                               DEFINITION OF INSURED PERSON AMENDED


         In consideration of the premium charged, it is hereby understood and agreed that Clause 1.
         DEFINITIONS of the General Terms and Conditions, the definition of “Insured Person” is
         amended to include the following at the end thereof:

         “Insured Person” also means Philip Langston.


     ALL OTHER TERMS, CONDITIONS AND LIMITATIONS REMAIN UNCHANGED.




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MNSCPT                                  END 77
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                                          ENDORSEMENT#      12


This endorsement, effective 12:01   am     November 1, 2014             forms a part of
policy number   01-817-25-28
issued to PRESIDENT AND FELLOWS     OF HARVARD COLLEGE

by       National Union Fire Insurance Company of Pittsburgh, Pa.
                                     FORMS INDEX ENDORSEMENT

The contents of the Policy is comprised of the following forms:
                        EDITION
FORM NUMBER              DATE                       FORM TITLE

MNSCPT                           EDUCATIONAL INSTITUTION RISK PROTECTOR DEC PAGE

81285                    01/03 TRIA DEC DISCLOSURE FORM
MNSCPT                           EDUCATIONAL INSTITUTION RISK PROTECTOR

99545                    07/08 APPENDIX A NOT FOR PROFIT PANEL COUNSEL ADDENDUM

99544                    06/08 EMPLOYEE BENEFIT PLAN FIDUCIARY LIABILITY PANEL COUNSEL
97885                    04/08 POLICYHOLDER NOTICE REGARDING E-DISCOVERY CONSULTANT SERVICES
94830                    06/07 APPENDIX B CRISIS MANAGEMENT COVERAGE FOR D&O COVERAGE SECTION

99758                    08/08 NOTICE OF CLAIM (REPORTING BY E-MAIL)
MNSCPT                           HARVARD MANAGEMENT COMPANY AFFILIATED INSURED ENTITIES
97650                    03/08 EXCLUSIONS (F) AND (G) AMENDED ENDORSEMENT (GENERAL TERMS AND
                               CONDITIONS AMENDEMENT)
MNSCPT                           HARVARD MANAGEMENT COMPANY OUTSIDE ENTITIES
MNSCPT                           PANEL COUNSEL FIRM LIST AMENDED
MNSCPT                           PANEL COUNSEL FIRM LIST AMENDMENT
89644                    06/13   ECONOMIC SANCTIONS ENDORSEMENT
MNSCPT                           PRESIDENT AND FELLOWS OF HARVARD COLLEGE AFFILIATED INSURED
                                 ENTITIES
MNSCPT                           SEPARATE RETENTION FOR D&O CLAIMS
MNSCPT                           HARVARD RENEWAL ENDORSEMENT
MNSCPT                           DEFINITION OF INSURED PERSON AMENDED
78859                    10/01   FORMS INDEX ENDORSEMENT




                                            END 072
78859 (10/01)                                Page 1 of 2
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                                          ENDORSEMENT#      12


This endorsement, effective 12:01   am     November 1, 2014          forms a part of
policy number   01-817-25-28
issued to PRESIDENT AND FELLOWS     OF HARVARD COLLEGE

by     National Union Fire Insurance Company of Pittsburgh, Pa.
                                     FORMS INDEX ENDORSEMENT

The contents of the Policy is comprised of the following forms:
                        EDITION
FORM NUMBER              DATE                       FORM TITLE

      ALL OTHER TERMS, CONDITIONS AND EXCLUSIONS REMAIN UNCHANGED.




                                                                  AUTHORIZED REPRESENTATIVE




                                            END 072
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                                                                           IAIGI
                                     CLAIM REPORTING FORM
Issuing Company: National Union Fire Insurance Company of Pittsburgh, Pa.

Reported under Policy/Bond Number:        01-817-25-28             Date:


Type of Coverage: D&O            E&O          Fidelity    (complete the Fidelity Supplemental on
                                                          the next page)
Insured’s Name, as given on Policy Declarations (Face Page):

         PRESIDENT AND FELLOWS OF HARVARD COLLEGE




Contact Person:

Title:

Phone:_(           ,             -                  Ext

eMail:



Case or Claimant Name:



If the party involved is different from “Insured” Name (as given on Policy Declarations) state
relationship:




Insurance Broker/Agent:   MARSH USA INC.

Address:    99 HIGH STREET, BOSTON, MA 02110
Address:______________________________________________

Contact:   JILL BERNUBE                                   Phone:___________________________

eMail: Jill .A.BerubeCâmarsh.com



Send Notice of Claims to:      AIG                              Phone: (888) 602- 5246
                               Financial Lines Claims           Fax:   (866) 227- 1750
                               P.O. Box 25947                   Email: c- Claim@AlG.com
                               Shawnee Mission, KS 66225
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                                                                            L


                                   CLAIM REPORTING FORM
                                   FIDELITY SUPPLEMENTAL
 (Only complete this supplemental if the Claim is being reported under Fidelity Coverage)


Issuing Company: National Union Fire Insurance Company of Pittsburgh, Pa.
Reported under Policy/Bond Number:      018172528




Date of Discovery:                            Estimated Amount of loss:


Cause of Loss:   Employee Dishonesty                     Computer Fraud

                 Funds Transfer                          Robbery/Burglary

                 ID Theft                                Forgery

                 Client Property                         In Transit


                 ERISA                                   Credit Card Forgery


                 Other                              if Other, describe:




Send Notice Of Claims To:    AIG                              Phone: (888) 602-5246
                             Financial Lines Claims           Fax:   (866) 227- 1750
                             P.O. Box 25947                   Email: c- Claim@AlG.com
                             Shawnee Mission, KS 66225




                     centralized Customer Link and Information Management
